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Explanatory Statement
to the Scheme of Arrangement



Quintis Ltd (Subject to Deed of Company Arrangement) (Receivers and Managers Appointed)
(ACN 092 200 854)

Sandalwood Properties Ltd (Subject to Deed of Company Arrangement) (Receivers and Managers
Appointed) (ACN 093 330 977)

Quintis Forestry Limited (Subject to Deed of Company Arrangement) (Receivers and Managers
Appointed) (ACN 080 139 966)

Quintis Leasing Pty Ltd (Subject to Deed of Company Arrangement) (Receivers and Managers
Appointed) (ACN 080 978 721)

Arwon Finance Pty Ltd (Subject to Deed of Company Arrangement) (Receivers and Managers Appointed)
(ACN 072 486 643)

Mt Romance Holdings Pty Ltd (Subject to Deed of Company Arrangement) (Receivers and Managers
Appointed) (ACN 115 659 606)

Mt Romance Australia Pty Ltd (Subject to Deed of Company Arrangement) (Receivers and Managers
Appointed) (ACN 060 122 698)

Australian Sandalwood Oil Co. Pty Ltd (Subject to Deed of Company Arrangement) (Receivers and
Managers Appointed) (ACN 088 257 498)




The date of this Explanatory Statement is 5 September 2018.




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1       Letter from the Receivers and Managers
Dear Scheme Creditors
Following a period of financial distress and unsuccessful restructuring efforts in 2017, the Quintis Group
entered into external voluntary administration on 20 January 2018. Jason Preston, Robert Brauer and I
were appointed as joint and several receivers and managers of the Quintis Group on 23 January 2018.
During the course of our appointment, we have explored various alternatives for the future of the Quintis
Group, including a potential sale of the Group and/or its assets. We have also engaged in discussions
with key stakeholders in the secured creditor group regarding a possible recapitalisation of the Quintis
Group.
After conducting a sale process for the Group and/or its assets which did not ultimately result in any bids
capable of acceptance (more information about the sale process is set out in section 5.2 below) and
engagement in further discussions with secured creditors, we are pleased to be able to put forward a
proposed recapitalisation plan for the Quintis Group. This recapitalisation is proposed to be implemented
by a deed of company arrangement for the Scheme Companies (which has already been entered into by
the Scheme Companies) and a creditors' scheme of arrangement, being the Scheme proposal.
If approved by the requisite majorities of Scheme Creditors and approved by the Court, the
recapitalisation will result in:
        (a)     the Scheme Creditors becoming the ultimate owners of the Quintis Subsidiaries and the
                new holding company of the Quintis Group (which will replace Quintis Limited);
        (b)     the Scheme Creditors continuing to be owed secured debt by the Quintis Subsidiaries (as
                restructured by the Scheme) and the new holding company of the Quintis Group that will
                replace Quintis Limited; and
        (c)     a very substantial injection of new capital for the Quintis Group which will enable the
                Group to exit external administration and continue to carry on its business on a going
                concern basis.
If you wish the recapitalisation to proceed, it is important that you vote in favour of the Scheme proposal.
Absent a superior proposal, the receivers and managers of the Quintis Group recommend that you vote in
favour of the Scheme. In coming to this recommendation, the receivers and managers have carefully
considered all other available options for the Quintis Group, including a sale of the Quintis Group and/or
its assets and/or a liquidation of the Quintis Group. In the circumstances and in the absence of a superior
proposal, we are of the view that the Scheme proposal provides the Scheme Creditors with the best
opportunity to realise the value of their investment in the Quintis Group.
Important details of the Scheme proposal and the steps associated with its implementation are set out in
this Explanatory Statement. You are urged to read this Explanatory Statement carefully as the information
it contains is important. If you have any questions, please contact quintis@mcgrathnicol.com.
Alternatively, please contact your legal, financial, taxation or other professional adviser.
Your vote is important and we look forward to your participation at the Scheme Meeting on Thursday, 27
September 2018.
Yours sincerely




Shaun Fraser
Receiver and Manager of each Scheme Company



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2     Important Information
      It is recommended that Scheme Creditors read this Explanatory Statement in its entirety before
      making a decision whether or not to vote in favour of the Scheme.

2.1   Orders to convene Scheme Meeting not an endorsement
      This Explanatory Statement has been provided to Scheme Creditors in connection with the
      Scheme Meeting for the purpose of considering and, if thought fit, agreeing to the proposed
      Scheme between the Scheme Companies and the Scheme Creditors. The Scheme Meeting will
      be held at:
              10am (Sydney time) on Thursday, 27 September 2018
              at
              Allens
              Level 28
              126 Philip Street
              Sydney NSW Australia
      For further information on the procedures for voting at the Scheme Meeting, refer to Section 7 of
      this Explanatory Statement.
      The Court has made orders under section 411(1) of the Corporations Act directing that a meeting
      of Scheme Creditors be convened to vote upon the proposed Scheme. The orders are not an
      endorsement of, or any opinion on, the Scheme by the Court. The Court is not responsible for the
      contents of this Explanatory Statement and, in ordering that the Scheme Meeting be held, the
      Court does not, in any way, indicate that it has approved or will approve the terms of the Scheme.

2.2   Prescribed information
      Under section 412(1) of the Corporations Act and Corporations Regulation 5.1.01, this
      Explanatory Statement must contain certain information to assist the Scheme Creditors in
      deciding whether or not to vote in favour of the proposed Scheme. The below table indicates
      where in this Explanatory Statement that information can be found.
       An explanation of the effect of the proposed Scheme              Sections 5.4 and 5.11
       The criteria and the date for determining the participants in    Section 7
       the Scheme, the persons entitled to vote at the Scheme
       Meeting, and the persons who will be bound by the
       Scheme (being the Scheme Creditors)
       The expected dividend that would be paid to the Scheme           Section 11.4 and
       Creditors if the Scheme Companies were wound up within           Schedule 2
       six months after the date of the hearing of the application to
       the Court for an order convening the Scheme Meeting
       The expected dividend that would be paid to Scheme               Section 11.3 and
       Creditors if the Scheme were put into effect as proposed         Schedule 2
       A copy of all financial statements required to be lodged by      Schedule 8
       the Scheme Companies with ASIC
       A report on the affairs of the Scheme Companies                  Schedule 9
       The scale of charges that the Scheme Administrators              See Schedule 17 of the
       propose to charge to manage the Scheme                           Scheme of Arrangement, a
                                                                        copy of which is at
                                                                        Schedule 1

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       A list of the names of all known Scheme Creditors and the       Schedule 11
       debts owed to those Scheme Creditors

2.3   Responsibility Statement
      This Explanatory Statement is solely for use by each Scheme Creditor in evaluating whether or
      not to vote in favour of the Scheme. No other persons apart from those named in the
      Responsibility Statement have been authorised to make any representation or warranty, express
      or implied, as to its accuracy or completeness. Nothing contained in this Explanatory Statement
      is, or should be relied upon as, a representation, assurance or guarantee as to the benefits of the
      Scheme over any alternative for Scheme Creditors.
      Except as expressly stated below, the Scheme Companies have provided, and are responsible
      for, the information in this Explanatory Statement. The Outgoing Agent and Indenture Trustee,
      the Incoming Agent and Indenture Trustee, the Outgoing Collateral Trustee, the Incoming
      Collateral Trustee, the Receivers, the Scheme Administrators, Quintis (Australia) and Quintis
      Holdco and their respective directors, officers, employees and advisers do not assume any
      responsibility for the accuracy or completeness of this Explanatory Statement.
      KordaMentha have prepared the Expert Report in relation to the Scheme Companies and the
      proposed Scheme based, in part, on information provided by the Scheme Companies. Except to
      the extent that the Scheme Companies are responsible for the information they have provided to
      KordaMentha for the purpose of the Expert Report (and the Scheme Companies take
      responsibility for that information) KordaMentha takes responsibility for the Expert Report.

2.4   Date of this Explanatory Statement
      The date of this Explanatory Statement is 5 September 2018.

2.5   Notice of Second Court Hearing
      The Scheme, if approved by the requisite majorities of Scheme Creditors, is subject to approval
      of the Court on the Second Court Hearing. Scheme Creditors have the right to appear at the
      Second Court Hearing and oppose the approval of the Scheme by the Court and be heard,
      including in opposition to the approval of the Scheme.
      The Second Court Hearing is expected to be held on Thursday, 4 October 2018 at the Federal
      Court of Australia, Queens Square, Sydney NSW 2000. Any Scheme Creditor who wishes to
      oppose approval of the Scheme at the Second Court Hearing may do so by filing with the Court
      and serving on the Scheme Companies, a notice of appearance in the prescribed form together
      with any affidavit on which the Scheme Creditor proposes to rely.

2.6   Professional advice
      This Explanatory Statement does not constitute financial product advice and has been prepared
      without reference to the investment objectives, financial situation, taxation position or particular
      needs of any Scheme Creditor. Scheme Creditors should not construe any statements made in
      this Explanatory Statement as investment, tax or legal advice. Each Scheme Creditor’s decision
      whether to vote for or against the Scheme will depend on an assessment of the Scheme
      Creditor’s individual circumstances. As the financial, legal and taxation consequences of that
      decision may be different for each Scheme Creditor, it is recommended that Scheme Creditors
      seek professional financial, legal and taxation advice before making their decision.




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2.7    Forward looking statements
       Certain statements in this Explanatory Statement relate to the future. These forward looking
       statements and information, including the statements and information relating to the Quintis
       Group, are not based solely on historical facts, but rather reflect the current expectations of the
       Quintis Group. These statements may sometimes be identified by the use of forward looking
       words or phrases such as expect, anticipate, contemplate, intend, likely, plan, may, estimate,
       should, potential or other similar words or phrases.
       Forward looking statements involve known and unknown risks, uncertainties, assumptions and
       other important factors that could cause the actual outcomes to be materially different from future
       outcomes expressed or implied by such statements. Such statements and information are based
       on numerous assumptions regarding present and future circumstances. Certain important factors
       could cause actual outcomes to differ materially from those in the forward looking statements
       including, among others, that the Scheme and future performance of the Quintis Group is subject
       to the satisfaction of certain Conditions Precedent, litigation risks, regulatory restriction, activities
       by governmental authorities (including changes in taxation), risks of sovereign investment,
       currency fluctuations, the global economic climate, dilution, share price volatility, competition, loss
       of key employees and additional funding requirements.
       Given this, Scheme Creditors are cautioned not to place undue reliance on such forward looking
       statements.

2.8    Scheme Creditors’ acknowledgement regarding information
       A copy of this Explanatory Statement and any related amendments or supplements to it will be
       provided to each person who, as at the Effective Date, is a holder of the Original Notes as a
       person potentially entitled to vote at the Scheme Meeting. No person has been authorised to
       give any information or to make representations in connection with the Scheme other than the
       information and representations contained in this Explanatory Statement.

2.9    ASIC
       A copy of this Explanatory Statement has been sent to ASIC for the purposes of section 411(2)(a)
       of the Corporations Act. Neither ASIC nor any of its officers take any responsibility for its
       contents.

2.10   Rounding
       A number of figures, amounts, percentages, estimates, calculations of values and fractions in this
       Explanatory Statement are subject to the effect of rounding. Accordingly, the actual calculation of
       these figures may differ from the figures set out.

2.11   Defined terms
       Capitalised terms and certain abbreviations used in this Explanatory Statement have the defined
       meaning set out in the Glossary to this Explanatory Statement except where otherwise stated
       (including in section 5.10). The documents contained in the Schedules to this Explanatory
       Statement have their own defined terms that may be different from the definitions in the Glossary.

2.12   Scheme Creditors outside Australia
       This Explanatory Statement has been prepared to reflect the applicable disclosure requirements
       of Australia, which may be different from the requirements applicable in other jurisdictions. The
       financial information included in this document is based on financial statements that have been
       prepared in accordance with accounting principles and practices generally accepted in Australia,


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       which may differ from generally accepted accounting principles and practices in other
       jurisdictions.

2.13   Tax implications of the Scheme
       As the financial, legal and taxation consequences of the Scheme may be different for each
       Scheme Creditor, it is recommended that Scheme Creditors seek professional financial, legal and
       taxation advice in relation to the Scheme.
       See Section 9 for a description of certain Australian and U.S. tax considerations relevant to the
       Scheme.
       The implications of the Scheme for Scheme Creditors who are resident in, have a registered
       address in or are citizens of and/or are taxable in jurisdictions other than Australia may be
       affected by the laws of the relevant jurisdiction. Such overseas Scheme Creditors should inform
       themselves about and observe any applicable legal requirements.
       Any person outside Australia who is resident in, or who has a registered address in, or is a citizen
       of and/or is taxable in, an overseas jurisdiction and who is to receive or subscribe for any
       Scheme consideration should consult its professional advisers and satisfy itself as to the full
       observance of the laws of the relevant jurisdiction in connection with the Scheme, including
       obtaining any requisite governmental or other consents, observing any other requisite formalities
       and paying any issue, transfer or other taxes due in such jurisdiction.

2.14   International offer restrictions
       For the purpose of this clause 2.14, "Transaction Securities" means the First Lien Notes,
       Second Lien Notes and/or shares in Quintis Holdco (as applicable).
       (a)     General
       This Explanatory Statement or the electronic transmission thereof does not constitute an offer to
       buy, or the solicitation of an offer to sell, any Transaction Securities in any circumstances in which
       such offer or solicitation is unlawful. In addition, this Explanatory Statement does not constitute an
       invitation to participate in the Scheme in any jurisdiction in which, or to any person to or from
       whom, it is unlawful to make such invitation or for there to be such participation under applicable
       securities laws. The distribution of this Explanatory Statement in certain jurisdictions may be
       restricted by law. Persons into whose possession this Explanatory Statement comes are required
       by each of the Scheme Companies and each of the Guarantors and New Guarantors to inform
       themselves about, and to observe, any such restrictions.
       (b)     Australia
       This document is not a “prospectus” or an “offer information statement” for the purposes of Part
       6D.2 of the Corporations Act or a “product disclosure statement” for the purposes of Chapter 7 of
       the Corporations Act and is not required to be lodged with the Australian Securities and
       Investments Commission under the Corporations Act as each offer for the issue, any invitation to
       apply for the issue, and any offer for the sale of, and any invitation for offers to purchase, the
       offered notes to a person under this offering circular:
               (i)       will be for a minimum amount payable, by each person (after disregarding any
                         amount lent by the person offering the offered notes (as determined under
                         section 700(3) of the Corporations Act) or any of their associates (as determined
                         under sections 10 to 17 of the Corporations Act) on acceptance of the offer or
                         application (as the case may be) of at least a A$500,000 (calculated in
                         accordance with both section 708(9) of the Corporations Act and regulation
                         7.1.18 of the Corporations Regulations 2001); or

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              (ii)    does not otherwise require disclosure to investors under part 6D.2 of the
                      Corporations Act and is not made to a retail client for the purposes of Chapter 7
                      of the Corporations Act.
     (c)      European Economic Area
              This Explanatory Statement and any other document relating to the Scheme and the offer
              are only addressed to, and directed in, member states of the European Economic Area
              (the EEA) (each, a Member State), at persons who are “Qualified Investors” within the
              meaning of article 2(1)(e) of the Prospectus Directive (Qualified Investors). Each person
              in a Member State who initially acquires any Transaction Securities or to whom any offer
              of Transaction Securities may be made and, to the extent applicable, any funds on behalf
              of which such person is acquiring the Transaction Securities that are located in a Member
              State will be deemed to have represented, acknowledged and agreed that it is a Qualified
              Investor. For these purposes, the expression “Prospectus Directive" means Directive
              2003/71/EC (and amendments thereto, including the 2010 PD amending directive), and
              includes any relevant implementing measure in the Member State and the expression
              "2010 PD amending directive" means directive 2010/73/EU.
     (d)      Hong Kong
              WARNING: The contents of this document have not been reviewed or approved by any
              regulatory authority in Hong Kong. You are advised to exercise caution in relation to the
              offer. If you are in any doubt about any of the contents of this document, you should
              obtain independent professional advice. This document does not constitute an offer or
              invitation to the public in Hong Kong to acquire or subscribe for or dispose of any
              securities. This document also does not constitute a prospectus (as defined in section
              2(1) of the Companies (Winding Up and Miscellaneous Provisions) Ordinance (Chapter
              32 of the Laws of Hong Kong) (the CWUMPO)) or notice, circular, brochure or
              advertisement offering any securities to the public for subscription or purchase or
              calculated to invite such offers by the public to subscribe for or purchase any securities,
              nor is it an advertisement, invitation or document which is or contains an invitation falling
              within the meaning of section 102 of the Securities and Futures Ordinance (Chapter 571
              of the Laws of Hong Kong) (the SFO). Accordingly, unless permitted by the securities
              laws of Hong Kong, no person may issue or cause to be issued this document in Hong
              Kong, other than to persons who are "professional investors" as defined in the SFO and
              any rules made thereunder or in other circumstances which do not result in the document
              being a "prospectus" as defined in the CWUMPO or which do not constitute an offer to
              the public within the meaning of the CWUMPO; and no person may issue or have in its
              possession for the purposes of issue, this document or any advertisement, invitation or
              document relating to the Scheme, whether in Hong Kong or elsewhere, which is directed
              at, or the contents of which are likely to be accessed or read by, the public in Hong Kong
              (except if permitted to do so under the securities laws of Hong Kong) other than any such
              advertisement, invitation or document relating to the Scheme that are or are intended to
              be disposed of only to persons outside Hong Kong or only to "professional investors" as
              defined in the SFO and any rules made thereunder. Copies of this document may be
              issued to a limited number of persons in Hong Kong in a manner which does not
              constitute any issue, circulation or distribution of this document, or any offer or an
              invitation in respect of these securities, to the public in Hong Kong. This document is for
              the exclusive use of the Scheme Creditors in connection with the Scheme, and no steps
              have been taken to register or seek authorisation for the issue of this document in Hong
              Kong. Only the person to whom a copy of this document has been issued may take action
              in response to this document. The offer of the Scheme is personal to the person to whom
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              this document has been delivered, and an acquisition or subscription for Transaction
              Securities under the Scheme will only be accepted from such person. This document is
              confidential to the person to whom it is addressed and no person to whom a copy of this
              document is issued may issue, circulate, distribute, publish, reproduce or disclose (in
              whole or in part) this document to any other person in Hong Kong or use for any purpose
              in Hong Kong other than in connection with the consideration of the Scheme by the
              person to whom this document is addressed.
     (e)      Luxembourg
              The Transaction Securities are not offered to the public in or from Luxembourg and no
              person may offer the Transaction Securities or cause the offering of the Transaction
              Securities or contribute to the offering of the Transaction Securities to the public in or
              from Luxembourg, unless all the relevant legal and regulatory requirements concerning a
              public offer in or from Luxembourg have been complied with. In particular, neither the
              information in this Explanatory Statement nor any other document relating to the Scheme
              has been announced to the public nor will this Explanatory Statement or any other
              document relating to the Scheme be made available to the public in Luxembourg.
     (f)      Japan
              Neither the information in this Explanatory Statement nor any other document relating to
              the Scheme has been nor will be registered under the Financial Instruments and
              Exchange Act of Japan (Act No. 25 of 1948, as amended, the Financial Instruments
              and Exchange Act). Accordingly, no Transaction Securities may be, directly or indirectly,
              offered or sold and in Japan or to, or for the benefit of, any resident of Japan (which term
              as used herein means any person resident in Japan, including any corporation or other
              entity organised under the laws of Japan) or to others for re-offering or re-sale, directly or
              indirectly, in Japan or to, or for the benefit of, any resident of Japan, except pursuant to
              an exemption from the registration requirements of, and otherwise in compliance with, the
              Financial Instruments and Exchange Act and other relevant laws and regulations of
              Japan.
     (g)      Singapore
              Neither the information in this Explanatory Statement nor any other document relating to
              the Scheme has been registered as a prospectus with the Monetary Authority of
              Singapore. Accordingly, this document and any other document or material in connection
              with the offer or sale, or invitation for subscription or purchase, of any Transaction
              Securities may not be circulated or distributed, nor may any Transaction Securities be
              offered or sold, or be made the subject of an invitation for subscription or purchase,
              whether directly or indirectly, to persons in Singapore other than:
              (I)       to an institutional investor under Section 274 of the Securities and Futures Act,
                        Chapter 289 of Singapore (the SFA);
              (II)      to a relevant person pursuant to Section 275(1), or any person pursuant to
                        Section 275(1A), and in accordance with the conditions specified in Section 275,
                        of the SFA; or
              (III)     otherwise pursuant to, and in accordance with the conditions of, any other
                        applicable provision of the SFA.
              Where any Transaction Securities are subscribed or purchased under Section 275 of the
              SFA by a relevant person which is:


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              (a)        a corporation (which is not an accredited investor (as defined in Section 4A of
                        the SFA)) the sole business of which is to hold investments and the entire share
                        capital of which is owned by one or more individuals, each of whom is an
                        accredited investor; or
              (b)       a trust (where the trustee is not an accredited investor) whose sole purpose is to
                        hold investments and each beneficiary of the trust is an individual who is an
                        accredited investor,
              securities (as defined in Section 239(1) of the SFA) of that corporation or the
              beneficiaries’ rights and interest (howsoever described) in that trust shall not be
              transferred within six months after that corporation or that trust has acquired the
              Transaction Securities pursuant to an offer made under Section 275 of the SFA except:
              (i)       to an institutional investor or to a relevant person defined in Section 275(2) of the
                        SFA, or to any person arising from an offer referred to in Section 275(1A) or
                        Section 276(4)(i)(B) of the SFA;
              (ii)      where no consideration is or will be given for the transfer;
              (iii)     where the transfer is by operation of law;
              (iv)      as specified in Section 276(7) of the SFA; or
              (v)       as specified in Regulation 32 of the Securities and Futures (Offers of
                        Investments) (Shares and Debentures) Regulations 2005 of Singapore.
              In connection with Section 309B of the SFA and the Securities and Futures (Capital
              Markets Products) Regulations 2018 of Singapore (the CMP Regulations 2018), the
              Scheme Companies have determined the classification of each Transaction Security as
              prescribed capital markets products (as defined in the CMP Regulations 2018) and
              Excluded Investment Products (as defined in MAS Notice SFA 04-N12: Notice on the
              Sale of Investment Products and MAS Notice FAA-N16: Notice on Recommendations on
              Investment Products).
     (h)      United Kingdom
              Neither the information in this Explanatory Statement nor any other document relating to
              the Scheme has been delivered for approval to the Financial Conduct Authority in the
              United Kingdom and no prospectus (within the meaning of section 85 of the Financial
              Services and Markets Act 2000, as amended (FSMA)) has been published or is intended
              to be published in respect of the Transaction Securities. This document is issued on a
              confidential basis to "qualified investors" (within the meaning of section 86(7) of FSMA) in
              the United Kingdom, and the Transaction Securities may not be offered or sold in the
              United Kingdom by means of this document, any accompanying letter or any other
              document, except in circumstances which do not require the publication of a prospectus
              pursuant to section 86(1) FSMA. In the United Kingdom, this document is being
              distributed only to, and is directed at, persons (i) who have professional experience in
              matters relating to investments falling within Article 19(5) (investment professionals) of
              the Financial Services and Markets Act 2000 (Financial Promotions) Order 2005 ("FPO"),
              (ii) who fall within the categories of persons referred to in Article 49(2)(a) to (d) (high net
              worth companies, unincorporated associations, etc.) of the FPO, or (iii) to whom it may
              otherwise be lawfully communicated (together "relevant persons"). The investments to
              which this document relates are available only to, and any invitation, offer or agreement
              to purchase will be engaged in only with, relevant persons. Any person who is not a
              relevant person should not act or rely on this document or any of its contents.

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     (i)      United States
              In connection with the issue of the Transaction Securities, the Quintis Group will, from
              time to time, require Scheme Creditors who intend to receive Transaction Securities to
              confirm, amongst other things, that the relevant Scheme Creditor (or Scheme Creditor
              Affiliate) is a person eligible to receive securities under the Securities Act and will require
              Scheme Creditors (or Scheme Creditor Affiliates) who are located in the United States or
              are U.S. Persons and intend to receive Transaction Securities to agree in writing to
              certain representations and covenants. If the confirmations required by the Quintis Group
              cannot be or are not given, the relevant Scheme Creditor (or Scheme Creditor Affiliate)
              will not be eligible to receive the Transaction Securities.
              The Transaction Securities delivered under the Scheme will be issued and delivered in
              reliance upon exemptions from the registration requirements of the Securities Act. The
              Transaction Securities will be issued and delivered to (i) persons within the United States
              and to U.S. Persons, in each case where each such person is either a “qualified
              institutional buyer” (a “QIB”) as defined in Rule 144A under the Securities Act (“Rule
              144A”) or an institutional “accredited investor” (as defined in Rule 501(a)(1), (2), (3) or (7)
              under the Securities Act) and (ii) to non-U.S. persons in offshore transactions outside the
              United States, in reliance on Regulation S under the Securities Act (“Regulation S”).
              None of the Transaction Securities has been or will be registered under the Securities
              Act. The Transaction Securities are “restricted securities” (as defined by Rule 144(a)(3)
              under the Securities Act) and may not be offered, sold, pledged or otherwise transferred
              except (a) pursuant to an effective registration statement under the Securities Act and
              such transfer is registered pursuant to, exempt from or not subject to any other applicable
              securities laws covering such securities; (b) in accordance with Rule 144A, if available,
              under the Securities Act to a person that the transferor, and any person acting on its
              behalf, reasonably believes is a QIB purchasing for its own account; (c) in accordance
              with Rule 144 (“Rule 144”) under the Securities Act, and the Quintis Group receives
              evidence satisfactory to it that the provisions of Rule 144 have been complied with; (d) in
              an offshore transaction in accordance with Regulation S; (e) to any member of the Quintis
              Group, or (f) in accordance with another exemption from registration under the Securities
              Act and, if requested, the Quintis Group receives an opinion of counsel from the holder of
              these securities to such effect, reasonably satisfactory to the Quintis Group, and in the
              case of each of (a), (b), (c) or (f), the transferee is also a QIB or an “accredited investor”,
              and in each case in accordance with any applicable securities laws of any State of the
              United States. Scheme Creditors who are citizens or residents of the United States are
              advised that none of the Transaction Securities will be registered under the Securities
              and Exchange Act of 1934, as amended, and the Quintis Group does not expect that the
              Transaction Securities will be subject to the reporting requirements applicable thereunder.
              The Scheme Creditors understand that the Transaction Securities will not be listed on a
              U.S. securities exchange or any inter-dealer quotation system in the United States. The
              Quintis Group does not intend to take action to facilitate a market in any of the
              Transaction Securities in the United States. Consequently, the Quintis Group believes
              that it is unlikely that an active trading market in the United States will develop for any
              such securities.
              Neither the SEC nor any U.S. federal, state or other securities commission or regulatory
              authority has registered, approved or disapproved the Transaction Securities or passed
              upon the accuracy or adequacy of this Explanatory Statement. Any representation to the
              contrary is a criminal offence in the United States.

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              Scheme Creditors who are citizens or residents of the United States should consult their
              own legal, financial and tax advisers with respect to the legal, financial and tax
              consequences of the Scheme in their particular circumstances.
              ERISA
              Each purchaser and subsequent transferee of any Transaction Securities will be deemed
              to have represented and warranted that either (i) no portion of the assets used by such
              purchaser or transferee to acquire and hold such Transaction Securities (A) constitutes
              assets of any employee benefit plan as defined in and subject to Title I of the U.S.
              Employee Retirement Income Security Act, as amended (“ERISA”), (B) includes any plan,
              individual retirement account or other arrangement that is subject to Section 4975 of the
              U.S. Internal Revenue Code of 1986, as amended (the “Code”), (C) has provisions that
              under any federal, state, local non-U.S. or other laws or regulations are similar to the
              applicable provisions (including the fiduciary responsibility or prohibited transaction
              provisions) of ERISA or the Code, or (D) is any entity whose underlying assets include
              “plan assets” of any such plan, account or arrangement described in (A), (B) or (C) of this
              paragraph, or (ii) the purchase and holding of the Transaction Securities by such
              purchaser or transferee will not constitute a non-exempt prohibited transaction under
              Section 406 of ERISA or Section 4975 of the Code or, in the case of any other federal,
              state, local non-U.S. Plan, a non-exempt violation under any applicable law.

2.15   Privacy
       The Chairperson, the Scheme Administrators, the Scheme Companies, Quintis Holdco and
       Quintis (Australia) may collect, use and disclose personal information in the process of
       implementing the Scheme. This information may include the names, contact details, bank
       account details, details of any client accounts or securities deposited with Scheme Companies,
       and the name and contact details of persons appointed by Scheme Creditors to act as proxy,
       corporate representative or attorney at Scheme Meeting. The primary purpose of collecting this
       information is to assist the Chairperson, the Scheme Administrators, the Scheme Companies,
       Quintis Holdco and Quintis (Australia) in the conduct of the Scheme Meeting and to enable the
       Scheme to be implemented by the Scheme Administrators in the manner described in this
       Explanatory Statement. Personal information may be disclosed to the Chairperson, the Scheme
       Administrators, the Scheme Companies, Quintis Holdco and Quintis (Australia), third party
       service providers, professional advisers, to ASIC and other regulatory authorities and, in any
       case, where disclosure is required by law or where you have consented. Scheme Creditors have
       the right to access personal information that has been collected. Scheme Creditors should
       contact the Scheme Companies in the first instance if they wish to exercise this right.
       The main consequence of not collecting such information would be that the Chairperson, the
       Scheme Administrators, the Scheme Companies Quintis Holdco and Quintis (Australia) may be
       hindered in, or prevented from, conducting the Scheme Meeting and implementing the Scheme.
       Scheme Creditors appointing a proxy, corporate representative or attorney should ensure that
       these matters are communicated to that person.




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IMPORTANT NOTICE ASSOCIATED WITH COURT ORDERS UNDER SUBSECTION 411(1) OF THE
CORPORATIONS ACT
The fact that under subsection 411(1) of the Corporations Act the Court has ordered that a
meeting be convened and has approved the explanatory statement required to accompany the
notices of the meeting does not mean that the Court:
       (a)    has formed any view as to the merits of the proposed scheme or as to how
              members/creditors should vote (on this matter members/creditors must reach their
              own decision); or
       (b)    has prepared, or is responsible for the content of, the explanatory statement.




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3       Key Dates and Steps
Event                                                                  Time and Date
Time and date by which Scheme Creditors must lodge Voting
                                                                       5pm on Tuesday, 25 September
Proof of Debt Form and Proxy Form (if you wish to vote by
                                                                       2018
proxy) for the Scheme Meeting
Scheme Meeting                                                         Thursday, 27 September 2018 at
                                                                       10am
Time by which Scheme Creditors must enter into the Note                8:00am on the date of the
Subscription and Purchase Agreement                                    Second Court Hearing
Second Court Hearing (seeking orders for approval of the
                                                                       Thursday, 4 October 2018
Scheme)

Court orders approving the Scheme are lodged with ASIC and             No earlier than the next Business
Scheme takes effect (Effective Date)                                   Day after the day on which the
                                                                       Court makes the orders
                                                                       approving the Scheme at the
                                                                       Second Court Hearing
Time by which Scheme Creditors must provide US Securities
Representation to Quintis (Australia), Quintis Holdco and the          Effective Date
New Guarantors
Time by which Scheme Creditors must enter into the
                                                                       Completion Date
Shareholders' Agreement

Date on which the Scheme becomes fully operative                       Completion Date, being the date
                                                                       that is as soon as practicable
                                                                       after the Effective Date for
                                                                       implementation of the Scheme
                                                                       but must be no later than the date
                                                                       that is five Business Days after
                                                                       the Effective Date (or such other
                                                                       later date agreed in writing by the
                                                                       Scheme Companies and Majority
                                                                       Consent)
Note: Unless otherwise stated, all times referred to in this Explanatory Statement and the documents
contained in its Appendices are Sydney, New South Wales, Australia times. The dates referred to in the
above table are indicative only and are subject to change. The Scheme Companies reserve the right to
vary the times and dates set out above, subject to the Corporations Act and approval of any variations by
the Court and/or ASIC where required.




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4       Questions and Answers
Question                Answer
Why was this            You have been sent this document (and should read it) because, according to
Explanatory             the records of the Scheme Companies, you might be a Scheme Creditor of one
Statement sent to me?   or more of the Scheme Companies (as a holder of Original Notes as at the
                        Effective Date).
                        If you are a Scheme Creditor, you will be eligible to vote at the Scheme Meeting
                        to consider and, if thought fit, agree to the Scheme. In order to vote, you will
                        need to lodge your Voting Proof of Debt Form and, if you wish to vote by proxy,
                        your Proxy Form, so that the forms are received by the Chairperson by 5pm on
                        Tuesday, 25 September 2018.
                        For further details of the Scheme Meeting, refer to the Scheme Meeting Notice
                        in Schedule 7 of this Explanatory Statement.
                        Receipt of this Explanatory Statement does not amount to confirmation that you
                        have a valid Claim against or are owed any amount by any of the Scheme
                        Companies.
What is a creditors'    A creditors' scheme of arrangement is a binding, court approved agreement
scheme of               between a company and its creditors. Creditors' schemes of arrangement are
arrangement?            regulated under Part 5.1 of the Corporations Act.
Why are the Scheme      Quintis Limited owes debts of approximately US$320 million to its secured
Companies proposing     creditors (being the holders of the Original Notes, the Tranche 1 Super Senior
the Scheme?             Notes and the Tranche 2 Super Senior Notes). Quintis Limited and the other
                        Scheme Companies have granted security for these debts over all or most of
                        their assets as well as other security in favour of the Outgoing Collateral Trustee
                        for the benefit of the secured creditors.
                        The Scheme Companies are currently in external administration. Voluntary
                        administrators (being Richard Tucker, Scott Langon and John Bumbak of
                        KordaMentha) were appointed on 20 January 2018. On 23 January 2018, the
                        Outgoing Collateral Trustee, on the instructions of the secured creditors,
                        appointed Jason Preston, Shaun Fraser and Rob Brauer of McGrathNicol as
                        receivers and managers of the Scheme Companies.
                        The secured debt which is owing by the Quintis Group exceeds the current
                        enterprise value of the Quintis Group. Earlier this year, the Receivers conducted
                        a sale process for the business and/or assets of the Quintis Group. Offers
                        received by the Receivers allocated values to the business and the assets of
                        Quintis Group that were substantially below the quantum of the secured debt
                        and, for this reason, the process did not ultimately result in any sale of assets or
                        business of the Quintis Group.
                        In these circumstances, the Quintis Group is proposing a restructure of the
                        secured debt owed by it to secured creditors as part of a broader recapitalisation
                        proposal. That restructure and the other aspects of the recapitalisation proposal
                        are to be effected through a creditors’ scheme of arrangement under Part 5.1 of
                        the Corporations Act and the DOCA into which the Scheme Companies entered
                        on29 June 2018. The DOCA and the Scheme are inter-conditional and one will
                        not be implemented without the other.

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Question                  Answer
What is the Scheme        The Scheme proposal is described more fully at section 5.11 below. By way of
proposal?                 summary only, the Scheme proposal will involve:
                          •       The release of certain intercompany debts between companies in the
                                  Quintis Group;
                          •       Cancellation and exchange of the Original Notes for the Second Lien
                                  Notes which will have a lower face value than the Original Notes
                                  currently on issue and will include terms which will enable certain
                                  interest payments to be capitalised;
                          •       The issue of shares by Quintis Holdco (the new holding company of the
                                  Quintis Group) to the Scheme Creditors who enter into the
                                  Shareholders' Agreement (i.e. the Equity Noteholders);
                          •       The transfer by Quintis Limited of its shareholdings in the Quintis
                                  Subsidiaries to Quintis (Australia), which will be wholly owned by Quintis
                                  Holdco, as well as other valuable assets to the new Quintis Group;
                          •       The assumption by Quintis (Australia) of Quintis Limited's role as
                                  borrower in respect of the secured debt of the Quintis Group (as
                                  restructured by the Scheme), including the giving by Quintis (Australia)
                                  of security in favour of the Incoming Collateral Trustee, and the release
                                  by the secured creditors of Quintis Limited as a borrower and security
                                  provider;
                          •       An injection of new capital for the Quintis Group by way of the issue of
                                  the First Lien Notesby Quintis (Australia);
                          •       Repayment or roll in full of the Tranche 1 Super Senior Notes and the
                                  Tranche 2 Super Senior Notes;
                          •       Entry into the New Finance Documents which will govern the terms of
                                  the restructured secured debt.
                          Scheme Creditors must provide the US Securities Representation to Quintis
                          (Australia), Quintis Holdco and the New Guarantors by the Effective Date in
                          order to be entitled to receive the Second Lien Notes and/or First Lien Notes
                          and/or shares in Quintis Holdco (as applicable).
What is the effect of     The effect of the Scheme proposal is to recapitalise the Quintis Group,
the Scheme proposal?      restructure its secured debt and create a new Quintis Group corporate structure
                          (as set out in section 8.8 below), such that the Quintis Group will be in a position
                          to continue operating on a going concern basis.
How do I confirm that I   In order to receive the Second Lien Notes and/or First Lien Notes (both of which
am eligible to receive    are governed by New York law) and/or shares in Quintis Holdco, Scheme
Second Lien Notes         Creditors must provide the US Securities Representation to Quintis (Australia),
and/or First Lien         Quintis Holdco and the New Guarantors by the Effective Date which certifies
Notes and/or shares in    that they are either: (i) a 'Qualified Institutional Buyer' under the Securities Act,
Quintis Holdco?           (ii) an institutional “accredited investor” under the Securities Act; or (iii) eligible
                          pursuant to Regulation S.
                          The form of the certification is contained in the Voting Proof of Debt Form set
                          out in Schedule 10, or alternatively you can provide written confirmation of your
                          eligibility to mail to: quintis@mcgrathnicol.com.
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Question                   Answer
What if I am not           If the US Securities Representation is not provided by the Effective Date to
eligible to receive        Quintis (Australia), you may instead be eligible to receive a cash payment
Second Lien Notes          equivalent to 30 cents in the dollar of the face value of the Second Lien Notes
and/or First Lien          and/or First Lien Notes that you would otherwise have received under the
Notes and/or shares in     Scheme, had the US Securities Representation to Quintis (Australia), Quintis
Quintis Holdco?            Holdco and the New Guarantors been made.
What are the reasons       Reasons for voting in favour of the Scheme proposal are set out in Section 6.3
to vote in favour of the   below. Those reasons include the following:
Scheme proposal?
                           •        It will give Scheme Creditors the opportunity to receive shares in Quintis
                                    Holdco (the new holding company of the Quintis Group) and the
                                    potential equity upside of being a shareholder. As the ultimate
                                    shareholders of the Quintis Subsidiaries, Scheme Creditors will benefit
                                    from any positive returns generated by the Quintis Group business;
                           •        The Quintis Group will be recapitalised and well positioned to meet the
                                    capital requirements associated with the running of its business for a
                                    number of years; and
                           •        The Scheme provides a means by which the Scheme Companies (other
                                    than Quintis Limited) can exit external administration as solvent
                                    companies and continue their operations on a going concern basis.
What are the possible      Reasons for voting against the Scheme proposal are set out in Section 6.4
reasons not to vote in     below. Those reasons include the following:
favour of the Scheme
                           •        The Scheme, if implemented, will not result in any immediate cash
proposal?                           return to Scheme Creditors and given the nature of the Quintis Group's
                                    business, it will likely be an extended period of time before the Scheme
                                    Creditors receive any cash payments in respect of their holdings;
                           •        As the recapitalisation requirements of the Quintis Group will need to be
                                    met in part by the Scheme Creditors (through the issue of the First Lien
                                    Notes for which Scheme Creditors will subscribe), Scheme Creditors
                                    may form the view they would prefer to use the capital for other
                                    purposes; and
                           •        Scheme Creditors may form the view that they would prefer an
                                    immediate return from a liquidation or sale of the Quintis Group, rather
                                    than being exposed to the risks associated with their position as
                                    shareholders of, and debt financiers of, the Quintis Group business.
What voting majority is    The Scheme proposal will only proceed if:
required to approve
                                   the Scheme is approved by the requisite majority of Scheme Creditors
the Scheme
                                    at the Scheme Meeting; and
Approval?
                                   the Scheme is approved by the Court on or after the Second Court
                                    Hearing (expected to be Thursday, 4 October 2018)
                           The Scheme must be passed by a majority in number (more than 50%) of
                           Scheme Creditors who are present and voting at the Scheme Meeting (either in
                           person, by proxy or, in the case of corporations, by corporate representative)
                           and whose debts or Claims against the Scheme Companies amount in
                           aggregate to at least 75% of the total amount of the debts and claims of the
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Question                Answer
                        Scheme Creditors present and voting at the Scheme Meeting.
What do the             The Receivers recommend that you vote in favour of the Scheme proposal in
Receivers               the absence of any superior proposal.
recommend?
What has the expert     The Expert Report is contained at Schedule 2.
concluded?
                        The Expert has concluded that:
                               (a)     the Implied Value (as defined in the Expert Report) of the
                                       interests that Scheme Creditors will receive or retain if the
                                       Scheme is put into effect as proposed is 88.6c in $; and
                               (b)     the expected dividend that would be made available to Scheme
                                       Creditors if the Scheme Companies were to be wound up within
                                       six months of the hearing of the application for an order under
                                       section 411 of the Corporations Act is 56.7c in $.
                        (See Section 6 of the Expert Report, Table 16)
How do I vote?          Please see section 7 of this Explanatory Statement.
Where do I return my    Your Voting Proof of Debt Form and your Proxy Form must be:
Voting Proof of Debt    sent or hand delivered to
Form and my Proxy
Form?                                               Attention: Chris Prestwich
                               Address: Allens, Deutsche Bank Place, Corner Hunter and Phillip
                                             Streets, Sydney NSW 2000 Australia
                        or
                        faxed to +61 02 9230 5333
                        or
                        submitted by email to chris.prestwich@allens.com.au
Is voting compulsory?   Voting is not compulsory.
What happens if I do    If the Scheme is approved by the requisite majority of Scheme Creditors and
not vote or if I vote   approved by the Court, it will bind all Scheme Creditors in respect of their
against the Scheme      Claims against the Scheme Companies (including in respect of the Original
proposal?               Notes held by all Scheme Creditors), including any Scheme Creditors who did
                        not vote or voted against the Scheme at the Scheme Meeting.
What are the tax        As the taxation consequences of the Scheme may be different for each Scheme
implications of the     Creditor, it is recommended that Scheme Creditors seek professional taxation
Scheme proposal?        advice in relation to the Scheme and its effect. See section 9 below.
Who will administer     The Scheme Administrators will be Richard Tucker, Scott Langdon and Jennifer
the Scheme?             Nettleton of KordaMentha.
When and where is       The Scheme Meeting will be held at:
the Scheme Meeting      10am on Thursday, 27 September 2018
to be held?             at
                        Allens
                        Level 28

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Question                  Answer
                          126 Phillip Street
                          Sydney NSW Australia
What if I cannot attend   You should complete and lodge your Proxy Form and Voting Proof of Debt
the Scheme Meeting?       Form, in accordance with the instructions on the forms.
Who will be bound by      If the Scheme is approved by the requisite majority of Scheme Creditors and
the Scheme proposal?      approved by the Court, it will bind all Scheme Creditors in respect of their
                          Claims against the Scheme Companies (including in respect of the Original
                          Notes held by all Scheme Creditors), including any Scheme Creditors who did
                          not vote or voted against the Scheme at the Scheme Meeting.
What will I receive if    Under the Scheme, Scheme Creditors will receive the following:
the Scheme proposal
                          •       A pro rata share of the Second Lien Notes;
proceeds?
                          •       First Lien Notes, the amount of which will be calculated by reference to
                                  each Scheme Creditor's pro rata share of an amount of US$10 million of
                                  Original Notes which is to be repaid by way of application in payment of
                                  the subscription price for First Lien Notes for an equivalent amount;
                          •       The opportunity to subscribe for further First Lien Notes by entering into
                                  the Note Subscription and Purchase Agreement by 8:00am on the date
                                  of the Second Court Meeting;
                          •       A pro rata issue of equity in Quintis Holdco, which will be the new
                                  holding company of the newly recapitalised Quintis Group, for those
                                  Scheme Creditors who enter into the Shareholders' Agreement by the
                                  Completion Date; and
                          •       To the extent a Scheme Creditor is a Super Senior Noteholder,
                                  repayment or roll of the Tranche 1 Super Senior Notes and the Tranche
                                  2 Super Senior Notes (as applicable).
                          A Scheme Creditor who does not provide the US Securities Representation to
                          Quintis (Australia), Quintis Holdco and the New Guarantors by the Effective
                          Date will not be eligible to receive any Second Lien Notes, First Lien Notes or
                          shares in Quintis Holdco and may instead be entitled to receive the Cash
                          Payment in lieu of these entitlements (to the extent applicable to the Scheme
                          Creditor in question).
What happens to my        Scheme Creditors will provide a broad release in favour of Quintis Limited to the
Claims against the        extent of its obligations as borrower and security provider in respect of the
Scheme Companies if       existing secured debt, as well as certain other releases. Quintis Limited will be
the Scheme proposal       replaced by Quintis (Australia) as the borrower to the secured debt (as
proceeds?                 restructured by the Scheme) and Quintis (Australia) will provide security in
                          support of obligations with respect to the secured debt. Fieldpark Pty Ltd (which
                          will replace Quintis Limited in respect of certain contracts to which Quintis
                          Limited is currently party that will be transferred to Fieldpark Pty Ltd under the
                          Scheme) will also provide security in support of its obligations with respect to the
                          secured debt (as restructured under the Scheme).
                          Scheme Creditors' rights against the other Scheme Companies (i.e. excluding
                          Quintis Limited) in respect of the Original Notes will be replaced with claims
                          against those entities in respect of the Second Lien Notes and the First Lien

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Question                 Answer
                         Notes (so long as the relevant Scheme Creditor provides the US Securities
                         Representation to Quintis (Australia), Quintis Holdco and the New Guarantors
                         by the Effective Date).
What happens if the      If the Scheme proposal is not approved, the Scheme will not proceed. The
Scheme proposal is       conditions to the DOCA will not be satisfied, and subject to any other proposal
not approved?            being put forward, it can be expected that the Scheme Companies and the rest
                         of the Quintis Group will go into liquidation.
What other               This Explanatory Statement provides detailed information in relation to the
information is           Scheme proposal that all Scheme Creditors should read.
available?
                         Alternatively, please contact your legal, financial, taxation or other professional
                         advisor.

5       Overview of the Scheme

5.1     Events leading up to voluntary administration and receivership of the Quintis Group
        The Quintis Group commenced a review of its operations and potential restructure opportunities
        to improve its liquidity position during April 2017. On 15 May 2017, Quintis Limited was placed
        into a trading halt and on 17 May 2017 the shares in Quintis Limited were suspended from official
        quotation to allow the Quintis Group to perform a review of its operations and outlook, including
        revision of earnings guidance.
        In June 2017, the Quintis Group failed to lodge accounts with its secured creditors as required
        under the terms of the Original Notes and entered into several forbearance agreements with the
        secured creditors while it sought to agree a recapitalisation proposal.
        In November 2017, Quintis executed a non-binding term sheet for potential recapitalisation with
        new equity investors, however final binding terms could not be agreed by the parties.
        Concurrently, Quintis engaged with a separate consortium of potential investors, including the
        former Managing Director, Frank Wilson. After significant due diligence, the consortium was
        requested to provide equity commitment letters to the Quintis Group and its secured creditors. No
        commitment letters capable of acceptance were received.
        On 19 January 2018, an institutional investor exercised an option to require the Quintis Group to
        acquire 400 hectares of plantations at a pre-determined price of approximately A$37 million with
        a settlement date of 2 February 2018. The Quintis Group did not have the financial capacity to
        make the payment and accordingly, on 20 January 2018 the board of Quintis Limited resolved to
        appoint Richard Tucker, Scott Langdon and John Bumbak of KordaMentha as voluntary
        administrators of Quintis Limited and the other Scheme Companies. As a result of the
        appointment of Administrators, on 23 January 2018 the secured creditors of the Quintis Group
        appointed Jason Preston, Shaun Fraser and Robert Brauer of McGrathNicol as receivers and
        managers of the Scheme Companies.
        Following their appointment, with the support of their appointors, the secured creditors, the
        Receivers have maintained the operations of the Scheme Companies and recommenced the sale
        and recapitalisation process described below.

5.2     Sale and Recapitalisation Process
        Prior to the Receivers' appointment, Quintis had engaged UBS in March 2017 as its sale advisers
        to assess a potential offer received from a consortium linked to Frank Wilson (former Managing
        Director of the Quintis Group) and assist with a sale and recapitalisation process (the Sale and

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      Recapitalisation Process). As part of its role, UBS approached approximately 100 strategic
      parties to assess their level of interest in the Quintis Group. Some level of engagement was
      received from approximately 35 parties. The Sale and Recapitalisation Process continued for
      approximately nine months, however a solvent, 'all of company' sale or recapitalisation of the
      Quintis Group could not be achieved prior to the appointment of the Receivers.
      On 6 February 2018, the Receivers recommenced the Sale and Recapitalisation Process. The
      Receivers engaged Sternship Advisers Pty Ltd (the previous UBS team) to manage the Sale and
      Recapitalisation Process.
      On 6 February 2018, the Receivers placed advertisements in the Australian Financial Review and
      the Australian and on 15 February 2018 in the Financial Times (Asia) requesting urgent
      expressions of interest by 23 February 2018 in relation to the Sale and Recapitalisation Process.
      In addition, the Receivers and Sternship Advisers Pty Ltd proactively reached out to industry
      participants and the parties from the pre-appointment process.
      As part of the Sale and Recapitalisation Process, the Receivers sought indicative offers from
      parties interested in the recapitalisation or purchase of the business and/or assets of the Quintis
      Group either on an all of company or separate assets basis. The Sale and Recapitalisation
      Process was intended to be conducted in two stages, stage 1 (non-binding offers) and stage 2
      (final binding offers).
      Stage 1 of the process ran from 6 February 2018 until 23 March 2018. During stage 1, 104
      strategic parties were identified and contacted. Sixteen expressions of interest were received
      from interested parties. Following completion of stage 1 of the process, six non-binding indicative
      offers were received; a single whole of company proposal and five partial asset or marketing
      proposals. The single whole of company proposal was considered not capable of acceptance by
      the Receivers on the basis that the offer fell short of the secured debt of the secured creditors
      and was not pursued further.
      In the absence of any acceptable 'all of company' or recapitalisation proposals, Sternship
      Advisers Pty Ltd conducted a secondary process for those parties who were interested in specific
      assets of the Quintis Group and all parties who had submitted non-binding indicative proposals in
      stage 1 were given the opportunity to put forward revised proposals. These parties were
      requested to submit non-binding indicative offers by 20 April 2018. Three offers were received
      which were determined by the Receivers to be opportunistic and under valuing the assets of the
      Quintis Group and were therefore not capable of acceptance.

5.3   The Scheme proposal
      Following the unsuccessful Sale and Recapitalisation Process described above, the Receivers
      engaged in further discussions with the secured creditors of the Quintis Group regarding
      alternative options for recapitalisation.
      The outcome of those discussions is a proposed recapitalisation plan for the Quintis Group in the
      form of the Scheme proposal, in conjunction with the DOCA(details of which are set out below in
      section 5.8).
      If the Scheme is implemented, it will bind the Scheme Creditors and the Scheme Companies.
      If you are a Scheme Creditor and you do not vote at the Scheme Meeting, or you voted against
      the Scheme, you will be bound by the Scheme, provided that the Scheme is agreed by the
      requisite majority of creditors and is approved by the Court.
      In addition, the Outgoing Agent and Indenture Trustee, the Incoming Agent and Indenture
      Trustee, the Outgoing Collateral Trustee, the Incoming Collateral Trustee, the Scheme
      Administrators, the Receivers, the Santalis Subsidiaries, Fieldpark Pty Ltd, Quintis (Australia) and
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      Quintis Holdco will each agree to be bound by the terms of the Scheme by executing the relevant
      deed poll to which it is party.

5.4   Overview of the Scheme
      In summary, the Scheme provides for the following:
      (a)     reducing the debt burden of Quintis Limited and the Guarantors to the Scheme Creditors
              by effecting the cancellation and discharge of the Original Notes and exchanging the
              Original Notes for the Second Lien Notes;
      (b)     effecting the release of the obligations and liabilities of the Guarantors under the
              Indenture in respect of the Original Notes
      (c)     releasing certain intercompany debts owed between various Scheme Companies;
      (d)     effecting a release in full of Quintis Limited from its obligations in relation to the Secured
              Debt;
      (e)     effecting the assumption by Quintis (Australia) of Quintis Limited's obligations as
              borrower and security provider under the Finance Documents and New Finance
              Documents;
      (f)     effecting the transfer by Quintis Limited of its shareholdings in the Quintis Subsidiaries to
              Quintis (Australia) and certain of its remaining assets to the newly recapitalised Quintis
              Group;
      (g)     recapitalising the Quintis Subsidiaries, Quintis Holdco and Quintis (Australia) by the
              injection of new capital through the issue by Quintis (Australia) of First Lien Notes;
      (h)     effecting the establishment of Quintis Holdco as the ultimate parent company of the newly
              recapitalised Quintis Group and providing for the issue of shares in Quintis Holdco to
              Equity Noteholders; and
      (i)     providing transactional certainty for all parties in relation to the restructure of the Quintis
              Group.

5.5   Conditions Precedent
      The Scheme is conditional upon, and will have no force or effect until, the satisfaction of each of
      the following conditions precedent:
      (a)     by 8:00am on the date of the Second Court Hearing:
              (i)       (FIRB Approval) FIRB Approval is obtained;
              (ii)      (Regulatory Approvals) all other Regulatory Approvals required to implement
                        the Scheme (if any) are granted or obtained and those Regulatory Approvals are
                        not withdrawn, cancelled or revoked, and each is granted or obtained subject to
                        conditions that Quintis (Australia) reasonably considers to be acceptable;
              (iii)     (Court orders) no Court or Governmental Agency has issued or taken steps to
                        issue an order, temporary restraining order, preliminary or permanent injunction,
                        decree or ruling or taken any action enjoining, restraining or otherwise imposing a
                        legal restraint or prohibition preventing the Scheme and no such order, decree,
                        ruling, other action or refusal is in effect that prohibits, materially restricts, makes
                        illegal or restrains the implementation of the Scheme;
              (iv)      (Scheme Creditors' approval) the Scheme is approved by the Scheme
                        Creditors under section 411(4)(a)(i) of the Corporations Act;


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              (v)       (First Lien Notes Subscription Amount) Quintis (Australia) has received
                        executed counterparts from Participating Noteholders of the Note Subscription
                        and Purchase Agreement which in aggregate subscribe for an amount equal to,
                        or greater than, the Minimum Subscription Amount;
              (vi)      (New Finance Documents) each of the Incoming Agent and the Indenture
                        Trustee and Incoming Collateral Trustee has executed each New Finance
                        Document to which it is party and provided Quintis (Australia) with its executed
                        counterpart of each document; and
              (vii)     (Deeds Poll) each of the Outgoing Agent and Indenture Trustee, the Incoming
                        Agent and Indenture Trustee, the Outgoing Collateral Trustee, the Incoming
                        Collateral Trustee, the Scheme Administrators, the Receivers, the Santalis
                        Subsidiaries, Fieldpark Pty Ltd, Quintis (Australia) and Quintis Holdco has
                        executed the relevant deed poll to which it is party.
      (b)     prior to the commencement of Step One of the Scheme:
              (i)       (Court approval of Scheme) the Scheme is approved by the Court in
                        accordance with section 411(4)(b) (and, if applicable, section 411(6)) of the
                        Corporations Act; and
              (ii)      (DOCA) Completion has occurred under the Deed of Company Arrangement;
      These conditions precedent may not be waived.
      If there is a breach or non-fulfilment of a condition precedent before the Sunset Date or a
      condition precedent becomes incapable of satisfaction, each party to the Scheme, other than a
      party that has caused the breach or non-fulfilment, may serve notice on the other parties, and the
      parties must then consult in good faith with a view to determining whether:
      (a)     the Scheme may proceed by way of alternative means or methods;
      (b)     to extend the relevant time or date for satisfaction of the condition precedent;
      (c)     to change the date of the application to be made to the Court for orders under the
              Corporations Act approving the Scheme or to adjourn that application (as applicable) to
              another date agreed by the parties; or
      (d)     to extend the Sunset Date.
      If the parties are unable to reach agreement by the time required under the Scheme, any party
      may terminate the Scheme by notice in writing to the other parties (provided that the party has not
      contributed to the relevant condition precedent not being satisfied).

5.6   Chapter 15 recognition
      Unless waived by Majority Consent, an Administrator or other authorised representative of the
      Scheme must seek the entry of an order recognising and enforcing the Scheme within the
      territorial jurisdiction of the United States from a United States bankruptcy court of competent
      jurisdiction under chapter 15 of title 11 of the United States Code.
      Neither the implementation nor the effectiveness of the Scheme is conditional on Chapter 15
      recognition being provided.
      If a United States bankruptcy court recognises the Scheme, actions against the Scheme
      Companies or against property of the Scheme Companies in the United States are stayed.
      In the event that the Scheme is approved by the requisite majority of Scheme Creditors and the
      Court but Chapter 15 recognition is either not granted or not sought (as a result of a waiver by
      way of Majority Consent), the restrictions contained in the Indenture and the Collateral Trust
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      Deed will continue to apply and any action of a Scheme Creditor against the Scheme Companies
      would remain subject to these restrictions.

5.7   Sunset Date
      If the Scheme has not been implemented on or before the Sunset Date, the Scheme will lapse
      and be of no further force or effect (and any steps taken under the Scheme will be taken to be of
      no force or effect).

5.8   Deed of Company Arrangement
      The DOCA was proposed by the Receivers following the unsuccessful Sale and Recapitalisation
      Process, as part of the broader recapitalisation proposal for the Quintis Group, which is intended
      to be implemented by way of the inter-conditional Scheme and the DOCA.
      The DOCA is between the Scheme Companies, the Deed Administrators and the Receivers who
      were also the Deed Proponents. The DOCA was approved by creditors on 8 June 2018 and
      executed on 29 June 2018.
      Under the DOCA:
      (a)     unsecured creditors (subject to conditions precedent) will be transferred to a creditors'
              trust and will receive a distribution from a distribution pool of A$2.5 million to be made
              available by the secured creditors of the Quintis Group on Completion; and
      (b)     the funds will be distributed from the creditors' trust to unsecured creditors based on
              classes/pools of unsecured Claims (with employee creditors retaining their statutory
              priority).
      The creditors' trust contribution has been made available by secured creditors to ensure that the
      Quintis Group's unsecured creditors receive a better return than in a liquidation scenario. The
      Deed Administrators concluded in their report under section 439A of the Corporations Act that the
      DOCA provides a better outcome for unsecured creditors than the likely outcome if the Quintis
      Group was placed in liquidation.
      The conditions precedent to the DOCA include:
      (a)     delivery of the signed Receiver Scheme Certificate by the Receivers to the Deed
              Administrators; and
      (b)     execution of the Creditors' Trust Deed which will govern the terms of the creditors' trust.
      The conditions precedent must be satisfied by the Sunset Date, otherwise the Deed
      Administrators will convene a meeting of creditors to determine the future of the Scheme
      Companies. As stated above, if the Scheme has not been implemented on or before the Sunset
      Date, the Scheme will lapse and be of no further force or effect (and any steps taken under the
      Scheme will be taken to be of no force or effect). Accordingly, both the DOCA and the Scheme
      must be implemented by the Sunset Date in order for the recapitalisation of the Quintis Group to
      proceed.
      At completion of the DOCA (which will occur immediately prior to Completion of the Scheme and
      only if the Scheme is ready to be implemented in accordance with its terms), the funds for the
      creditors' trust will be paid to the Trustees to be administered as the Trust Fund under the
      Creditors' Trust Deed and immediately after this occurs, the DOCA will:
      (a)     effectuate and terminate in respect of the Scheme Companies other than Quintis Limited
              and Claims (other than Excluded Claims) of creditors against these companies will be
              replaced by Claims against the creditors' trust; and


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      (b)     will remain in place for Quintis Limited while the Deed Administrators finalise the
              realisation of its remaining assets that are not transferred to the newly recapitalised
              Quintis Group pursuant to the Scheme. The DOCA will terminate in respect of Quintis
              Limited on the later of:
              (i)       12 months from the DOCA Completion Date (or such earlier date notified by the
                        Receivers or the secured creditors of the Quintis Group to the Deed
                        Administrators in writing); and
              (ii)      the Deed Administrators having formed the view that the DOCA is fully
                        effectuated in respect of Quintis Limited and the realisation of its remaining
                        assets has been completed or that as a commercial matter it should not be
                        pursued.
      On and from completion of the DOCA all Claims (other than Excluded Claims) against the
      Scheme Companies will be released and extinguished in full. The Excluded Clams will remain in
      place.
      Quintis (Australia) will also be beneficially entitled to the benefit of all Contracts and Quintis
      Limited will hold each Contract for the benefit of Quintis (Australia) in accordance with the terms
      of the Scheme (and Quintis Limited will appoint Quintis (Australia) as its attorney for the purpose
      of enabling Quintis (Australia) to exercise or refrain from exercising Quintis Limited's rights,
      powers and interests in relation to the Contracts).
      The Deed Administrators' report under section 439A of the Corporations Act provides further
      detail on the impact of the DOCA on various stakeholders of the Quintis Group, including
      unsecured creditors, employees, BC investors, SIO investors, MIS investors and landlords.
      The position of BC investors, SIO investors and MIS investors under the DOCA and the Scheme
      is also discussed in sections 6.5(d), 6.5(e) and 6.5(f) below.
      Importantly, completion of the DOCA will not occur until such time as the Scheme is ready to be
      implemented in accordance with its terms, which will be confirmed by delivery of the Receiver
      Scheme Certificate.

5.9   Existing Debt Capital Structure
      The current structure of the Secured Debt is as follows:
      (a)     Notes on Issue
      Notes                        Face value                       Term

      Original Notes (Senior       USD 250,000,000                  Currently due and payable
      Secured Notes)

      Tranche 1 Super Senior       USD 15,000,000                   Currently due and payable
      Notes

      Tranche 2 Super Senior       USD 15,000,000                   Due 30 September 2018
      Notes
      (b)     Borrower and Security Details
      Borrower                     Security Providers/Guarantors    Security

      Quintis Limited              Each of the Scheme Companies               Real property mortgages
                                   Each of the Santalis                       Fixed and floating charges over the
                                   Subsidiaries                                Australian security providers
                                                                               (subject to certain excluded
                                                                               property)

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       Borrower                     Security Providers/Guarantors      Security

                                                                                 US Security Agreement and
                                                                                  accompanying US Patent Security
                                                                                  Agreement and US Trademark
                                                                                  Security Agreement (subject to
                                                                                  certain excluded property)

       Further details of the terms governing the current Notes on issue and the existing security are
       contained in the Finance Documents.

5.10   Proposed New Debt Capital Structure
       On implementation of the Scheme, the new debt capital structure of the Quintis Group would be
       as described below.
       (a)       The First Lien Indenture
       The First Lien Notes will be issued subject to and in accordance with the First Lien Indenture.
       Below is a summary of certain of the provisions contained in the First Lien Indenture. You are
       urged to read the First Lien Indenture (set out Schedule 3), in full to understand the terms of the
       First Lien Notes. In the event of any inconsistency between the First Lien Indenture and the
       summary below, the First Lien Indenture prevails.
       All capitalised terms as defined in the First Lien Indenture.
        Issuer                            Quintis (Australia) Pty Limited

        Subsidiary Guarantors (New        Arwon Finance Pty Limited
        Guarantors)                       Australian Sandalwood Oil Co. Pty Limited
                                          MT Romance Australia Pty Limited
                                          MT Romance Holdings Pty Limited
                                          Quintis Leasing Pty Limited
                                          Sandalwood Properties Limited
                                          Quintus Forestry Limited
                                          Fieldpark Pty Ltd
                                          Santalis Healthcare Inc.
                                          Santalis Pharmaceuticals Inc.
        Principal Amount                  up to US$156,000,000

        Maturity Date                     October, 2026

        Interest Rate                     Option (in the Issuer’s discretion to be exercised in connection with
                                          each interest payment) to pay interest in kind or in cash in years one
                                          through six at a rate of 7.5% per annum if paid in cash and 8.0% per
                                          annum if paid in kind, and to be paid in cash at 7.5% per annum in
                                          years seven and eight.

        Interest Payment Dates            Payable/capitalized semi-annually in arrears on interest payment dates
                                          to be agreed. Interest to be payable on a 360-day year with twelve 30-
                                          day months.

        Form and Denomination             The First Lien Notes will be issued in registered form in minimal
                                          denominations of US$1,000 and integral multiple of US$1,000 in
                                          excess thereof, with any PIK payments in integral multiples of US$1.00.

        Ranking of the First Lien Notes   The First Lien Notes will:

                                             be general obligations of the Issuer;
                                             be secured by liens over any collateral subject to the Collateral
                                              Trust Deed;
                                             be senior to the Second Lien Notes and any other existing and
                                              future Second Lien Pari Passu Debt with respect to proceeds of

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                                              collateral as set forth in the Indentures and the Collateral Trust
                                              Deed, except with respect to proceeds of certain Plantation Sales;
                                             rank pari passu in right of payment with any and all of the Issuer’s
                                              existing and future indebtedness that is not subordinated in right of
                                              payment to the First Lien Notes; and
                                             rank senior in right of payment to any and all of the Issuer's
                                              existing and future indebtedness that is subordinated in right of
                                              payment to the First Lien Notes.
      Ranking of the First Lien Notes   Each of the guarantees provided by the Subsidiary Guarantors with
      Guarantees                        respect to the First Lien Notes will:
                                             be a general obligation of the relevant Subsidiary Guarantor;
                                             be secured by liens over collateral subject to the Collateral Trust
                                              Deed;
                                             be senior to the guarantees of the Second Lien Notes and
                                              guarantees of any other existing and future Second Lien Pari
                                              Passu Debt with respect to proceeds of collateral as set forth in the
                                              Indentures and the Collateral Trust Deed, except with respect to
                                              proceeds of certain Plantation Sales;
                                             rank pari passu in right of payment with any and all of the relevant
                                              Subsidiary Guarantor’s existing and future indebtedness and
                                              obligations that are not subordinated in right of payment to such
                                              Subsidiary Guarantor’s guarantee; and
                                             rank senior in right of payment to any and all of the relevant
                                              Subsidiary Guarantor’s existing and future indebtedness that is
                                              subordinated in right of payment to its guarantee of the First Lien
                                              Notes.
      Collateral                        The First Lien Notes and the guarantees provided by the Subsidiary
                                        Guarantors with respect to the First Lien Notes will be secured by
                                        substantially all assets of the Issuer and the Subsidiary Guarantors to
                                        the extent provided under the Security Documents and subject to the
                                        Collateral Trust Deed.

      Amended Collateral Trust Deed     The First Lien Indenture will be subject to the terms of the Collateral
                                        Trust Deed, and the rights and benefits of the holders of the First Lien
                                        Notes will be limited accordingly and subject to the terms of the
                                        Collateral Trust Deed.

      Optional Redemption               The Issuer may not redeem any of the First Lien Notes at any time prior
                                        to October, 2021.
                                        On or after October, 2021 and prior to the Maturity Date, the Issuer
                                        may redeem all or a portion of the First Lien Notes, at its option, upon
                                        not less than 30 nor more than 60 days’ prior notice. These
                                        redemptions will be in amounts of US$1,000 or integral multiples
                                        thereof (or if the Issuer pays PIK Interest with PIK Notes, in
                                        denominations of US$1.00 and any integral multiple of US$1.00 in
                                        excess thereof with respect to a PIK Note or the portion of a Global
                                        Note constituting PIK Interest) at the following Redemption Prices
                                        (expressed as percentages of the aggregate principal amount at the
                                        Maturity Date), plus accrued and unpaid interest, if any, to, but
                                        excluding, the redemption date, if redeemed during the 12-month
                                        period commencing on October of the years set forth below:

                                            Year           Redemption Price

                                            2021                    105.625%

                                            2022                    103.375%

                                            2023                    101.875%




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                                           2024 and               100%
                                           thereafter


                                     In addition, at any time prior to October, 2021, the Issuer may redeem
                                     on one or more occasions, at its option, First Lien Notes in an
                                     aggregate principal amount not to exceed 35% of the original
                                     aggregate principal amount of the First Lien Notes (calculated after
                                     giving effect to any issuance of PIK Notes and additional First Lien
                                     Notes), at a redemption price equal to 100% of the principal amount
                                     thereof, plus accrued and unpaid interest to, but excluding, the
                                     redemption date, subject to the rights of Holders on the relevant record
                                     date to receive interest due on the relevant Interest Payment Date, with
                                     the Net Offering Proceeds from one or more Equity Offerings; provided
                                     that:
                                     (1)         at least 65% of such original aggregate principal amount of
                                                 First Lien Notes (calculated after giving effect to any issuance
                                                 of PIK Notes and additional First Lien Notes) remains
                                                 outstanding immediately after the occurrence of each such
                                                 redemption (any First Lien Notes held by the Issuer, Holdco
                                                 or any of its subsidiaries will not be deemed to be outstanding
                                                 for purposes of this clause (1)); and
                                     (2)         each such redemption occurs within 90 days after the date of
                                                 the closing of such equity offering.
      Mandatory Redemption           In addition, notwithstanding anything to the contrary, if, at any time
                                     prior to the later of (x) April, 2024 or (y) the Issuer has elected or is
                                     otherwise required to make all future payments of interest on the First
                                     Lien Notes in cash, the Issuer or a Subsidiary Guarantor enters into
                                     one or more Plantation Sales, the Issuer shall use the net cash
                                     proceeds of such Plantation Sales to redeem on one or more
                                     occasions, First Lien Notes at a redemption price equal to 100% of the
                                     principal amount thereof, plus accrued and unpaid interest to, but
                                     excluding, the redemption date; provided that certain conditions set
                                     forth in the First Lien Indenture are met. For purposes of this section,
                                     the defined term “Plantation Sale” shall mean any sale of assets of or
                                     relating to the disposition of agricultural land, biological assets (as such
                                     term is used under IFRS) or a commitment to create and/or manage
                                     future biological assets.

                                     If the Issuer or a Subsidiary Guarantor enters into one or more
                                     Plantation Sales involving the sale of land by the Issuer or a Subsidiary
                                     Guarantor (each, a “Plantation Sale—Owned”), the Issuer or Subsidiary
                                     Guarantor shall use an amount equal to 35% of the net cash proceeds
                                     of such Plantation Sale—Owned to redeem on one or more occasions,
                                     First Lien Notes at a redemption price equal to 100% of the principal
                                     amount thereof, plus accrued and unpaid interest to, but excluding, the
                                     redemption date.

                                     If the Issuer or a Subsidiary Guarantor enters into one or more
                                     Plantation Sales not involving the sale of land by the Issuer or a
                                     Subsidiary Guarantor (each, a “Plantation Sale—Leased”), the Issuer
                                     or Subsidiary Guarantor shall not use any amount of the Net Cash
                                     Proceeds of such Plantation Sale—Leased to redeem Notes for so
                                     long as any Second Lien Obligations are outstanding.

      Change of Control              In the event of a change of control, then the Issuer must make an offer
                                     to each Holder to purchase such Holder’s First Lien Notes in whole or
                                     in part in integral multiples of US$1,000 (or if a PIK Payment has been
                                     made, in denominations of US$1.00 and any integral multiple of
                                     US$1.00 in excess thereof with respect to a PIK Note or the portion of
                                     a Global Note constituting PIK Interest), at the change of control
                                     purchase price in cash in an amount equal to 101% of the principal
                                     amount thereof, plus accrued and unpaid interest, if any, to, but


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                                        excluding, the date of the change of control.

      Certain Covenants                 The First Lien Indenture will contain covenants that restrict the ability of
                                        the Issuer and the Restricted Subsidiaries to:

                                           incur or guarantee additional indebtedness;
                                           create or incur certain liens;
                                           pay dividends, repurchase stock, and make distributions and
                                            certain other payments and investments;
                                           enter into certain transactions with affiliates;
                                           transfer or sell assets;
                                           engage in certain activities;
                                           impair security interests;
                                           agree to restrictions on dividends by subsidiaries; and
                                           merge or consolidate with certain other entities,
                                           among others. Each of these covenants (and those not mentioned)
                                            is subject to significant exceptions and qualifications.
      Transfer Restrictions             The First Lien Notes and the guarantees provided by the Subsidiary
                                        Guarantors with respect to the First Lien Notes have not been, and will
                                        not be, registered under the Securities Act or the securities laws of any
                                        other jurisdiction, and are subject to restrictions on transferability and
                                        resale.

      Listing                           The First Lien Notes will not be listed on any exchange. The Issuer
                                        cannot guarantee that a public market will ever develop for the First
                                        Lien Notes

      Governing Law                     New York law

      Trustee and Security Agent        Incoming Agent and Indenture Trustee

      Principal Paying Agent            Incoming Agent and Indenture Trustee


     (b)        Second Lien Indenture
     The Second Lien Notes will be issued subject to and in accordance with the Second Lien
     Indenture. Below is a summary of certain of the provisions contained in the Second Lien
     Indenture. You are urged to read the Second Lien Indenture (set out in Schedule 4) in full to
     understand the terms of the Second Lien Notes. In the event of any inconsistency between the
     Second Lien Indenture and the summary below, the Second Lien Indenture prevails.
     Capitalised terms as set out in the Second Lien Indenture.
      Issuer                            Quintis (Australia) Pty Limited

      Subsidiary Guarantors (New        Arwon Finance Pty Limited
      Guarantors)                       Australian Sandalwood Oil Co. Pty Limited
                                        MT Romance Australia Pty Limited
                                        MT Romance Holdings Pty Limited
                                        Quintis Leasing Pty Limited
                                        Sandalwood Properties Limited
                                        Quintus Forestry Limited
                                        Fieldpark Pty Ltd
                                        Santalis Healthcare Inc.
                                        Santalis Pharmaceuticals Inc.

      Principal Amount                  US$185,000,000

      Maturity Date                     October, 2028

      Interest Rate                     For the first 5 years the Second Lien Notes do not accrue interest.


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                                       Option (in the Issuer’s discretion to be exercised in connection with
                                       each interest payment) to pay interest in kind or in cash in years six
                                       through eight at a rate of 12.0% per annum if paid in cash or if paid in
                                       kind, and to be paid in cash at 12.0% per annum in years nine and ten.

      Interest Payment Dates           Payable/capitalized semi-annually in arrears on interest payment dates
                                       to be agreed. Interest to be payable on a 360-day year with twelve 30-
                                       day months.

      Form and Denomination            The Second Lien Notes will be issued in registered form in minimal
                                       denominations of US$1,000 and integral multiples of US$1,000 in
                                       excess thereof, with any PIK payments in integral multiples of US$1.00.

      Ranking of the Second Lien       The Second Lien Notes will:
      Notes
                                          be general obligations of the Issuer;
                                          be secured by liens over any collateral subject to the Collateral
                                           Trust Deed;
                                          rank pari passu in right of payment with any and all of the Issuer’s
                                           existing and future indebtedness that is not subordinated in right of
                                           payment to the Second Lien Notes;
                                          be subordinate to the First Lien Notes and any other existing and
                                           future First Lien Pari Passu Debt with respect to proceeds of
                                           collateral as set forth in the Indentures and the Collateral Trust
                                           Deed, except with respect to proceeds of certain Plantation Sales;
                                           and
                                          rank senior in right of payment to any and all of the Issuer's
                                           existing and future indebtedness that is subordinated in right of
                                           payment to the Second Lien Notes.
      Ranking of the Second Lien       Each of the guarantees provided by the Subsidiary Guarantors with
      Notes Guarantees                 respect to the Second Lien Notes will:
                                          be a general obligation of the relevant Subsidiary Guarantor;
                                          be secured by liens over collateral subject to the Collateral Trust
                                           Deed;
                                          rank pari passu in right of payment with any and all of the relevant
                                           Subsidiary Guarantor’s existing and future indebtedness and
                                           obligations that are not subordinated in right of payment to such
                                           Subsidiary Guarantor’s guarantee;
                                          be subordinate to the guarantees of the First Lien Notes and the
                                           guarantees of any other existing and future First Lien Pari Passu
                                           Debt with respect to proceeds of collateral as set forth in the
                                           Indentures and the Collateral Trust Deed, except with respect to
                                           proceeds of certain Plantation Sales; and
                                          rank senior in right of payment to any and all of the relevant
                                           Subsidiary Guarantor’s existing and future indebtedness that is
                                           subordinated in right of payment to its guarantee of the Second
                                           Lien Notes.
      Collateral                       The Second Lien Notes and the guarantees provided by the Subsidiary
                                       Guarantors with respect to the Second Lien Notes will be secured by
                                       substantially all assets of the Issuer and the Subsidiary Guarantors to
                                       the extent provided under the Security Documents and subject to the
                                       Collateral Trust Deed.

      Amended Collateral Trust Deed    The Second Lien Indenture will be subject to the terms of the Collateral
                                       Trust Deed, and the rights and benefits of the holders of the Second
                                       Lien Notes will be limited accordingly and subject to the terms of the
                                       Collateral Trust Deed.

      Optional Redemption              On or after the Issue Date and prior to October, 2023, the Issuer may
                                       redeem all or a portion of the Notes, at its option, upon not less than 30
                                       nor more than 60 days’ prior notice. These redemptions will be in
                                       amounts of US$1,000 or integral multiples thereof in an aggregate

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                                principal amount of not less than US$10,000,000 at the following
                                Redemption Prices (expressed as percentages of the aggregate
                                principal amount at Maturity), plus accrued and unpaid interest, if any,
                                to, but excluding, the Redemption Date, if redeemed during the 12-
                                month period commencing on the Issue Date and, thereafter, on
                                October of the years set forth below. The Issuer may not redeem any
                                of the Notes from OCtober, 2023 to October 2024.

                                  Year               Redemption Price

                                      2018                    90%

                                      2019                    92%

                                      2020                    94%

                                      2021                    96%

                                      2022                    98%

                                      2023                    100%

                                On or after October, 2024 and prior to the Maturity Date, the Issuer
                                may redeem all or a portion of the Second Lien Notes, at its option,
                                upon not less than 30 nor more than 60 days’ prior notice. These
                                redemptions will be in amounts of US$1,000 or integral multiples
                                thereof (or if the Issuer pays PIK Interest with PIK Notes, in
                                denominations of US$1.00 and any integral multiple of US$1.00 in
                                excess thereof with respect to a PIK Note or the portion of a Global
                                Note constituting PIK Interest) at the following Redemption Prices
                                (expressed as percentages of the aggregate principal amount at the
                                Maturity Date), plus accrued and unpaid interest, if any, to, but
                                excluding, the redemption date, if redeemed during the 12-month
                                period commencing on October of the years set forth below:

                                  Year               Redemption Price

                                      2024                    109%

                                      2025                    106%

                                      2026                    103%

                                      2027            and     100% thereafter

                                In addition, at any time prior to October, 2024, the Issuer may redeem
                                on one or more occasions, at its option, Second Lien Notes in an
                                aggregate principal amount not to exceed 35% of the original
                                aggregate principal amount of the Second Lien Notes (calculated after
                                giving effect to any issuance of PIK Notes and additional Second Lien
                                Notes), at a redemption price equal to 100% of the principal amount
                                thereof, plus accrued and unpaid interest to, but excluding, the
                                redemption date, subject to the rights of Holders on the relevant record
                                date to receive interest due on the relevant Interest Payment Date, with
                                the Net Offering Proceeds from one or more Equity Offerings; provided
                                that:
                                (1)          at least 65% of such original aggregate principal amount of
                                             Second Lien Notes (calculated after giving effect to any
                                             issuance of PIK Notes and additional Second Lien Notes)
                                             remains outstanding immediately after the Second Lien Notes
                                             held by the Issuer, Holdco or any of its subsidiaries will not be
                                             deemed to be outstanding for purposes of this clause (1));
                                             and

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                                      (2)       each such redemption occurs within 90 days after the date of
                                                the closing of such equity offering.
      Mandatory Redemption            In addition, notwithstanding anything to the contrary, if, at any time
                                      prior to the later of (x) April, 2024 or (y) the Issuer has elected or is
                                      otherwise required to make all future payments of interest on the
                                      Second Lien Notes in cash, the Issuer or a Subsidiary Guarantor
                                      enters into one or more Plantation Sales, the Issuer shall use the net
                                      cash proceeds of such Plantation Sales to redeem on one or more
                                      occasions, Second Lien Notes at a redemption price equal to 100% of
                                      the principal amount thereof, plus accrued and unpaid interest to, but
                                      excluding, the redemption date; provided that certain conditions set
                                      forth in the Second Lien Indenture are met. For purposes of this
                                      section, the defined term “Plantation Sale” shall mean any sale of
                                      assets of or relating to the disposition of agricultural land, biological
                                      assets (as such term is used under IFRS) or a commitment to create
                                      and/or manage future biological assets.

                                      If the Issuer or a Subsidiary Guarantor enters into one or more
                                      Plantation Sales involving the sale of land by the Issuer or a Subsidiary
                                      Guarantor (each, a “Plantation Sale—Owned”), the Issuer or Subsidiary
                                      Guarantor shall use an amount equal to 65% of the net cash proceeds
                                      of such Plantation Sale—Owned to redeem on one or more occasions,
                                      Second Lien Notes at a redemption price equal to 100% of the
                                      principal amount thereof, plus accrued and unpaid interest to, but
                                      excluding, the redemption date.

                                      If the Issuer or a Subsidiary Guarantor enters into one or more
                                      Plantation Sales not involving the sale of land by the Issuer or a
                                      Subsidiary Guarantor (each, a “Plantation Sale—Leased”), the Issuer
                                      or Subsidiary Guarantor shall use an amount equal to 100% of the net
                                      cash proceeds of such Plantation Sale—Leased to redeem on one or
                                      more occasions, Second Lien Notes at a redemption price equal to
                                      100% of the principal amount thereof, plus accrued and unpaid interest
                                      to, but excluding, the redemption date.

      Change of Control               In the event of a change of control, then the Issuer must make an offer
                                      to each Holder to purchase such Holder’s Second Lien Notes in whole
                                      or in part in integral multiples of US$1,000 (or if a PIK Payment has
                                      been made, in denominations of US$1.00 and any integral multiple of
                                      US$1.00 in excess thereof with respect to a PIK Note or the portion of
                                      a Global Note constituting PIK Interest), at the change of control
                                      purchase price in cash in an amount equal to 101% of the principal
                                      amount thereof, plus accrued and unpaid interest, if any, to, but
                                      excluding, the date of the change of control.

      Certain Covenants               The Second Lien Indenture will contain covenants that restrict the
                                      ability of the Issuer and the Restricted Subsidiaries to:
                                           incur or guarantee additional indebtedness;
                                           create or incur certain liens;
                                           pay dividends, repurchase stock, and make distributions and
                                            certain other payments and investments;
                                           enter into certain transactions with affiliates;
                                           transfer or sell assets;
                                           engage in certain activities;
                                           impair security interests;
                                           agree to restrictions on dividends by subsidiaries; and
                                           merge or consolidate with certain other entities,
                                           among others. Each of these covenants (and those not mentioned)
                                            is subject to significant exceptions and qualifications.

      Transfer Restrictions           The Second Lien Notes and the guarantees provided by the Subsidiary
                                      Guarantors with respect to the Second Lien Notes have not been, and
                                      will not be, registered under the Securities Act or the securities laws of
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                                            any other jurisdiction, and are subject to restrictions on transferability
                                            and resale.

        Listing                             The Second Lien Notes will not be listed on any exchange. The Issuer
                                            cannot guarantee that a public market will ever develop for the Second
                                            Lien Notes.

        Governing Law                       New York law

        Trustee and Security Agent          Incoming Agent and Indenture Trustee

        Principal Paying Agent              Incoming Agent and Indenture Trustee


       Further details of the terms governing the Second Lien Notes and First Lien Notes and the
       Existing Security (as amended by the Scheme) are contained in the New Finance Documents,
       including the First Lien Indenture contained at Schedule 3, Second Lien Indenture contained at
       Schedule 4, Amended Collateral Trust Deed contained at Schedule 5 and Note Subscription and
       Purchase Agreement contained at Schedule 6.
       The Security will be transferred by the Outgoing Collateral Trustee and all registrations applicable
       to the Security, to the Incoming Collateral Trustee for the Incoming Collateral Trustee to hold
       pursuant to the Amended Collateral Trust Deed for the purpose of securing amounts owing under
       the New Finance Documents.

5.11   Scheme Steps and Implementation
       Capitalised terms used in this section and not defined in the Glossary have the meaning given to
       them in the Scheme.
       In summary, implementation of the Scheme will be undertaken by nine Steps.
       Unless specified otherwise in the Scheme, each Step will not begin until the preceding Steps
       have been completed. Further, Step Three cannot be commenced unless the Scheme
       Administrators are satisfied that Steps Three to Six (inclusive) will be completed on the same day.
       The Steps are summarised below. Scheme Creditors should read the Scheme in its entirety to
       ensure they fully understand the action being undertaken pursuant to each Step.
       The following Steps will occur in the following order at the times specified in the Scheme.
       (a)        Step One (Scheme Administrators' calculations and tables):
                  (i)       On the Business Day before the Completion Date, the Scheme Administrators will
                            produce tables showing the calculations for the equity and debt capital
                            restructures that are proposed to take place pursuant to the Scheme, including:
                            (A)    the amount of Second Lien Notes to be issued to each Scheme Creditor
                                   or, if applicable, the amount of Second Lien Notes the Scheme Creditor
                                   would have been entitled to receive had it provided the US Securities
                                   Representation to Quintis (Australia), Quintis Holdco and the New
                                   Guarantors by the Effective Date;
                            (B)    the amount of First Lien Notes to be issued to the Scheme Creditor by
                                   way of application of part repayment of the Original Notes in payment of
                                   the subscription price for First Lien Notes for an equivalent amount or, if
                                   applicable, the amount of First Lien Notes the Scheme Creditor would
                                   have been entitled to receive had it provided the US Securities
                                   Representation to Quintis (Australia), Quintis Holdco and the New
                                   Guarantors by the Effective Date;
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                        (C)     in respect of each Scheme Creditor who is a Participating Noteholder, the
                                amount of First Lien Notes to be issued to it pursuant to the Note
                                Subscription and Purchase Agreement or, if applicable, the amount that
                                would have been owed had the Scheme Creditor provided the US
                                Securities Representation to Quintis (Australia), Quintis Holdco and the
                                New Guarantors by the Effective Date; and
                        (D)     the number of shares in Quintis Holdco to be issued to each Equity
                                Holder or, if applicable, the number of shares in Quintis Holdco the Equity
                                Holder would have been entitled to receive had it provided the US
                                Securities Representation to Quintis (Australia), Quintis Holdco and the
                                New Guarantors.
     (b)      Step Two (release of intercompany debt): Each Scheme Company will release each
              other Scheme Company from all Intercompany Claims owed to it by the other Scheme
              Company.
     (c)      Step Three (partial repayment and exchange of Original Notes for Second Lien
              Notes and assignment of Security):
              (i)       in relation to the Original Notes:
                        (A)     US$10 million of the outstanding amount of the Original Notes is taken (at
                                the time when Step Seven occurs) to be repaid by way of application of
                                that amount by the Scheme Creditors, on a pro rata basis across all
                                Original Notes, in payment of the subscription price for the First Lien
                                Notes for an equivalent amount;
                        (B)     the remaining Original Notes will be cancelled and exchanged for the
                                Second Lien Notes, with the reduction in the total amount owed by the
                                Scheme Companies under the Original Notes to be:
                                (1)      applied on a pro rata basis across all the remaining Original
                                         Notes; and
                                (2)      applied first in respect of accrued interest and costs before being
                                         applied in respect of outstanding principal;
                        (C)     the Guarantors will be released from their obligations and liabilities, and
                                will cease to have any rights, under the Indenture in respect of the
                                Original Notes; and
                        (D)     the Scheme Companies will be liable in respect of the Second Lien Notes
                                in accordance with their terms.
              (ii)      Scheme Creditors who do not provide the US Securities Representation to
                        Quintis (Australia), Quintis Holdco and the New Guarantors by the Effective Date
                        will not be entitled to receive Second Lien Notes or First Lien Notes and may
                        instead be entitled to receive the Cash Payment;
              (iii)     the Second Lien Indenture, Amended Collateral Trust Deed, US Pledge
                        Agreement, US IP Security Agreement and US Security Agreement will each take
                        effect in accordance with its terms; and
              (iv)      the Security will be transferred by the Outgoing Collateral Trustee and all
                        registrations applicable to the Security, to the Incoming Collateral Trustee for the
                        Incoming Collateral Trustee to hold pursuant to the Amended Collateral Trust


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                        Deed for the purpose of securing amounts owing under the New Finance
                        Documents.
     (d)      Step Four (transfer of shares currently on issue and share issues to Equity
              Noteholders by Quintis Holdco):
              (i)       The shares currently on issue in Quintis Holdco will be transferred to the two
                        Equity Noteholders which will have the largest shareholdings in Quintis Holdco
                        following completion of this Step;
              (ii)      Quintis Holdco will allot and issue to each Equity Noteholder one fully paid
                        ordinary share in the capital of the company for each US$1 of reduction in the
                        total debt owed to each Equity Noteholder effected by the Scheme (the share
                        issue entitlement of the Equity Noteholders to which shares were transferred
                        pursuant to (i) will be reduced by one share); and
              (iii)     A Scheme Creditor will not be issued any shares under this Step unless it has
                        entered into the Shareholders' Agreement by the Completion Date and provided
                        the US Securities Representation to Quintis (Australia), Quintis Holdco and the
                        New Guarantors by the Effective Date. A Scheme Creditor who does not provide
                        the US Securities Representation to Quintis (Australia), Quintis Holdco and the
                        New Guarantors by the Effective Date may be entitled to receive the Cash
                        Payment in lieu of its entitlement to shares in Quintis Holdco under the Scheme;
                        and
              (iv)      The Shareholders' Agreement will take effect in accordance with its terms.
     (e)      Step Five (transfer of Quintis Subsidiaries and other assets):
              (i)       Quintis Limited will transfer to Quintis (Australia) the shares which it holds in each
                        of the Quintis Subsidiaries, in consideration of the releases to be provided by the
                        Scheme Creditors pursuant to Step Six;
              (ii)      Quintis Limited must transfer to Quintis (Australia) all of its assets and
                        undertaking other than the Listing Proceeds including, but not limited to, the
                        following assets and undertaking:
                        (A)     any units in trusts held by Quintis Limited;
                        (B)     all of Quintis Limited's rights or powers in relation to, or in connection
                                with, its right, title and interest in any Tax Refunds that it successfully
                                claims (and Quintis Limited must claim any Tax Refunds as directed by
                                Quintis (Australia));
                        (C)     all of Quintis Limited's rights or powers in relation to, or in connection
                                with, its right, title and interest in any loans owed to it by any person that
                                is not released under the DOCA or the Scheme, including all loans owed
                                to Quintis Limited by SPL. The terms of all loans owed to Quintis Limited
                                by SPL transferred to Quintis (Australia) under this Step will be taken to
                                be amended such that they are on the Subordination Terms and the
                                terms of any new loans made by Quintis (Australia) to SPL following
                                implementation of the Scheme (which Quintis (Australia) may elect to
                                advance in its absolute discretion if requested by SPL) will be on the
                                Subordination Terms;
                        (D)     to the extent that they have not already been novated, all of Quintis
                                Limited's rights or powers in relation to, or in connection with, its right, title
                                and interest in the Contracts;
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                        (E)     all claims or causes of action that are capable of being assigned,
                                including any causes of action which Quintis Limited may have against
                                any of its directors or officers or former directors or former officers; and
                        (F)     any cash held by Quintis Limited.
     (f)      Step Six (assumption by Quintis (Australia) of Quintis Limited's obligations under
              Finance Documents, giving of security by Quintis (Australia) and Fieldpark Pty Ltd
              and release of Quintis Limited):
              (i)       Quintis (Australia) will assume all of Quintis Limited's rights, obligations and
                        liability under the Indenture in respect of the Original Notes, under the Note
                        Agreement and Guaranty in respect of the Tranche 1 Super Senior Notes and the
                        Second Note Agreement and Guaranty in respect of the Tranche 2 Super Senior
                        Notes as if it had been Quintis Limited and entered into the Indenture and issued
                        those notes instead of Quintis Limited and Quintis Limited will cease to have
                        those rights and will be released from those obligations and liabilities and those
                        agreements will apply with Quintis (Australia) as a party in place of Quintis
                        Limited;
              (ii)      Each of Quintis (Australia) and Fieldpark Pty Ltd will accede to the Fixed and
                        Floating Charge;
              (iii)     Each of Quintis (Australia) and Fieldpark Pty Ltd will accede to the Collateral
                        Trust Deed;
              (iv)      Quintis Limited will cease to be a party under any of the Finance Documents and
                        cease to have any rights or obligations under them or be bound by them;
              (v)       All Security granted by Quintis Limited will be discharged and released;
              (vi)      Quintis Limited will cease to have any power of attorney or authorisation under
                        any of the Finance Documents, and will waive any such right power or
                        authorisation;
              (vii)     The Outgoing Agent and Indenture Trustee, Outgoing Collateral Trustee and
                        Scheme Creditors will cease to have any power of attorney or authorisation to act
                        on behalf of Quintis Limited under any of the Finance Documents;
              (viii)    Each Scheme Creditor will not seek or act upon any agreement, consent,
                        approval or notice, certificate, or request, made or given by Quintis Limited after
                        completion of Step Six;
              (ix)      The Scheme Creditors, the Outgoing Agent and Indenture Trustee, the Outgoing
                        Collateral Trustee and each Guarantor on the one part and Quintis Limited on the
                        other, will release each other from all obligations and liability to each other and all
                        Claims (whether present or future) under or in respect of the Finance Documents
                        except in relation to a breach of the Scheme;
              (x)       The Outgoing Collateral Trustee will execute a PPS release, pursuant to which
                        Security granted by SPL will be released, except in relation to any land or
                        buildings owned or leased by SPL; and
              (xi)      SPL will agree that it will pay to Quintis (Australia) all realisations from the asset
                        represented by the Accrued Income line item in the Balance Sheet of SPL for the
                        financial year ending 30 June 2018 (but no subsequent financial years), as and
                        when the realisations are made.


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     (g)      Step Seven (funding and issue of First Lien Notes and repayment of Tranche 1
              Super Senior Notes and Tranche 2 Super Senior Notes):
              (i)       The First Lien Indenture will take effect in accordance with its terms.
              (ii)      Each Scheme Creditor will be taken to have paid to Quintis (Australia) its pro rata
                        share of US$10 million of the remaining outstanding amount of the Original Notes
                        towards the subscription price for the First Lien Notes pursuant to Step Three;
              (iii)     Quintis (Australia) shall confirm in writing to the Scheme Administrators that each
                        New Finance Document has taken effect in accordance with its terms (including
                        all conditions precedent to each New Finance Document having been satisfied or
                        waived in accordance with the terms of that document);
              (iv)      Following the matters in sub paragraphs (i), (ii) and (iii) occurring, each
                        Participating Noteholder will make a payment to Quintis (Australia) of an amount
                        equal to that Participating Noteholder's share of First Lien Notes as calculated by
                        the Scheme Administrators in Step One by:
                        (A)     payment of that amount in cleared funds into the account notified by
                                Quintis (Australia) to the Incoming Agent and Indenture Trustee in writing;
                                and/or
                        (B)     where a Participating Noteholder (who is also a Super Senior Noteholder)
                                has prior to the Completion Date given Quintis (Australia) written notice
                                that it will pay all or part of its subscription amount for First Lien Notes by
                                way of application in full or part repayment of its Tranche 1 Super Senior
                                Notes or Tranche 2 Super Senior Notes (as applicable), which a
                                Participating Noteholder may elect to do in its absolute discretion,
                                effecting the repayment and providing evidence of the repayment to
                                Quintis (Australia).
              (v)       Quintis (Australia) will confirm to the Incoming Agent and Indenture Trustee and
                        Scheme Administrators as soon as practicable whether payment has been
                        received from each Participating Noteholder in an amount equal to that
                        Participating Noteholder's share of First Lien Notes and concurrently with such
                        confirmation:
                        (A)     the aggregate payments made by Participating Noteholders pursuant to
                                sub paragraph (iv) above shall be taken to have been paid by the
                                Participating Noteholders to Quintis (Australia) in satisfaction of the
                                subscription price of the First Lien Notes under the Note Subscription and
                                Purchase Agreement; and
                        (B)     The First Lien Notes shall be taken to have been issued to:
                                (1)     each Scheme Creditor who has provided the US Securities
                                        Representation to Quintis (Australia), Quintis Holdco and the
                                        New Guarantors but has not entered into the Note Subscription
                                        and Purchase Agreement, in a number equivalent to the First
                                        Lien Notes to which that Scheme Creditor is entitled pursuant to
                                        Step Three above; and
                                (2)     the Participating Noteholders in a number equivalent to the
                                        payments made or taken to have been made by Participating
                                        Noteholders pursuant to sub paragraph (iv) above;


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              (vi)    Immediately following the matters referred to in sub-paragraphs (i) to (v) above
                      occurring, Quintis (Australia) shall apply the funds received from the issue of the
                      First Lien Notes as follows:
                      (A)     first, in relation to the Tranche 1 Super Senior Notes and the Tranche 2
                              Super Senior Notes as follows:
                              (1)     to the extent the Tranche 1 Super Senior Notes have not been, or
                                      will not be, repaid in accordance with Step Seven, in full
                                      repayment of the Tranche 1 Super Senior Notes (including
                                      outstanding principal and interest accrued through to and
                                      including the Completion Date); and
                              (2)     to the extent the Tranche 2 Super Senior Notes have not been, or
                                      will not be, repaid in accordance with Step Seven, in full
                                      repayment of the Tranche 2 Super Senior Notes (including
                                      outstanding principal and interest accrued through to and
                                      including the Completion Date); and
                      (B)     second, by way of provisional application in payment of the Cash
                              Payment to each applicable to Scheme Creditor in accordance with, and
                              subject to the conditions set out in, sub paragraph (vii).
              (vii)   A Scheme Creditor who does not provide the US Securities Representation to
                      Quintis (Australia), Quintis Holdco and the New Guarantors by the Effective Date
                      will not be eligible to receive any Second Lien Notes, First Lien Notes or shares in
                      Quintis Holdco. In relation to each such Scheme Creditor:
                      (A)     the Scheme Creditor may be entitled to receive the Cash Payment in lieu
                              of Second Lien Notes and/or First Lien Notes and/or shares in Quintis
                              Holdco (as applicable) to which it otherwise would be entitled pursuant to
                              the Scheme, if it satisfies the requirements prescribed by sub paragraph
                              (B);
                      (B)     the Scheme Creditor will have a period of 12 months from the Effective
                              Date to claim the Cash Payment from Quintis (Australia) by providing
                              Quintis (Australia) with evidence to Quintis (Australia)'s reasonable
                              satisfaction of it having been a holder of Original Notes as at the Effective
                              Date;
                      (C)     if the Scheme Creditor successfully makes a claim and provides
                              satisfactory evidence within those 12 months, Quintis (Australia) will
                              make the Cash Payment to the Scheme Creditor at a time determined by
                              Quintis (Australia) in its absolute discretion within three years from the
                              Effective Date and no interest will accrue on the Cash Payment until such
                              time as it is made to the Scheme Creditor. The Scheme Creditor will:
                              (1)     accept the Cash Payment in full payment and satisfaction of the
                                      Scheme Creditor's entitlement to Second Lien Notes and/or First
                                      Lien Notes and/or shares in Quintis Holdco (as applicable)
                                      pursuant to the Scheme; and
                              (2)     agree to not make a Claim against Quintis (Australia), the
                                      Incoming Agent and Indenture Trustee or any other person
                                      arising out of or in connection with its entitlement to Second Lien


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                                       Notes and/or First Lien Notes and/or shares in Quintis Holdco (as
                                       applicable) pursuant to the Scheme;
                       (D)     if the Scheme Creditor fails to make a claim or fails to provide satisfactory
                               evidence within those 12 months it:
                               (1)     will forego its entitlement to the Cash Payment, Second Lien
                                       Notes and/or the First Lien Notes and/or shares in Quintis Holdco
                                       (as applicable) with effect from the date that is one year from the
                                       Completion Date; and
                               (2)     must not make a Claim against Quintis (Australia), the Incoming
                                       Agent and Indenture Trustee or any other person arising out of or
                                       in connection with its entitlement to the Cash Payment, Second
                                       Lien Notes and/or the First Lien Notes and/or shares in Quintis
                                       Holdco (as applicable) pursuant to the Scheme; and
                               (3)     Quintis (Australia) will be entitled to retain the Cash Payment with
                                       effect from the date that is one year from the Completion Date.
       (h)     Step Eight (final releases): The Scheme will provide for certain releases of various
               parties bound by the Scheme.
       (i)     Step Nine (retirement of Receivers): The Receivers will retire in accordance with their
               appointment documents.
       It is anticipated that there may be a delay of several days between payment being made by
       Participating Noteholders pursuant to sub paragraph (iv) Step Seven and Quintis (Australia) being
       in a position to provide confirmation of having received such payments pursuant to sub paragraph
       (v) of Step Seven, while the payments are transferred and processed. Implementation of the
       Scheme will be temporarily suspended while this occurs and will recommence once Quintis
       (Australia) provides the required confirmation, following which completion of the remaining
       actions pursuant to Step Seven and Steps Eight to Nine will occur.

5.12   Minimum Subscription Amount
       In order for the Scheme to proceed, Quintis (Australia) must receive by 8:00am on the Second
       Court Hearing, executed counterparts from Participating Noteholders of the Note Subscription
       and Purchase Agreement which subscribe for an amount equal to, or greater than, an aggregate
       subscription amount for the First Lien Notes of US$140.7 million or such other amount as agreed
       by Majority Consent (being an amount that is exclusive of the US$10 million of the remaining
       outstanding amount of the Original Notes which is applied in payment of the subscription price for
       First Lien Notes pursuant to Step Three of the Scheme). This is a Condition Precedent to the
       Scheme.

5.13   Eligibility to be an Equity Noteholder
       In order to be eligible to receive their entitlement to shares in Quintis Holdco under the Scheme,
       Scheme Creditors must:
       (a)     execute the Shareholders' Agreement and provide a copy of their signed counterpart to
               Quintis (Australia) by the Completion Date; and
       (b)     provide the US Securities Representation to Quintis (Australia), Quintis Holdco and the
               New Guarantors by the Effective Date.
       Scheme Creditors can obtain a copy of the Shareholders' Agreement from Quintis Holdco
       (subject only to providing satisfactory evidence that they are a Scheme Creditor).

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       A Scheme Creditor who provides the US Securities Representation to Quintis (Australia), Quintis
       Holdco and the New Guarantors by the Effective Date but does not execute the Shareholders'
       Agreement and provide a copy of their signed counterpart to Quintis (Australia) by the Completion
       Date will receive First Lien Notes and Second Lien Notes but will not receive shares in Quintis
       Holdco under the Scheme and the Cash Payment will not be available.

5.14   Shareholders' Agreement
       Scheme Creditors can obtain a copy of the Shareholders' Agreement from Quintis Holdco on
       request (subject only to providing satisfactory evidence that they are a Scheme Creditor). Any
       such request can be sent to chris.prestwich@allens.com.au
       The Shareholders' Agreement will prescribe the corporate governance arrangements for Quintis
       HoldCo and govern the rights and obligations of shareholders in Quintis HoldCo and contain
       customary provisions for agreements of this type.
       In circumstances where the shares in Quintis HoldCo following Completion will be held by a small
       number of shareholders, the Shareholders' Agreement will provide for certain protections
       including:
       (a)     restrictions on the transfer of shares by other shareholders, including the requirement for
               certain shareholder consent to transfers;
       (b)     larger shareholders having director appointment, removal and replacement rights;
       (c)     majority shareholders having customary drag rights; and
       (d)     certain matters being shareholder reserved matters requiring a majority shareholder
               decision.

5.15   Eligibility to receive Second Lien Notes or First Lien Notes
       In order to be eligible to receive Second Lien Notes or First Lien Notes under the Scheme,
       Scheme Creditors must provide the US Securities Representation to Quintis (Australia), Quintis
       Holdco and the New Guarantors by the Effective Date.
       A Scheme Creditor who fails to provide the US Securities Representation to Quintis (Australia),
       Quintis Holdco and the New Guarantors by the Effective Date may be eligible to receive the Cash
       Payment in lieu of Second Lien Notes and/or First Lien Notes and/or shares in Quintis Holdco (as
       applicable) to which it otherwise would be entitled pursuant to the Scheme, if, within 12 months
       from the Effective Date, it provides evidence to Quintis (Australia)'s reasonable satisfaction of it
       having been a holder of Original Notes as at the Effective Date, in which case:
       (a)     Quintis (Australia) will make the Cash Payment to the Scheme Creditor at a time
               determined by Quintis (Australia) in its absolute discretion within three years from the
               Effective Date and no interest will accrue on the Cash Payment until such time as it is
               made to the Scheme Creditor; and
       (b)     the Scheme Creditor will:
               (i)       accept the Cash Payment in full payment and satisfaction of the Scheme
                         Creditor's entitlement to Second Lien Notes and/or First Lien Notes and/or shares
                         in Quintis Holdco (as applicable) pursuant to the Scheme; and
               (ii)      agree that it will not make a Claim against Quintis (Australia), the Incoming Agent
                         and Indenture Trustee or any other person arising out of or in connection with its
                         entitlement to Second Lien Notes and/or First Lien Notes and/or shares in Quintis
                         Holdco (as applicable) pursuant to the Scheme.


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       If a Scheme Creditors does not make a claim for the Cash Payment or fails to provide evidence to
       Quintis (Australia)'s reasonable satisfaction of it having been a holder of Original Notes as at the
       Effective Date within 12 months from the Effective Date:
               (i)       it will forego its entitlement to the Cash Payment, Second Lien Notes and/or the
                         First Lien Notes and/or shares in Quintis Holdco (as applicable) with effect from
                         the date that is one year from the Completion Date;
               (ii)      it must not make a Claim against Quintis (Australia), the Incoming Agent and
                         Indenture Trustee or any other person arising out of or in connection with its
                         entitlement to the Cash Payment, Second Lien Notes and/or the First Lien Notes
                         and/or shares in Quintis Holdco (as applicable) pursuant to the Scheme; and
               (iii)     Quintis (Australia) will be entitled to retain the Cash Payment with effect from the
                         date that is one year from the Completion Date.

5.16   First Lien Notes and Participating Noteholders
       All Scheme Creditors who provide the US Securities Representation to Quintis (Australia), Quintis
       Holdco and the New Guarantors by the Effective Date will receive an amount of First Lien Notes
       by reason of application of US$10 million of the Original Notes in payment of the subscription
       price for First Lien Notes for an equivalent amount, such application of the amount to be made on
       a pro rata basis across all Original Notes (pursuant to Step Three of the Scheme).
       Scheme Creditors by the Effective Date will also have the opportunity to subscribe for further First
       Lien Notes by entering into the Note Subscription and Purchase Agreement by 8:00am on the
       date of the Second Court Hearing, in which case they will be Participating Noteholders for the
       purpose of the Scheme.
       As stated above, in order for the Scheme to proceed, Quintis (Australia) must receive by 8:00am
       on the date of the Second Court Hearing an aggregate subscription amount for the First Lien
       Notes of a minimum of US$140.7 million or such other amount as agreed by Majority Consent.

5.17   Incoming Agent and Indenture Trustee and Incoming Collateral Trustee
       Under the New Finance Documents:
       (a)     the Incoming Agent and Indenture Trustee will be GLAS Trust Company LLC; and
       (b)     the Incoming Collateral Trustee will be Global Loan Agency Services Australia Nominees
               Pty Ltd.

5.18   Scheme Administrators
       Richard Tucker, Scott Langdon and Jennifer Nettleton of KordaMentha have agreed to act as
       Scheme Administrators. Richard Tucker and Scott Langdon of KordaMentha were the voluntary
       administrators of the Scheme Companies, are the deed administrators of the Scheme Companies
       and will act as trustees of the creditors' trust created under the terms of the DOCA.
       If the Scheme is approved, Richard Tucker, Scott Langdon and Jennifer Nettleton's partners have
       prepared the Expert Report.
       ASIC has confirmed that the restriction contained in s 411(7) of the Corporations Act that would
       otherwise prevent Richard Tucker and Scott Langdon of KordaMentha from acting as Scheme
       Administrators will not apply.
       Under the terms of the Scheme Administrators' Deed Poll, each Scheme Administrator will among
       other things:
       (a)     agree to be bound by the Scheme as if they were a party to the Scheme; and
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       (b)     undertake to perform all obligations and to undertake all actions attributed to it under the
               Scheme.
       The Scheme Administrators' liability in the performance or exercise of their powers, obligations
       and duties under the Scheme is limited as set out in clause 7 of the Scheme.
       The Scheme Administrators' Declaration of Independence, Relevant Relationships and
       Indemnities as required by the ARITA Code of Professional Practice is set out in Schedule 12.

5.19   Expert Report recommendation
       The Expert has concluded that:
       (a)     the Implied Value (as defined in the Expert Report) of the interests that Scheme Creditors
               will receive or retain if the Scheme is put into effect as proposed is 88.6c in $; and
       (b)     the expected dividend that would be made available to Scheme Creditors if the Scheme
               Companies were to be wound up within six months of the hearing of the application for an
               order under section 411 of the Corporations Act is 56.7c in $.
       (See Section 6 of the Expert Report, Table 16)

5.20   Transaction costs
       At Completion, the total transaction costs payable in connection with the recapitalisation are
       expected to be A$17.2m (excluding GST) and A$7,500,000 (excluding GST) of these costs are
       costs directly referable to the Scheme, comprising: (a) the Receivers' fees, costs and legal
       expenses; (b) costs of the KordaMentha expert report; (c) the Scheme Administrators' fees, costs
       and legal expenses; and (d) taxes and other regulatory costs. Some of the costs associated with
       the Scheme have already been paid by the Scheme Companies.

5.21   Consequences if Scheme is not implemented
       If the Scheme is not implemented, no alternative transaction or recapitalisation plan has been
       proposed. Subject to another transaction being proposed, it is likely that the Scheme Companies
       would go into liquidation and the Receivers would seek to sell the available assets of the Quintis
       Group. The DOCA will also not be implemented.




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6     Key Considerations for Scheme Creditors

6.1   Why you are receiving this Explanatory Statement
      This Explanatory Statement contains information about the Scheme and is required by
      section 412(1) of the Corporations Act to be issued, together with the Scheme Meeting Notice, to
      each Scheme Creditor.
      You have been sent this Explanatory Statement because, according to the records of the
      Outgoing Agent and Indenture Trustee and the Scheme Companies, you are a Scheme Creditor.
      Receipt of this Explanatory Statement does not amount to confirmation that you have a valid
      Claim against or are owed any amount by any Scheme Company.
      If you are a Scheme Creditor as at the Effective Date, you will be eligible to vote at the Scheme
      Meeting provided that:
      (a)     the Chairperson receives a completed Voting Proof of Debt Form from you by no later
              than 5pm on Tuesday, 25 September 2018; and
      (b)     if you wish to vote by proxy, the Chairperson receives a completed Proxy Form from you
              by no later than 5pm on Tuesday, 25 September 2018.
      Additionally, if you wish to vote at the Scheme Meeting by appointing an attorney or corporate
      representative, such attorney or corporate representative should bring to the Scheme Meeting
      evidence of his or her appointment including authority under which the appointment was made.
      The Voting Proof of Debt Form and the Proxy Form are set out in Schedule 10 this Explanatory
      Statement.
      Further details of the Scheme Meeting, including the procedure for voting, can be found in
      Section 7 of this Explanatory Statement and the Scheme Meeting Notice at Schedule 7.

6.2   Scheme Procedure
      The proposed Scheme is a creditors' scheme of arrangement. A creditors' scheme of
      arrangement is a compromise or arrangement between a company and its creditors, or any class
      of them, effected in accordance with Part 5.1 of the Corporations Act.
      A resolution to agree a scheme of arrangement must be passed by a majority in number (more
      than 50%) of the creditors present and voting at the scheme meeting, either in person or by
      proxy, corporate representative or attorney, being a majority whose claims against the company
      amount in the aggregate to at least 75% of the total amount of the claims of the creditors present
      and voting at the scheme meeting (either in person or by proxy, corporate representative or
      attorney).
      If a scheme of arrangement is approved by the requisite majority at a scheme meeting, in order to
      become effective, a scheme of arrangement must then be approved by the Court. The Court may
      grant its approval subject to such alterations or conditions as it thinks just.
      A scheme of arrangement may also be subject to certain other conditions precedent which must
      be satisfied before the scheme of arrangement becomes effective. The Conditions Precedent to
      the Scheme are set out in section 5.5 above. If the conditions precedent are satisfied and the
      scheme of arrangement is approved by the Court, and the Court orders are lodged with ASIC,
      then the scheme of arrangement becomes effective from the date on which the orders are lodged
      with ASIC.
      Once a scheme of arrangement becomes effective, it will be binding upon the company (or
      companies) and the creditors to the scheme, including those creditors that did not vote in favour
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      of the scheme of arrangement, or those that did not attend, or vote at, the scheme meeting. A
      scheme of arrangement may also be binding upon various parties, including security trustees,
      obligors and creditor agents, if those parties have signed a deed poll to that effect.
      The Scheme is proposed between the Scheme Companies and a class of its creditors, being the
      holders of Original Notes as at the Effective Date.
      More information about the procedure for the Scheme Meeting and voting at the Scheme Meeting
      is set out in section 7.

6.3   Reasons why Scheme Creditors may consider voting in favour of the Scheme
      The reasons why individual Scheme Creditors may consider voting in favour of the Scheme
      include the following:
      (a)     Acquisition of equity: if the Scheme is approved by a requisite majority of Scheme
              Creditors and approved by the Court, it will give Scheme Creditors the opportunity to
              receive shares in Quintis Holdco (which will be the new holding company of the
              recapitalised Quintis Group, in place of Quintis Limited) and the potential equity upside of
              being a shareholder. Subject to signing the Shareholders' Agreement and providing the
              US Securities Representation to Quintis (Australia), Quintis Holdco and the New
              Guarantors by the Effective Date, the Scheme provides for Scheme Creditors to receive
              shares in Quintis Holdco in exchange for a reduction of a portion of the secured debt
              which is owed to them.
      (b)     Recapitalisation of the Quintis business and potential upside: the Scheme provides
              for a very substantial injection of new liquidity into the Quintis Group business. That
              funding (to be mainly provided by way of the First Lien Notes) will enable the Quintis
              Group to meet the capital requirements associated with the running of its business for a
              number of years, and provide it with the opportunity to develop the end market for
              sandalwood products. In the event that the Quintis Group's business is successful, the
              Scheme Creditors as the owners of the Quintis Group (through their shareholdings in
              Quintis Holdco) will benefit from that success, both in terms of the Quintis Group being
              able to meet its debt obligations and the potential equity upside.
      (c)     Return to Scheme Creditors: the return to Scheme Creditors under the Scheme will be
              a combination of Second Lien Notes, shares in Quintis Holdco (provided that they enter
              into the Shareholders' Agreement), First Lien Notes (to be allocated to Scheme Creditors
              according to their respective holdings of Original Notes) and the opportunity to subscribe
              for additional First Lien Notes. In order to be eligible to receive all or any of this
              consideration, Scheme Creditors must provide the US Securities Representation to
              Quintis (Australia), Quintis Holdco and the New Guarantors by the Effective Date.
      (d)     Deed of company arrangement will become effective and unsecured liabilities
              released: the DOCA entered into by the Scheme Companies will become effective,
              resulting in (among other things) certain unsecured liabilities of the Scheme Companies
              being released and the Scheme Companies other than Quintis Limited exiting external
              administration as solvent entities. The Quintis Subsidiaries, as well as certain other
              assets of Quintis Limited, will be transferred under the Scheme by Quintis Limited into the
              new Quintis Group of which Quintis Holdco will be the new holding company. The
              Scheme Creditors, as the indirect owners of the Quintis Subsidiaries through their
              shareholdings in Quintis Holdco, will benefit from the Quintis Subsidiaries continuing
              operations in a stronger financial position and on a going concern basis.



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     (e)      Transactional certainty: effecting the capital restructure of the Quintis Group and
              business by way of the Scheme provides greater deal certainty for the Scheme Creditors
              than could be achieved without the Scheme. In the event that the Scheme is approved by
              the requisite majority of Scheme Creditors and the Court makes orders approving the
              Scheme, the steps that give effect to the restructure will have the force of law once those
              orders are lodged with ASIC. By comparison, a restructure of the Quintis Group and
              business by way of private contractual arrangements only, outside of the statutory
              framework which supports the Scheme, would be likely to involve greater risk for the
              Scheme Creditors as there would likely be more conditions required and other
              transactional uncertainty inherent in private negotiations.
     (f)      Control: Quintis Holdco will be the new holding company of the Quintis Group (in place of
              Quintis Limited) and will be fully owned by Scheme Creditors who sign the Shareholders'
              Agreement and provide the US Securities Representation to Quintis (Australia), Quintis
              Holdco and the New Guarantors by the Effective Date (i.e. Equity Noteholders). Scheme
              Creditors (in their capacity as Equity Noteholders) will therefore have the benefit of all
              associated shareholder rights and, depending on the extent of its shareholding, a
              Scheme Creditor may also have rights under the Shareholders' Agreement in relation to
              the management of the business of Quintis Holdco.
     (g)      Stamp duty exemption: the acquisition of land owning entities which would otherwise be
              subject to stamp duty may be exempt from stamp duty in jurisdictions in which the Quintis
              Group holds significant assets if the acquisitions arise under a compromise or
              arrangement with the land owning entity. The restructure of the Quintis Group pursuant to
              the Scheme means that Scheme Creditors will indirectly acquire land owning entities as
              part of the transfer of the Quintis Subsidiaries from Quintis Limited to the new Quintis
              Group, of which Quintis Holdco will be the new holding company and they will have the
              benefit of this potential stamp duty exemption which would not be available if the
              restructure was effected other than by way of the Scheme.
     (h)      Solvency of the Scheme Companies: KordaMentha, in preparing the Expert Report,
              have concluded that following implementation of the Scheme, the Scheme Companies
              (other than Quintis Limited) will be solvent (see Schedule 2 of this Explanatory
              Statement). As the ultimate owners of these companies and the other Quintis
              Subsidiaries (through their shareholdings in Quintis Holdco) and continuing lenders to the
              Quintis Group, Scheme Creditors will benefit from the solvency of the Scheme
              Companies (other than Quintis Limited) and the ability of the Scheme Companies (other
              than Quintis Limited) to continue operations on a going concern basis following
              implementation of the Scheme.
     (i)      Repayment of Tranche 1 Super Senior Notes and Tranche 2 Super Senior Notes:
              Scheme Creditors who participated in the provision of the Tranche 1 Super Senior Notes
              and/or Tranche 2 Super Senior Notes will benefit from the repayment in full of both
              tranches.
     (j)      Scheme Companies (other than Quintis Limited) to emerge from external
              administration: the Scheme provides a means by which the secured debt of the Quintis
              Group can be restructured and the exit of the Scheme Companies (other than Quintis
              Limited) from external administration, following which they will be solvent. The Scheme
              will facilitate the return to ordinary business operations on a going concern basis for these
              companies and remove the disruption to those business activities that has resulted from
              the external administration.


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      (k)     Speed and efficiency: the Scheme enables all Scheme Creditors to be bound by Court
              order to the transactions effected by the Scheme and to the releases effected by the
              Scheme.
      (l)     Comparison with a liquidation outcome: Scheme Creditors may form the view that the
              consideration they will receive under the Scheme (which includes a potential equity
              upside from their position as shareholders of Quintis Holdco that will ultimately depend on
              the performance of the restructured Quintis Group) is more valuable than the return which
              they would receive in a liquidation of the Quintis Group. In this regard, the Expert Report
              concludes that:
              (i)       the Implied Value (as defined in the Expert Report) of the interests that Scheme
                        Creditors will receive or retain if the Scheme is put into effect as proposed is
                        88.6c in $; and
              (ii)      the expected dividend that would be made available to Scheme Creditors if the
                        Scheme Companies were to be wound up within six months of the hearing of the
                        application for an order under section 411 of the Corporations Act is 56.7c in $.
              (See Section 6 of the Expert Report, Table 16)
      (m)     Release of intercompany debt: the Scheme will provide for the release of certain
              intercompany debts which will benefit Scheme Creditors as the ultimate owners of the
              Scheme Companies (through their shareholdings in Quintis Holdco) and continuing
              financiers of the Quintis Group.
      (n)     Replacement of Quintis Limited with Quintis (Australia) under Finance Documents:
              the Scheme will provide for the release of Quintis Limited from its obligations in respect of
              the secured debt owing under the Finance Documents and the adoption by Quintis
              (Australia) of those obligations. The replacement of Quintis Limited (which will remain
              subject to the DOCA following implementation of the Scheme) with a newly capitalised
              solvent entity will benefit Scheme Creditors as the continuing financiers of the Quintis
              Group under the New Finance Documents.
      (o)     Rectification of AFSL and other compliance breaches: prior to the appointment of the
              Voluntary Administrators and Receivers, SPL was, and remains, in breach of certain
              obligations under its AFSL and other related compliance obligations. It is expected that
              the implementation of the Scheme, in conjunction with further remedial action proposed to
              be taken by the Quintis Group following Scheme implementation, will enable these
              breaches to be rectified. These matters will need to be confirmed with ASIC in due course
              to ensure that SPL retains its AFSL.

6.4   Reasons why Scheme Creditors may consider voting against the Scheme
      The reasons why individual Scheme Creditors may consider voting against the Scheme include
      the following:
      (a)     Delay in cash return to Scheme Creditors: except to the extent that a Scheme Creditor
              participated in the Tranche 1 Super Senior Notes or Tranche 2 Super Senior Notes
              (which will be repaid in full), the Scheme, if implemented, will not result in any immediate
              cash return to Scheme Creditors. The Original Notes will be exchanged for the Second
              Lien Notes and the terms of the Second Lien Notes and the First Lien Notes give Quintis
              (Australia) the option to capitalise interest payments for the initial term of the Notes. As
              such, it may be a number of years before cash payments are received by Scheme
              Creditors.


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     (b)      New capital required to be invested by Scheme Creditors: as stated above, a
              condition of the Scheme proceeding is that Quintis (Australia) receives subscriptions for
              an amount equal to, or greater than, an aggregate subscription amount for the First Lien
              Notes of not less than US$140.7 million (or such other amount agreed by Majority
              Consent). In practice, the Scheme Creditors will need to provide the funding to satisfy this
              condition.
     (c)      Risks associated with Quintis' business: the ultimate return to Scheme Creditors as
              equity holders in Quintis Holdco and continuing financiers of the restructured Quintis
              Group will depend on the future success of the Quintis Group's business, including the
              Group's ability to develop an end market for sandalwood products (which is not without
              risk) and the price the Quintis Group is able to secure for those products. Scheme
              Creditors may form the view that they would receive a superior return through a
              realisation of the Quintis Group's assets, such as an immediate liquidation.
     (d)      Consideration required to be paid under the Deed of Company Arrangement: if the
              Scheme is approved by the requisite number of creditors and the Court, the DOCA will
              become effective. The terms of the DOCA provide that A$2.5 million will be made
              available for payment of the deed administrators' costs and for distribution to beneficiaries
              of the creditors' trust, being unsecured creditors of the Scheme Companies. While some
              of those liabilities would have had priority in any event (e.g. employee entitlements), part
              of those funds would otherwise have been available to Scheme Creditors and Quintis
              Group's other secured creditors.
     (e)      Complete release of amounts owing by Quintis Limited and of Claims against
              Quintis Limited: the Scheme, if implemented, will result in a complete release of Quintis
              Limited from its obligations in respect of the secured debt owing under the Finance
              Documents, all Security granted by Quintis Limited in favour of the Outgoing Collateral
              Trustee and all Claims which the Scheme Creditors may have against Quintis Limited.
     (f)      Partial release of amounts owing under Original Notes: the Scheme, if implemented,
              will result in the Original Notes being exchanged for the Second Lien Notes. The amount
              owing as a result of that exchange will be reduced to US$185 million, a reduction of
              approximately US$100 million taking into account accrued interest. A further US$10
              million of the outstanding amounts owing under the Original Notes will be applied on a
              pro rata basis across all Original Notes towards the subscription price for the First Lien
              Notes for an equivalent amount. While Scheme Creditors will receive shares in Quintis
              Holdco which correspond to the reduction in the amounts owing to them under the
              Original Notes if they execute a Shareholders' Agreement and provide the US Securities
              Representation to Quintis (Australia), Quintis Holdco and the New Guarantors by the
              Effective Date, their total debt claim will be reduced.
     (g)      Scheme Creditors will relinquish certain Claims against directors: if the Scheme is
              implemented, certain Claims of the Scheme Creditors against the individuals who were
              directors of Quintis Limited at the time of the appointment of voluntary administrators (and
              remains a director as at the Effective Date) will be released (although Claims against
              individuals who had resigned prior to the appointment of the voluntary administrators will
              be retained).
     (h)      Costs of implementation: there will be transaction costs associated with the
              implementation of the Scheme, including legal and advisory fees and the fees of the
              Scheme Administrators to manage the Scheme.



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6.5   Key risks
      Other key risks and challenges for the Quintis Group's business include the following:
      (a)     Marketing and selling sandalwood products: the long term success of the Quintis
              Group and ultimate return to Scheme Creditors as equity holders in Quintis Holdco will be
              dependent on the Group's ability to market and sell Indian sandalwood ingredients and
              products and market demand for those products. This includes obtaining government and
              marketing approvals for the sale of the pharmaceutical or dermatological products
              currently being developed by the Santalis Subsidiaries.
      (b)     Risks associated with growing sandalwood trees: there are certain specific risks
              associated with growing sandalwood trees, in particular:
              (i)       natural disasters, including fire, floods and cyclones, which can result in the
                        destruction of the trees;
              (ii)      disease and pests, which can damage or destroy the trees; and
              (iii)     the amount of oil that can ultimately be extracted from sandalwood trees.
      (c)     Other operational risks:
              (i)       the Quintis Group will face increasing operational challenges as plantation sizes
                        and harvest quantities increase;
              (ii)      new technologies may be introduced and impact demand for Indian Sandalwood
                        oil;
              (iii)     the Quintis Group’s ability to secure wood from the harvest of Australian
                        Sandalwood in Western Australia is constrained by government regulation;
              (iv)      the Quintis Group’s financial performance may be adversely affected by
                        fluctuations in exchange rates; and
              (v)       the Quintis Group cannot guarantee that insurance coverage will be sufficient to
                        cover future liabilities or that the Quintis Group will be able to renew coverage on
                        reasonable terms (or at all).
      (d)     BC Investors: under the terms of the DOCA (if implemented), BC Investors have the
              opportunity to novate their Investment Management Agreements from Quintis Limited to
              Fieldpark Pty Ltd (a subsidiary in the Quintis Group which will be transferred to Quintis
              (Australia) under the Scheme) as Quintis Limited will remain subject to the DOCA
              following implementation of the DOCA and the Scheme, with such novation effective on
              implementation of the Scheme. Negotiations with the BC Investors are continuing and
              there is no certainty that satisfactory terms can be agreed with some or all of the
              investors (who are entitled to terminate their Investment Management Agreements)
              regarding their arrangements with the Quintis Group following implementation of the
              Scheme. It should be noted that in the event terms are not able to be agreed for the
              novation of existing arrangements with any BC Investors, Quintis Limited will hold the
              benefit of these existing arrangements on trust for Quintis (Australia) and it has not yet
              been determined whether Quintis Limited will perform all or some its obligations under the
              existing agreements going forward.
      (e)     Sophisticated Investor Offer: under the terms of the DOCA (if implemented), investors
              in the Sophisticated Investor products have the opportunity to novate their Lease and
              Management Agreements from Quintis Limited to Fieldpark Pty Ltd (a subsidiary in the
              Quintis Group which will be transferred to Quintis (Australia) under the Scheme) as
              Quintis Limited will remain subject to the DOCA following implementation of the DOCA
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              and the Scheme, with such novation effective on implementation of the Scheme. Under
              the terms of the proposed novation, Sophisticated Investors would retain 50% of their
              rights to defer plantation management costs. The Quintis Group expects that a
              substantial majority of Sophisticated Investors will novate their Lease and Management
              Agreements, however some Sophisticated Investors may decline to do so. Plantations of
              any Sophisticated Investors who do not agree to novate their Lease and Management
              Agreements (and are not otherwise willing to contribute to the maintenance costs of their
              plantations), will likely not be maintained, giving rise to a potential right for SPL as lessor
              to terminate those investors' leases. This would have the result of SPL becoming the
              owner of the relevant trees and the Quintis Group being required to meet all of the
              plantation management costs associated with those plantations (including any additional
              remediation costs resulting from the extended period of non-maintenance).
     (f)      Managed Investment Schemes: SPL acts as the responsible entity of the Quintis
              registered managed investment schemes. It has substantial obligations in its capacity as
              responsible entity (including funding obligations in circumstances where growers elect to
              defer lease and management fees, which they are entitled to do under the terms of their
              agreements). Prior the date of this Explanatory Statement, growers have voted to replace
              SPL with an alternative responsible entity in respect of the 2002 managed investment
              scheme and a meeting has taken place to replace SPL as the responsible entity in
              respect of the 2003 managed investment scheme (the conduct and outcome of that
              meeting is being challenged by SPL and the Receivers). It is possible that growers in
              other schemes may also seek the replacement of SPL as the responsible entity.
     (g)      Rectification of AFSL and other compliance related breaches: prior to the
              appointment of the Voluntary Administrators and Receivers, SPL was, and remains, in
              breach of certain obligations under its AFSL and other compliance related obligations. It
              is expected that the implementation of the Scheme, in conjunction with further remedial
              action proposed to be taken by the Quintis Group following Scheme implementation, will
              enable these breaches to be rectified. These matters will need to be confirmed with ASIC
              in due course to ensure that SPL retains its AFSL.
     (h)      Other counterparty risks: certain counterparties with whom Quintis Group entities have
              contractual arrangements, including landlords, have termination rights arising from the
              external administration of the Quintis Group. It is possible that some counterparties may
              seek to exercise those rights, in which case the relevant Quintis Group may be deprived
              of the benefits of those contracts (unless alternative solutions with the counterparties can
              be arranged. For example, in respect of landlords, an application for relief against
              forfeiture could potentially be sought).
     (i)      Regulation and legislation risks:
              (i)       foreign investment in the BC investment product is dependent upon FIRB
                        approval;
              (ii)      the Quintis Group is subject to extensive environmental laws and regulations; and
              (iii)     acquisition of new land for plantations could be delayed or made more costly as a
                        result of ‘native title’ claims or cultural heritage management.
     (j)      Other strategic risks:
              (i)       the Quintis Group may be unsuccessful in carrying out the land acquisition
                        strategy with sufficient water supplies;



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              (ii)    the Quintis Group may be unable to finance future land acquisitions on favourable
                      terms;
              (iii)   the Quintis Group’s future growth will depend on the ability to increase direct
                      ownership of plantations;
              (iv)    the Quintis Group’s future growth will depend on the ability to attract investments
                      in the financial investment products;
              (v)     the Quintis Group’s plantations are geographically concentrated in Northern
                      Australia and if the Quintis Group expands operations into new geographic
                      regions, Quintis Group may not be able to attract sufficient numbers of
                      adequately trained and qualified personnel to manage the plantations.
     (k)      Staffing issues: the Receivers have put in place temporary retention arrangements for
              key management and staff members. Those staff members hold significant corporate,
              historical and technical knowledge in relation to the Quintis Group and its operations.
              Ongoing staff retention will be a matter for the reconstituted boards of the Quintis Group.
     (l)      Legal proceedings: Arwon Finance has commenced a number of proceedings to
              recover debts owing to it, each of which is being defended. In the event that Arwon
              Finance succeeds in those claims, it remains to be seen if the relevant defendant will be
              in a position to satisfy the judgment debt or, to the extent that Arwon holds security,
              whether the secured assets will be of sufficient value to satisfy the debt.




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7     Scheme Meeting and Voting Procedures

7.1   Scheme Meeting
      The Scheme Meeting will be held to consider and, if thought fit, approve the Scheme on:
             Thursday, 27 September 2018 at 10am
              at
              Allens
              Level 28
              126 Philip Street
              Sydney NSW Australia
7.2   Eligibility and entitlement to vote
      Only secured creditors who are holders of Original Notes as at the Effective Date (i.e. Scheme
      Creditors) are eligible to vote at the Scheme Meeting.
      Voting is not compulsory. However, Scheme Creditors who do not vote at the Scheme Meeting
      will be bound by the Scheme, provided that the Scheme is approved by the requisite majority at
      the Scheme Meeting and approved by the Court.
      Voting at the Scheme Meeting will be conducted by poll.

7.3   How to vote at the Scheme Meeting
      Scheme Creditors will be required to complete a Voting Proof of Debt Form (set out in
      Schedule 10) in accordance with the instructions set out in the Voting Proof of Debt Form and
      ensure that it is received by the Chairperson by 5pm on Tuesday, 25 September 2018.

7.4   Voting in person
      A Scheme Creditor who wishes to vote in person on the Scheme will also be allowed to attend
      the Scheme Meeting in person.
      Where the Scheme Creditor is a corporation, it may appoint a proxy, attorney or corporate
      representative to attend the meeting on its behalf. Any attorney or corporate representative
      should bring to the Scheme Meeting evidence of his or her appointment including the authority
      under which the appointment was made.

7.5   Voting by proxy, attorney or corporate representative
      If you cannot attend the Scheme Meeting and wish to vote, you may vote by proxy, attorney or by
      corporate representative in accordance with section 250D of the Corporations Act.
      If you appoint a proxy, you will need to complete and lodge a Proxy Form as set out in
      Schedule 10, in accordance with the instructions on the form, so that it is received by the
      Chairperson by 5pm on Tuesday, 25 September 2018.
      Any attorney or corporate representative should bring to the Scheme Meeting evidence of his or
      her appointment including authority under which the appointment was made.

7.6   Adjudication of Voting Proof of Debt Forms
      The Chairperson of the Scheme Meeting has power to admit (wholly or in part) or reject a Proof of
      Debt or Claim, for the purposes of voting at the Scheme Meeting.
      The Chairperson will adjudicate upon the Scheme Creditor's Claim as set out in a Voting Proof of
      Debt Form based on the information contained in or provided with the Voting Proof of Debt Form,
      as well the information known to the Chairperson, including information provided to the
      Chairperson by the Outgoing Agent and Indenture Trustee. This information will be used by the

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      Chairperson acting in its capacity as a scrutineer to determine whether each resolution is passed
      at the Scheme Meeting. This may result in the Scheme Creditor's Claim being rejected, in whole
      or in part, or admitted for a higher or lower amount.
      The admission of a Scheme Creditor's Claim is for voting purposes only and does not constitute
      an admission of the existence or amount of the Scheme Creditor's Claim against the Scheme
      Companies or any other person, and will not bind the Scheme Companies or the Scheme
      Creditor concerned for any other purpose.

7.7   Modification of Scheme
      (a)     Modifications by Scheme Creditors
              It is possible that a Scheme Creditor may propose a modification to the terms of the
              Scheme at the Scheme Meeting (prior to passing of the resolution to agree the Scheme)
              or apply to the Court for a modification of the terms of the Scheme.
              Scheme Creditors should be aware that the consequences of modifying the terms of the
              Scheme include:
              (i)       if the modification is materially adverse to a Scheme Company or any particular
                        Scheme Creditor, it may give rise to a basis, which may not otherwise exist, for
                        the Court to refuse to approve the modified Scheme. In such circumstances, the
                        Scheme will not become effective (in either the modified or original form); and
              (ii)      the Scheme Companies may not consent to the modified Scheme and therefore
                        the Scheme Companies may not be prepared to seek the Court's approval of the
                        modified Scheme.
      (b)     Modifications by the Court
              Under section 411(6) of the Corporations Act, the Court may approve the proposed
              Scheme at the Second Court Hearing subject to alterations or conditions as it thinks just
              provided that such alterations or conditions will not, directly or indirectly, materially
              adversely affect the rights or interests of Scheme Creditors, or any Scheme Creditor,
              under the Scheme.

7.8   Lodgement of documents and queries
      Complete Voting Proof of Debt Forms and Proxy Forms should be lodged in accordance with the
      instructions on those forms.
      If you have any questions in relation to the Scheme, including in relation to the lodgement of
      Proxy Forms, you may direct your questions to the Receivers:
      (a)     by email to quintis@mcgrathnicol.com; and/or
      (b)     by telephone to Anna Schwartz on +61 3 96138657 between 9:00am and 5:00pm
              (Sydney time), Monday to Friday.




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8     Current operations of the Quintis Group and following Scheme implementation

8.1   Overview
      The Quintis Group is the largest owner, manager and grower of Indian Sandalwood plantations in
      the world. As of 30 June 2018, the Quintis Group owned or managed sustainable plantations on
      12,701 hectares (31,387 acres) in northern Australia that contained an estimated 5.6 million
      Indian Sandalwood trees.
      The Quintis Group's fully vertically integrated operations comprise every aspect of the Indian
      Sandalwood lifecycle, including land search and acquisition, plantation establishment, cultivation
      and management, tree and oil processing, and marketing and distribution. The Quintis Group also
      owns a U.S.- based pharmaceutical product development company, Santalis Pharmaceuticals,
      Inc., which creates and commercializes dermatology products containing Indian Sandalwood oil.
      The company was founded in 1997 after more than 15 years of government-funded pilot
      programs in Western Australia. The company commenced the commercial planting of Indian
      Sandalwood trees in 1999 and successfully completed its first commercial harvests of Quintis
      Group planted and grown Indian Sandalwood in 2014. The company has produced
      pharmaceutical grade Indian Sandalwood oil from its last four annual harvests that has largely
      been sold into the into the U.S. pharmaceutical market through a contract with Galderma (a
      global dermatology company and a wholly owned subsidiary of Nestle), essential oils market
      through a contract with Young Living and into the cosmetics market through a contract with Lush.
      Indian Sandalwood (also known as Santalum album) is an aromatic oil-bearing tree and is one of
      the world’s most valuable hardwoods. It grows naturally in only a few places in the world,
      including India and, to a limited extent, Southeast Asia and China. Indian Sandalwood has been
      used for over 2,500 years. It was declared a royal tree in India in 1792 and is recognized as a
      vulnerable species by the International Union for Conservation of Nature on its Threatened
      Species Red List. Due to increasing domestic consumption of sandalwood, the Indian
      government imposed export restrictions on oil and wood. The Indian Sandalwood tree’s value lies
      in its heartwood, the oil bearing innermost layer of timber. Heartwood found at the core of Indian
      Sandalwood trees, and the oil distilled from it, has many applications and end markets. It is used
      in fragrances, cosmetics, toiletries, medicines, medicinal skin care products, carvings,
      furnishings, incense and religious ceremonies around the globe (including the United States,
      China, India and Europe).
      Quintis Limited (ABN 97 092 200 854) was listed on the ASX in 2004 (ASX Code: QIN).

8.2   Financial Position
      Copies of Quintis Limited's audited financial statements for 30 June 2017 are attached in
      Schedule 8.

8.3   Australian Operations
      (a)     Current operations
              The Quintis Group owns, or has assumed economic interests in, approximately 34% of all
              the hectares of plantations under the Quintis Group's management. The Quintis Group’s
              Indian sandalwood plantations are located in six separate locations and three states with
              plantations aged up to 15 years. The Quintis Group plantations are strategically located
              across Northern Australia, including Kununurra and Kingston Rest in the East Kimberley
              region of Western Australia, the Burdekin region in Queensland, and the Douglas Daly,
              Mataranka and Katherine regions in the Northern Territory.


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              All of its plantation locations have been carefully assessed across criteria that the
              company believes will deliver optimal growing conditions, including fertile land with
              sufficient irrigation and natural rainfall, a sub-tropical climate, free draining soils, and
              situated mostly outside of cyclone and flood prone areas. As at 30 June 30 2018, the
              Quintis Group had 12,701 hectares (31,387 acres) planted, and also owned an additional
              356 hectares (880 acres) of unplanted land suitable for commercial plantation. The
              Quintis Group expects that Indian Sandalwood will be planted on this unplanted land in
              the future.
              Indian Sandalwood is a partially parasitic tree, meaning these trees can only thrive when
              their roots form a union with the roots of another tree or shrub growing near them. These
              “host” plants provide the Sandalwood with nutrients, metabolites and meet some of its
              water needs via the joined roots. The tree flourishes and becomes commercially
              productive in a plantation only when provided with host species that have been selected
              and proven in trials to be highly suited to the hosting function. Since inception, the Quintis
              Group has refined its silviculture techniques to improve Indian Sandalwood tree survival
              rates through to harvest, and to maximize the heartwood yield achieved from each
              harvested tree. Currently, the company's average annualized mortality rate after the first
              year of planting across our plantations is 2%, in line with recent years.
              The Quintis Group has two processing facilities located in Kununurra and Albany. The
              facility in Kununurra is used to process harvested logs into wood end-products for sale, or
              into wood chips to be transported down to the Quintis Group’s Mt Romance distillation
              facility in Albany to be processed into sandalwood oil.
              The Quintis Group has three small retail outlets located in Albany, Broome and
              Kununurra which sell its Australian and Indian sandalwood products. Those outlets are
              supplied by a small cosmetics production facility belonging to Mt Romance.
              The Quintis Group has a corporate head office in Perth, with several operational offices
              based in Albany, Kununurra, Darwin, Katherine and Burdekin.
              The Quintis Group has fully vertically integrated operations which comprise each part of
              the Indian sandalwood tree's life cycle. The Quintis Group's operation lifecycle principally
              includes the following.
              (i)       Establishment of plantations: the successful growth of Indian sandalwood on a
                        plantation is largely dependent upon the suitability of the land, along with superior
                        seeds. The sandalwood seedlings and their host trees are grown in the Quintis
                        Group's nursery or Katherine or by a contract nursery ready to be planted from
                        March to August each year. Land purchase and preparation needs to happen well
                        in advance of planting.
              (ii)      Plantation management: Plantation management is led by staff teams resident in
                        Kununurra (Western Australia), Dalbeg (Queensland) and Douglas Daly, Darwin
                        and Katherine (Northern Territory). The plantation management team is
                        responsible for the establishment and maintenance of Indian sandalwood
                        plantations on behalf of MIS, SIO and BC investors as well as company owned
                        plantations.
              (iii)     Plantation harvest: The Quintis Group intends to harvest the Indian sandalwood
                        trees when they are between 14 to 16 years old. Due to a significant portion of
                        the heartwood and oil being found in the butt of trees aged 14 to 16 years, it is
                        necessary to remove the entire tree from the ground, apart from the small roots.


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              (iv)      Processing of logs into wood and oil end-products: The Quintis Group has a
                        primary processing centre that allows logs to be graded, sorted and processed
                        into value-added wood products, or chipped prior to transport to the distillation
                        facility, Mt Romance in Albany. The Quintis Group owns and operates a
                        sandalwood oil processing facility, situated at Mt Romance. The Quintis Group,
                        through its wholly owned subsidiary, Mt Romance Australia, distils Australian
                        sandalwood (spicatum) purchased from Forest Products Commission of WA and
                        Indian sandalwood (album) at this facility.
              (v)       Marketing and distribution of end-product: The Quintis Group, via Mt Romance
                        Australia, has a large number of existing customers for spicatum and has been
                        working to introduce Indian sandalwood (album), oil and wood products to the
                        market. In many cases potential customers are familiar with Indian sandalwood,
                        however the lack of a legal reliable and sustainable supply has meant that they
                        no longer use album. The Quintis Group is the largest legal reliable and
                        sustainable source of Indian sandalwood. The Quintis Group's target markets
                        covers a broad range of locations, including India, the Middle East and Northern
                        Africa, Europe, China and the rest of Asia and the United States.
      (b)     Planned operations following Scheme implementation
              Following implementation of the Scheme, the Quintis Group intends to refocus its
              business operations around the following core activities
              (i)       Plantation Management: Application of leading silviculture and forestry practices
                        to deliver yield improvements.
              (ii)      Market Development and Sales: Using market research to focus on developing
                        broad geographic and market segment demand for products.
              (iii)     Research and Development: R&D to support the forestry and silviculture activities
                        and build on the 19 years of expertise which the Quintis Group already has, and
                        continued work on pharmaceutical and over the counter products.
              (iv)      Future plantings: Development of a sustainable reinvestment model for future
                        plantings:

8.4   US Operations
      In 2011, the Quintis Group entered into a 50% joint venture with the management of Santalis
      Healthcare (formerly known as ViroXis Corporation) to create "Santalis".
      In July 2015, Quintis Limited acquired 100% of Santalis Healthcare and the remaining 50% of
      Santalis Pharmaceuticals Inc. (collectively referred to as the "Santalis Subsidiaries"). The Santalis
      business is a mid to late stage pharmaceutical company with a focus on developing products that
      use East Indian sandalwood oil as an active pharmaceutical ingredient.
      The Santalis Subsidiaries are not subject to external administration and continue to operate on a
      going concern basis.

8.5   Investor Product Offerings
      As discussed above, the Quintis Group sells its investment products to three groups of investors:
      BC, MIS and SIO.
      (a)     Beyond Carbon (BC)
              BC is the Quintis Group's global institutional investor product offering. As part of the BC
              product offering, the Quintis Group has flexibility to tailor investments to each investor’s
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              individual requirements. The Quintis Group acquires and prepares land suitable for Indian
              sandalwood cultivation and typically sells the land to BC investors. The Quintis Group is
              paid establishment fees by the investors to establish plantations. The Quintis Group is
              then retained as investment manager by the investor to cultivate, maintain and eventually
              harvest the trees. The Quintis Group recovers its annual costs and receives a
              management fee for services. At the conclusion of, or exit from each BC investment, the
              Quintis Group may receive a performance fee, which, subject to satisfying certain
              requirements, is generally a 20% share of all returns in excess of an annual rate of 8-
              10%.
              The Quintis Group currently has several BC investors, including a large Middle East
              sovereign wealth fund, a large triple A-rated U.S. endowment fund and a significant U.K.
              institutional investor. As at 31 December 2017, the Quintis Group had 3,261 hectares of
              Indian sandalwood plantation under management on behalf of BC investors, representing
              25% of the total plantations under its management.
              The treatment of the BC Investors under the DOCA is described at section 6.5(c) above.
              BC investments are a negotiated agreement between the Quintis Group and the investor.
              Following implementation of the Scheme, the Quintis Group intends to continue to seek
              to sell plantations under its BC model.
     (b)      Sophisticated Investment Offer (SIO)
              Similar to the Quintis Group's institutional BC product, SIO investors engage the Quintis
              Group to establish and maintain an Indian sandalwood plantation on a parcel of land. The
              Quintis Group charges an upfront one-time establishment fee and annual lease and
              management fees for planting and managing the plantations on the investor’s behalf. At
              the conclusion of, or exit from, each SIO investment, the Quintis Group may receive a
              performance fee, which is generally a 20% share of all returns in excess of an annual rate
              of 7%. Fees charged by the Quintis Group have varied over time. By way of example, the
              most recent SIO project included an establishment fee, a management fee, rent (when
              the property is not owned by the SIO investor), a harvesting and processing fee, a selling
              and marketing fee and a performance fee.
              Under the SIO product, two investment options are offered to investors:
              (i)       annual investment option: an option under which the SIO investor pays the
                        establishment fee upfront, makes annual payments of the management fee and
                        the rent through the life of the project, with any remaining fees deducted from the
                        gross proceeds of sale; and
              (ii)      annual deferred investment option: a varying option under which the
                        management fee and rent may be deferred on a year-by-year basis with the
                        Quintis Group earning indirect interests in the project which are paid from the net
                        proceeds of sale according to the years in which the SIO investors elected to
                        make any such deferral.
              As at 31 December 2017, the Quintis Group had 3,284 hectares of Indian sandalwood
              plantations under management on behalf of over 90 SIO investors, representing 25% of
              total plantations under its management.
              The treatment of the SIO investors under the DOCA is described at section 6.5(e) above.
              The Quintis Group considers that it is unlikely that it will offer this product in the future
              following implementation of the Scheme.


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      (c)     Managed Investment Schemes (MIS)
              Under the Quintis Group's MIS projects, the investor engages the Quintis Group to
              establish and maintain an Indian sandalwood plantation on a parcel of land they lease
              from the Quintis Group until plantation harvest. The Quintis Group charges an upfront
              one-time establishment fee and annual management and rental fees for planting and
              managing the plantations on their behalf. When MIS investors’ trees reach maturity, the
              Quintis Group harvests and processes the Indian sandalwood and then markets and sells
              the Indian sandalwood for the highest practicable price obtainable, unless the MIS
              investor has elected to collect the Indian sandalwood for its own purposes. The Quintis
              Group has the right to buy the logs from the MIS investors provided that it offers the
              highest price in the sale process.
              Fees charged by the Quintis Group have varied over time. By way of example, the most
              recent MIS project included an establishment fee, a management fee, rent, a harvesting
              and processing fee, a selling and marketing fee and an incentive fee.
              Under the MIS product, the Quintis Group offers the annual investment option and annual
              deferred investment option (see SIO section above) as well as a pre-payment option, a
              discontinued option available in earlier MIS projects under which the MIS investor pre-
              pays the entire management fee and rent at a discounted rate.
              As at 31 December 2017, the Quintis Group had 3,140 hectares of Indian sandalwood
              plantations under management on behalf of over 3,600 MIS investors, representing 24%
              of the total plantations under its management.
              The treatment of the MIS investors under the DOCA is described at section 6.5(f) above.
              As mentioned above, SPL has been replaced as the responsible entity of the 2002 TFS
              Sandalwood Project (only 8 hectares of that project remain to be harvested). A meeting
              has taken place to replace SPL as the responsible entity in respect of the 2003 TFS
              Sandalwood Project and the conduct and outcome of that meeting is being challenged by
              SPL and the Receivers.
              The Quintis Group considers that it is unlikely that it will offer this product in the future
              following implementation of the Scheme.

8.6   AFSL and Compliance Matters
      SPL holds an AFSL. Prior to its external administration, SPL was in breach of certain
      requirements of its AFSL and other compliance related obligations. It is expected that
      implementation of the Scheme and certain action planned to be taken following its
      implementation will enable SPL to remedy these breaches, including the following:
      (a)     in order to enable SPL to satisfy the 'net tangible asset' requirements under its AFSL, the
              Scheme and the New Finance Documents provide for:
              (i)       the guarantee given by SPL in its capacity as Guarantor being made limited
                        recourse by reference to the land and buildings that it owns;
              (ii)      the Security granted by SPL will be discharged (except in respect of its land and
                        buildings); and
              (iii)     SPL will pay to Quintis (Australia) all realisations from the asset represented by
                        the Accrued Income line item in the Balance Sheet of SPL for the financial year
                        ending 30 June 2018 (but no subsequent financial years), as and when the
                        realisations are made.


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      (b)          SPL will have an Independent Board and appoint a Compliance Officer to assist with the
                   rectification of existing breaches and ensure that future breaches do not occur.

8.7   Current Corporate Structure
      The Quintis Group's operations are primarily conducted through Quintis Limited's wholly-owned
      subsidiaries. The following chart shows a simplified summary of the Quintis Group's current
      corporate structure, excluding dormant entities. All entities listed below are incorporated in
      Australia, except for Santalis Healthcare and Santalis Pharmaceuticals, which are incorporated in
      Texas, USA.

                                                                Quintis Limited


                                                                                                         100% (wholly owned subsidiaries)


        Quintis       Sandalwood    Quintis     Arwon     Mt Romance        Quintis                     Santalis        Santalis
                                                                                        Fieldpark                                      Gulf Natural
        Forestry       Properties   Leasing    Finance     Holdings        Products                   Pharmaceuti      Healthcare
                                                                                         Pty Ltd                                         Supply
        Limited           Ltd       Pty Ltd    Pty Ltd      Pty Ltd          Ltd                        cals Inc      Corporation

                                                                 100%

                                                          Mt Romance
                                                           Australia
                                                            Pty Ltd

                                                                 100%
                                                           Australian
                                                          Sandalwood
                                                             Oil Co
                                                            Pty Ltd




8.8   Post-Scheme Corporate Structure
      The following chart shows a simplified summary of what the Quintis Group's corporate structure
      would look like if the Scheme is implemented.

                                                                  Equity
                                                                Noteholders

                                                                        100%

                                                              Quintis Holdco
                                                               Pty Limited

        Quintis Limited                                                 100%
       (remains subject
          to DOCA)                                                Quintis
                                                                (Australia)
                                                                Pty Limited
                                                                                                       100% (wholly owned subsidiaries)


        Quintis      Sandalwood     Quintis    Arwon     Mt Romance       Quintis                     Santalis        Santalis
                                                                                      Fieldpark                                     Gulf Natural
        Forestry      Properties    Leasing   Finance     Holdings       Products                   Pharmaceuti      Healthcare
                                                                                       Pty Ltd                                        Supply
        Limited          Ltd        Pty Ltd   Pty Ltd      Pty Ltd         Ltd                        cals Inc      Corporation

                                                               100%

                                                         Mt Romance
                                                          Australia
                                                           Pty Ltd

                                                               100%
                                                          Australian
                                                         Sandalwood
                                                            Oil Co
                                                           Pty Ltd



8.9   Directors of Quintis Holdco
      The only current director of Quintis Limited is Mr Julius Matthys.
      If the Scheme is implemented, the directors of Quintis Holdco, which will replace Quints Limited
      as the holding company of the Quintis Group, will be appointed by the Equity Noteholders in
      accordance with the terms of the Shareholders' Agreement.

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      Insofar as the broader group is concerned, the board composition of each Quintis Subsidiary will
      be a matter for Quintis Holdco to determine following implementation of the Scheme.

9     Taxation Considerations
      As the financial, legal and taxation consequences of the Scheme may be different for each
      Scheme Creditor, it is recommended that Scheme Creditors seek professional financial, legal and
      taxation advice in relation to the Scheme.

9.1   Certain Australian Tax Considerations
      Scheme Creditors should note the following matters:
      •       In circumstances where Quintis Limited's existing debt obligations under the Finance
              Documents will be assumed by Quintis (Australia), any existing section 128F exemption
              for interest on the bonds will fall away and Quintis (Australia) will be taken to have issued
              new debt to the current secured creditors. However, because the secured creditors will
              hold indirect interests in Quintis (Australia) (via their shares in Quintis Holdco), they are
              likely to be 'associates' of Quintis (Australia), in which case, it will not be possible for the
              new debt issued to secured creditors under the Scheme to comply with the section 128F
              exemption requirements. As such, interest payable to non-resident lenders on the new
              debt will be subject to interest withholding tax at the rate of 10%.
      •       Dividends paid on shares or returns on debt which is characterised for tax purposes as an
              equity interest are potentially subject to the dividend withholding tax regime:
              •       to the extent that dividends are paid out of profits which have already borne
                      corporate tax at 30%, those dividends can be fully franked and will therefore be
                      exempt from any withholding tax; and
              •       if the company pays dividends out of profits which have not borne corporate tax
                      then those unfranked dividends will be prima facie subject to dividend withholding
                      tax at 30%.
              Scheme Creditors that are tax resident in jurisdictions with which Australia has a double
              tax treaty should benefit from a reduction in the treaty rate from 30% to, typically, 15%
              (but Scheme Creditors should confirm the terms of each tax treaty relevant to them).
              Dividend withholding tax is not relevant to onshore lenders.
      •       Quintis Holdco is likely to be a foreign controlled Australian entity and the 'thin
              capitalisation' rules will be relevant to the level of tax deductible debt that the Quintis
              Group can have.

9.2   Certain U.S. Federal Income Taxation Considerations
      The following discussion is a summary of certain U.S. federal income tax consequences relevant
      to the exchange by Scheme Creditors who are U.S. Holders (defined below) of Original Notes for
      First Lien Notes or Second Lien Notes issued by Quintis (Australia) and shares issued by Quintis
      Holdco as well as the ownership and disposition of the First Lien Notes or Second Lien Notes and
      shares of Quintis Holdco by U.S. Holders. This discussion applies to U.S. Holders that hold their
      Original Notes, First Lien Notes, Second Lien Notes and shares in Quintis Holdco as capital
      assets for U.S. federal income tax purposes. This summary is based on the U.S. Internal
      Revenue Code of 1986, as amended (the “Code”), existing, temporary and proposed U.S.
      Treasury regulations issued thereunder, and administrative and judicial interpretations thereof,
      each as available and in effect on the date hereof, and all of which are subject to change,
      possibly with retroactive effect or differing interpretations that could affect the tax consequences

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     described herein. This discussion does not address all of the tax consequences that may be
     relevant to specific U.S. Holders in light of their particular circumstances or to U.S. Holders
     subject to special tax rules, such as banks, insurance companies, individual retirement and other
     tax-deferred accounts, regulated investment companies, real estate investment trusts, grantor
     trusts, traders that have elected the "mark-to-market" method of accounting, individuals who are
     former U.S. citizens or former long-term U.S. residents, dealers in securities or currencies, tax-
     exempt entities, persons subject to the alternative minimum tax, persons that hold Original Notes,
     First Lien Notes, Second Lien Notes, or shares in Quintis Holdco as a position in a straddle or as
     part of a hedging, constructive sale or conversion transaction for U.S. federal income tax
     purposes, persons that have a functional currency other than the U.S. dollar, or persons that own
     (directly, indirectly or constructively) 10% or more of Quintis (Australia)’s or Quintis Holdco’s
     equity.
     If a partnership holds Original Notes, First Lien Notes, Second Lien Notes, or shares in Quintis
     Holdco, the U.S. federal income tax treatment of a partner will generally depend on the status of
     the partner and the tax treatment of the partnership. A partner in a partnership holding such
     instruments should consult its tax adviser with regard to the U.S. federal income tax treatment of
     its investment.
     For purposes of this description, a “U.S. Holder” means a beneficial owner of Original Notes,
     First Lien Notes, Second Lien Notes, or shares in Quintis Holdco that is, for U.S. federal income
     tax purposes:
     •        an individual who is a citizen or resident of the U.S. for U.S. federal income tax purposes;
     •        a corporation, or other entity treated as a corporation for U.S. federal income tax
              purposes, created or organized in or under the laws of the U.S. or any state thereof or the
              District of Columbia;
     •        an estate the income of which is subject to U.S. federal income taxation regardless of its
              source; or
     •        a trust (i) the administration of which is subject to the primary supervision of a court in the
              U.S. and for which one or more U.S. persons have the authority to control all substantial
              decisions or (ii) that has an election in effect under applicable income tax regulations to
              be treated as a U.S. person.
     If you are not a U.S. Holder, this discussion does not apply to you.
     THE SUMMARY OF U.S. FEDERAL INCOME TAX CONSEQUENCES SET OUT BELOW IS
     FOR GENERAL INFORMATION ONLY. ALL SCHEME CREDITORS SHOULD CONSULT
     THEIR TAX ADVISERS AS TO THE PARTICULAR TAX CONSEQUENCE TO THEM OF
     EXCHANGE OF ORIGINAL NOTES FOR FIRST LIEN NOTES, SECOND LIEN NOTES, OR
     SHARES IN QUINTIS HOLDCO, INCLUDING THE APPLICABILITY AND EFFECT OF STATE,
     LOCAL, FOREIGN AND OTHER TAX LAWS AND POSSIBLE CHANGES IN TAX LAW.
     Exchange of Original Notes for Cash Payment
     Scheme Creditors will receive a Cash Payment that is equal to 30% of the face value of the
     Second Lien Notes and/or First Lien Notes (as applicable) to which a Scheme Creditor who has
     not provided the US Securities Representation to Quintis (Australia), Quintis Holdco and the New
     Guarantors by the Effective Date would otherwise have been entitled pursuant to the Scheme,
     had the US Securities Representation been made.
     If a U.S. Holder receives a Cash Payment in lieu of an ownership interest in the First Lien Notes
     or the Second Lien Notes, each such U.S. Holder generally will be treated as exchanging its
     Original Notes for cash in a taxable exchange under Section 1001 of the Code. Accordingly, in
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     such case, each U.S. Holder should recognize capital gain or loss equal to: (1) the cash received,
     minus (2) the U.S. Holder’s adjusted basis, if any, in the Original Notes surrendered in exchange
     therefor. Such gain or loss should be (subject to the “market discount” rules described below)
     long-term capital gain or loss if the holder has a holding period in the Original Notes of more than
     one year. The deductibility of capital losses is subject to significant limitations.
     Notwithstanding the general treatment described above, if a U.S. Holder receives a Cash
     Payment and a portion of such payment is allocated to accrued interest on the Original Notes that
     has not been previously included in the U.S. Holder’s gross income for U.S. federal income tax
     purposes, such amount so allocated and received should be taxable to the U.S. Holder as
     interest income.
     Exchange of Original Notes for Shares in Quintis Holdco
     If a U.S. Holder receives shares in Quintis Holdco for Original Notes, such U.S. Holder should be
     treated as exchanging its Original Notes for shares in Quintis Holdco in a taxable exchange under
     Section 1001 of the Code. Accordingly, each U.S. Holder should recognize capital gain or loss
     equal to: (1) the sum of the fair market value of the shares in Quintis Holdco minus (2) the U.S.
     Holder’s adjusted basis, if any, in the Original Notes surrendered in exchange therefor. Such gain
     or loss should be (subject to the “market discount” rules described below) long-term capital gain
     or loss if the holder has a holding period for Original Notes of more than one year. The
     deductibility of capital losses is subject to limitations. A U.S. Holder’s tax basis in the shares in
     Quintis Holdco received should equal their fair market value. A Holder’s holding period for shares
     in Quintis Holdco should begin on the day following the Effective Date. Notwithstanding the
     general treatment described above, if a U.S. Holder receives shares in Quintis Holdco that are
     allocated to accrued interest on the Original Notes that has not been previously included in the
     U.S. Holder’s gross income for U.S. federal income tax purposes, the fair market value of the
     shares so allocated and received should be taxable to the U.S. Holder as interest income.
     There is a possibility that the exchange of Original Notes for shares in Quintis Holdco will be
     treated as a tax-free exchange under Section 351 of the Code. Under Section 351, no gain or
     loss is recognized if property is transferred to a corporation by one or more persons solely in
     exchange for stock in such corporation and immediately after the exchange such person or
     persons own at least 80 percent of the total combined voting power of all classes of stock entitled
     to vote and at least 80 percent of the total number of shares of all other classes of stock of the
     corporation. Such facts could be present if, for example, a significant number of Quintis Holdco’s
     existing shares were owned by Scheme Creditors, or if a significant number of existing
     shareholders in Quintis Holdco receive shares in Quintis Holdco in exchange for Original Notes.
     However, we do not have enough information to make this determination, and noteholders are
     urged to consult their own tax adviser regarding the possibility that the exchange of Original
     Notes for shares in Quintis Holdco might be treated as a tax-free exchange under Section 351.
     Exchange of Original Notes for First Lien Notes and/or Second Lien Notes
     The U.S. federal income tax consequences to a U.S. Holder of exchanging Original Notes for
     First Lien Notes and/or Second Lien Notes will depend in part on whether the Original Notes and
     the First Lien Notes and/or Second Lien Notes exchanged therefor are treated as “securities” for
     purposes of the reorganization provisions of the Code. Whether an instrument constitutes a
     “security” is determined based on all the facts and circumstances and evaluation of the factors
     listed below, but some authorities have held that the term of a debt instrument at issuance is a
     factor in determining whether the instrument is a security for United States federal income tax
     purposes. Such authorities have indicated that a term of ten years or more is evidence that such
     debt instrument is a security. There are numerous other factors that could be taken into account
     in determining whether a debt instrument is a security, including, without limitation: (a) the
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     security for payment; (b) the creditworthiness of the obligor; (c) the subordination or lack thereof
     to other creditors; (d) the right to vote or otherwise participate in the management of the obligor;
     (e) convertibility of the instrument into stock of the obligor; (f) whether payments of interest are
     fixed, variable or contingent; and (g) whether such payments are made on a current basis or
     accrued. The discussion below summarizes each alternative with respect to the treatment of the
     First Lien Notes and Second Lien Notes.
              Treatment if the Original Notes, First Lien Notes, and Second Lien Notes Are Securities
     If the Original Notes and First Lien Notes and/or Second Lien Notes are treated as securities of
     Quintis (Australia), then the exchange of the Original Notes for First Lien Notes and/or Second
     Lien Notes should be treated as a recapitalization within the meaning of Section 368(a)(1)(E) of
     the Code, and a U.S. Holder should not recognize any gain or loss on the exchange. As a result,
     the recognition of a gain or loss, if any, with respect to the Original Notes will be deferred until the
     sale or other taxable disposition of the First Lien Notes and/or Second Lien Notes. See
     “Consequences of Holding and Disposing of First Lien Notes and/or Second Lien Notes —
     Disposition” below. The aggregate adjusted tax basis of the First Lien Notes and/or Second Lien
     Notes received should initially be equal to the aggregate tax basis of the Original Notes
     surrendered and should be allocated among such First Lien Notes and/or Second Lien Notes
     based on their relative fair market values. The holding period for the First Lien Notes and/or
     Second Lien Notes received should include the holding period for the Original Notes exchanged
     therefor.
              Treatment if the Original Notes, First Lien Notes, and Second Lien Notes Are Not
              Securities
     If the Original Notes or First Lien Notes and/or Second Lien Notes are not treated as securities,
     each U.S. Holder will be treated as exchanging its Original Notes for First Lien Notes and/or
     Second Lien Notes in a taxable exchange under Section 1001 of the Code. Accordingly, in such
     case, each U.S. Holder should recognize capital gain or loss equal to: (1) the issue price (as
     described below) of the First Lien Notes and/or Second Lien Notes received, minus (2) the U.S.
     Holder’s adjusted basis, if any, in the Original Notes surrendered in exchange therefor. Such gain
     or loss should be (subject to the “market discount” rules described below) long-term capital gain
     or loss if the holder has a holding period for Original Notes of more than one year. The
     deductibility of capital losses is subject to limitations. U.S. Holder’s tax basis in the First Lien
     Notes or Second Lien Notes should initially be the issue price thereof. A Scheme Creditor’s
     holding period for First Lien Notes and/or Second Lien Notes should begin on the day following
     the Effective Date.
              Accrued but Unpaid Interest
     To the extent U.S. Holders receive any of First Lien Notes and/or Second Lien Notes on the
     Effective Date in an amount that is allocable to the accrued but unpaid interest on their Original
     Notes as of such date, such amount so allocated and received should be taxable to a U.S. Holder
     as interest income if such accrued interest has not been previously included in its gross income
     for U.S. federal income tax purposes.
              Market Discount
     If a U.S. Holder purchased the Original Notes at a price lower than the principal amount thereof
     by more than a de minimis amount (i.e., if a U.S. Holder held the Original Notes with market
     discount) and did not elect to currently include market discount in income, then a portion of any
     gain recognized as a result of the exchange will be taxed as ordinary income to the extent of the
     accrued market discount on the Original Notes. Noteholders are urged to consult their own tax


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     adviser as to the applicability of the provisions of Sections 1276 through 1278 of the Code to their
     particular circumstances.
     Consequences of Holding and Disposing of First Lien Notes and/or Second Lien Notes
              Payments of Interest
     Generally, the amount of any interest payments on a note will be taxable to a U.S. Holder as
     ordinary interest income at the time such payments are received or accrued in accordance with
     the U.S. Holder’s method of accounting for U.S. federal income tax purposes.
              Original Issue Discount
     Both the First Lien Notes and/or Second Lien Notes will be issued with an option, in the Issuer’s
     discretion to be exercised in connection with each interest payment (First Lien Notes) or some
     interest payments (Second Lien Notes), to pay interest in kind (i.e., to issue PIK Notes).
     Accordingly, the First Lien Notes and Second Lien Notes are likely to be treated as being issued
     with “original issue discount” (“OID”) for U.S. federal income tax purposes. The Code provides
     generally that the gross income of the holder of a debt instrument having OID includes an amount
     equal to the sum of the daily portions of the OID for each day during the tax year on which the
     holder held the debt instrument.
     Original issue discount is defined in the Code as the excess of a debt instrument’s “stated
     redemption price at maturity” over its “issue price.” Stated redemption price at maturity is defined
     as the sum of all payments provided by the debt instrument other than “qualified stated interest.”
     Qualified stated interest is defined as stated interest that is unconditionally payable in cash or in
     property (other than debt instruments of the issuer) at least annually at a single fixed rate.
     Whether a debt instrument that has alternative payment schedules (because, for example, the
     issuer has an unconditional option, exercisable on one or more dates during the term of the debt
     instrument, to make a payment in kind rather than a payment of interest) provides for qualified
     stated interest is made by analysing each alternative payment schedule (i.e., the stated cash
     payment schedule and the alternate payment in kind schedule) as if it were the debt instrument's
     sole payment schedule. Under this analysis, the debt instrument provides for qualified stated
     interest to the extent of the lowest fixed rate at which qualified stated interest would be payable
     under any payment schedule. Accordingly, because a payment of PIK Notes cannot constitute
     qualified stated interest and because the notes allow the Issuer the option of making payment in
     PIK Notes for at least some years (meaning that the holders would not receive cash or other
     qualifying property in such years), it is likely that neither the First Lien Notes nor the Second Lien
     Notes will have any qualified stated interest and the entire difference between each note’s stated
     redemption price at maturity and such note’s issue price will constitute OID.
     The issue price of a debt instrument depends upon whether the debt instrument is issued for
     money or property and, in the latter case, whether there is public trading of either the debt
     instrument or the property (if any) exchanged for the debt instrument. If a substantial amount of
     the debt instruments in an issue is issued for money, the issue price of each debt instrument in
     the issue is the first price at which a substantial amount of the debt instruments is sold for money.
     For these purposes, the relevant issue date is the first settlement date or closing date, whichever
     is applicable, on which a substantial amount of the debt instruments in the issue is sold for
     money. In a circumstance where a new debt instrument that is not “publicly traded” is issued in
     exchange for property (such as another debt instrument) that is treated as “publicly traded,” the
     issue price of the new debt instrument will be the fair market value of the exchanged, publicly
     traded property, determined as of the first date on which a substantial amount of the new debt
     instruments are issued for the publicly traded property. If there is no public trading of either the
     debt instrument or the exchanged property, and the debt instrument is issued with “adequate

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     stated interest,” the issue price equals the “stated principal amount” of the debt instrument. The
     stated principal amount of a debt instrument is the aggregate amount of all payments due under
     the debt instrument, excluding any amount of stated interest. If the debt instrument does not
     have adequate stated interest, then the issue price shall be the “imputed principal amount” of the
     instrument. There is adequate stated interest with respect to any debt instrument if the stated
     principal amount for such debt instrument is less than or equal to the imputed principal amount of
     such debt instrument. The imputed principal amount of any debt instrument means the sum of
     the present values (determined as of the date of the sale or exchange of the debt instrument and
     by using a discount rate equal to the applicable Federal rate, compounded semi-annually) of all
     payments, including payments of stated interest, due under the debt instrument. Where a debt
     instrument is subject to the issuer’s option to make payments in kind rather than one or more
     payments of interest, special rules apply to the determination of issue price. Under these rules,
     the issuer will be deemed to exercise or not exercise an option or combination of options in a
     manner that minimizes the instrument's imputed principal amount.
     Assuming that the First Lien Notes and Second Lien Notes will be issued with more OID than the
     OID de minimis amount (i.e., an amount of OID that is less than an amount equal to 0.0025
     multiplied by the product of the stated redemption price at maturity and the number of complete
     years to maturity from the issue date), a U.S. Holder may be required to include OID in gross
     income before it receives the associated cash payment, regardless of the U.S. holder’s
     accounting method for U.S. federal income tax purposes. In that case, the amount of the OID a
     U.S. Holder should include in gross income is generally the sum of the daily accruals of the OID
     for the note for each day during the taxable year (or portion of the taxable year) on which the U.S.
     Holder held the note. The daily portion is determined by allocating the OID to each day of the
     accrual period. An accrual period may be of any length and the accrual periods may vary in
     length over the term of the note, provided that each accrual period is no longer than one year and
     each scheduled payment of principal or interest occurs either on the first day of an accrual period
     or on the final day of an accrual period. For both the First Lien Notes and Second Lien Notes, the
     accrual periods will likely be the period between the semi-annual payment dates.
     The amount of OID allocable to an accrual period is equal to the difference between (1) the
     product of the “adjusted issue price” of the note at the beginning of the accrual period and its
     “yield to maturity” and (2) the amount of any qualified stated interest allocable to the accrual
     period. The adjusted issue price of a note at the beginning of any accrual period is the sum of the
     issue price of the note plus the amount of OID allocable to all prior accrual periods reduced by
     any payments received on the note that were not qualified stated interest. As observed above, it
     is likely that neither the First Lien Notes nor the Second Lien Notes will have any qualified stated
     interest and the entire difference between each note’s stated redemption price at maturity and
     such note’s issue price will constitute OID. The yield to maturity of a debt instrument generally is
     the discount rate that, when used in computing the present value of all principal and interest
     payments to be made under the debt instrument, produces an amount equal to the issue price of
     the debt instrument. The yield must be constant over the term of the debt instrument. Special
     rules apply, however, to the determination of the yield and maturity of debt instruments, (such as
     the First Lien Notes and Second Lien Notes) where the issuer holds an unconditional option to
     make a payment in kind in lieu of one or more stated interest payments. Under these rules, an
     issuer with such an unconditional option is deemed to exercise or not exercise an option or
     combination of options in a manner that minimizes the yield on the debt instrument. If exercise of
     an option would not decrease the yield, it is also presumed not exercised. Consistent with these
     rules, the yield and maturity of the First Lien Notes and Second Lien Notes will likely be
     determined based upon the assumption that Issuer will not exercise its option to pay interest in
     kind. If, contrary to these Treasury Regulation-mandated assumption, the Issuer does make a

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     payment in kind, then at the time of the issuance of the PIK Notes and solely for purposes of
     computing OID, the relevant First Lien Note or Second Lien Note will be considered retired and
     reissued from the date of the change in circumstances and OID will be recomputed going
     forward.
     Under the applicable U.S. Treasury Regulations, a U.S. Holder of a note with OID may elect to
     include in gross income all interest that accrues on the note using the constant yield method.
     Once made with respect to a new note, the election cannot be revoked without the consent of the
     Internal Revenue Service (“IRS”). A U.S. Holder considering an election under these rules should
     consult its tax adviser.
     Interest and any OID included in a U.S. Holder’s gross income with respect to the First Lien Notes
     and/or Second Lien Notes will be treated as foreign source income for U.S. federal income tax
     purposes, including U.S. foreign tax credit limitation purposes. The limitation on foreign taxes
     eligible for the U.S. foreign tax credit is calculated separately with respect to specific “baskets” of
     income. For this purpose, interest and any OID on the notes should generally constitute “passive
     category income,” or in the case of certain U.S. Holders, “general category income.” As an
     alternative to the foreign tax credit, a U.S. Holder may elect to deduct such taxes (the election
     would then apply to all foreign income taxes such U.S. Holder paid in that taxable year). The rules
     relating to foreign tax credits and the timing thereof are complex and a U.S. Holder should consult
     its own tax advisers regarding the availability of a foreign tax credit and the application of the
     foreign tax credit limitations to its particular situation.
     Certain U.S. Holders will receive IRS Forms 1099-OID, which report interest accruals on their
     First Lien Note and/or Second Lien Note. Those forms will not, however, reflect the effect of any
     positive or negative adjustments resulting from such U.S. Holders’ purchase of the First Lien Note
     and/or Second Lien Note in the remarketing at a price that differs from its adjusted issue price on
     the date of purchase. U.S. Holders are urged to consult their tax advisors as to whether, and how,
     such adjustments should be made to the amounts reported on any IRS Form 1099-OID.
              Disposition
     A U.S. Holder will ordinarily recognize gain or loss on the sale, exchange, redemption or other
     disposition of a First Lien Note and/or Second Lien Note in an amount equal to the difference, if
     any, between the amount realized (less any accrued but unpaid interest, which will be taxable as
     such) and the U.S. Holder's adjusted tax basis in the First Lien Note and/or Second Lien Note. A
     U.S. Holder's adjusted tax basis in a First Lien Note and/or Second Lien Note generally will be the
     holder’s initial basis in that First Lien Note and/or Second Lien Note (determined as discussed
     above under “Exchange of Original Notes for First Lien Notes and/or Second Lien Notes” and
     “Exchange of Original Notes for Shares in Quintis Holdco”), increased by the amount of interest
     previously accrued with respect to the First Lien Notes and/or Second Lien Notes, increased or
     decreased by the amount of any positive or negative adjustments that the U.S. Holder was
     required to make with respect to the First Lien Notes and/or Second Lien Notes as a result of
     having purchased the First Lien Notes and/or Second Lien Notes for an amount that differs from
     their adjusted issue price, and decreased by the amount of any non-contingent payments and the
     projected amount of any contingent payments received with respect to the First Lien Notes and/or
     Second Lien Notes.
     Any gain recognized upon the sale, exchange, redemption or maturity of the First Lien Notes
     and/or Second Lien Notes will generally be ordinary income. Any loss recognized will generally
     be ordinary loss to the extent the interest included as income in the current or previous taxable
     years in respect of the First Lien Notes and/or Second Lien Notes exceeded the total net negative
     adjustments taken into account as ordinary loss, and thereafter will be U.S. source long-term

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     capital loss if the U.S. Holder's holding period in the First Lien Notes and/or Second Lien Notes is
     more than one year at the time of disposition. The deductibility of capital losses is subject to
     significant limitations.
              Premium and Market Discount if First Lien Notes and/or Second Lien Notes Are Issued in
              a Carryover Basis Transaction
     As discussed above, if the First Lien Notes and/or Second Lien Notes are treated as acquired in a
     recapitalization within the meaning of Section 368(a)(1)(E) of the Code, a U.S. Holder’s tax basis
     in its First Lien Notes and/or Second Lien Notes will be determined by reference to that holder’s
     tax basis in the Original Notes that were surrendered, and therefore may not be equal to the
     principal amount of the First Lien Notes and/or Second Lien Notes or the issue price of the First
     Lien Notes and/or Second Lien Notes. If a U.S. Holder’s adjusted tax basis in the First Lien Notes
     and/or Second Lien Notes is greater than or equal to the principal amount of the notes, then such
     U.S. Holder would not include any OID that may accrue on the First Lien Notes and/or Second
     Lien Notes in income. If a U.S. Holder’s adjusted tax basis in the First Lien Notes and/or Second
     Lien Notes is less than or equal to the principal amount of the First Lien Notes and/or Second
     Lien Notes but greater than the issue price of such notes, the excess of the U.S. Holder’s basis in
     the First Lien Notes and/or Second Lien Notes over the issue price of the First Lien Notes and/or
     Second Lien Notes would be treated as “acquisition premium”, which would reduce the amount of
     OID that U.S. Holder would be required to include in income.
     If a U.S. Holder acquired the Original Notes with market discount and (i) the First Lien Notes
     and/or Second Lien Notes are not treated as issued with OID and the U.S. Holder’s initial tax
     basis in the First Lien Notes and/or Second Lien Notes is less than the principal amount of the
     First Lien Notes and/or Second Lien Notes, or (ii) the First Lien Notes and/or Second Lien Notes
     are treated as issued with OID and the U.S. Holder’s initial tax basis in the First Lien Notes and/or
     Second Lien Notes is less than the issue price of such notes, in each case by more than a de
     minimis amount, then such difference will be treated as market discount on the First Lien Notes
     and/or Second Lien Notes, which will accrue rateably from the time of the exchange acquisition to
     the maturity date of the First Lien Notes and/or Second Lien Notes (unless the holder elects to
     accrue on a constant yield method). The U.S. Holder will be required to treat any gain on the sale,
     exchange or other taxable disposition of the First Lien Notes and/or Second Lien Notes as
     ordinary income to the extent of the market discount that is treated as having accrued on the First
     Lien Notes and/or Second Lien Notes at the time of the sale, exchange or other taxable
     disposition, and which has not previously been included in income. In addition, the U.S. Holder
     may be required to defer, until the maturity of the First Lien Notes and/or Second Lien Notes or
     their earlier disposition in a taxable transaction, the deduction of all or a portion of the interest
     expense on any indebtedness attributable to the First Lien Notes and/or Second Lien Notes. A
     U.S. Holder may elect to include market discount in income currently as it accrues, on either a
     ratable or constant yield method, in which case the rules described above regarding the treatment
     of gain to the extent of market discount and the deferral of interest deductions will not apply.
     As discussed above, if the First Lien Notes and/or Second Lien Notes as considered received in a
     recapitalization within the meaning of Section 368(a)(1)(E) of the Code, any accrued market
     discount on a U.S. Holder’s Original Notes will be treated as accrued market discount on the First
     Lien Notes and/or Second Lien Notes. Currently, no legal authority directly addresses the method
     pursuant to which a U.S. Holder should accrue market discount on First Lien Notes and/or
     Second Lien Notes that have both accrued market discount carried over from the Original Notes
     in this manner (the “Carryover Market Discount”) and unaccrued new market discount determined
     pursuant to the rules in the immediately preceding paragraph (“Unaccrued Market Discount”).
     One possible method for accrual is for the U.S. Holder to treat the Carryover Market Discount as

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     the initial amount of accrued market discount on the First Lien Notes and/or Second Lien Notes
     as of the date of the Deemed Exchange, and accrue the excess of Unaccrued Market Discount
     over the Carryover Market Discount over the life of the First Lien Notes and/or Second Lien Notes
     ratably (or if the U.S. Holder elects, using a constant yield method). Under this method, if the
     Carryover Market Discount exceeds the Unaccrued Market Discount on the U.S. Holder’s First
     Lien Notes and/or Second Lien Notes, the U.S. Holder would not accrue any additional market
     discount on the First Lien Notes and/or Second Lien Notes. In this scenario, a U.S. Holder that
     holds the First Lien Notes and/or Second Lien Notes to maturity generally would not recognize
     any “extra” ordinary income as a result of the Carryover Market Discount exceeding the
     Unaccrued Market Discount, because under the market discount rules, gain is subject to
     characterization as ordinary income only to the extent that the gain is actually recognized.
     However, no legal authority directly discusses how to accrue market discount on the First Lien
     Notes and/or the Second Lien Notes that have both Carryover Market Discount and Unaccrued
     Market Discount, and alternative methods may be applicable. There is no guarantee that the IRS
     or a court would agree with the method described in the immediately preceding paragraph, and
     the IRS could assert, or a court could sustain, a position that one of the other methods should
     apply. Given the substantial uncertainty on this issue, U.S. Holders that hold First Lien Notes
     and/or Second Lien Notes with both Carryover Market Discount and Unaccrued Market Discount
     are strongly encouraged to consult their tax advisers regarding the method pursuant to which
     such holder should accrue market discount on the First Lien Notes and/or Second Lien Notes.
     Consequences of Holding and Disposing Shares in Quintis Holdco
              Distributions
     Subject to the discussion below under “Passive Foreign Investment Company Considerations,” a
     U.S. Holder that receives a distribution with respect to shares in Quintis Holdco generally will be
     required to include the U.S. dollar value of the gross amount of such distribution (before reduction
     for any Australian withholding taxes) in gross income as a dividend when actually or
     constructively received to the extent of the U.S. Holder’s pro-rata share of Quintis Holdco 's
     current and/or accumulated earnings and profits (as determined under U.S. federal income tax
     principles). To the extent a distribution received by a U.S. Holder is not a dividend because it
     exceeds the U.S. Holder’s pro-rata share of Quintis Holdco's current and accumulated earnings
     and profits, the distribution will be treated first as a tax-free return of capital and reduce (but not
     below zero) the adjusted tax basis of the U.S. Holder’s ordinary shares. To the extent the
     distribution exceeds the adjusted tax basis of the U.S. Holder’s ordinary shares, the remainder
     will be taxed as capital gain. Notwithstanding the foregoing, Quintis Holdco may not currently or
     prospectively maintain calculations of its current and accumulated earnings and profits in
     accordance with U.S. federal income tax principles. Therefore, U.S. holders may be required to
     treat any distributions received from Quintis Holdco as dividends.
     The U.S. dollar value of any distribution on ordinary shares paid in Australian dollars, including
     any Australian withholding taxes, should be calculated by reference to the exchange rate in effect
     on the date of the actual or constructive receipt of such distribution, regardless of whether the
     Australian dollars are converted into U.S. dollars at that time. If Australian dollars are converted
     into U.S. dollars on the date of actual or constructive receipt of the distribution, the tax basis of
     the U.S. Holder in those Australian dollars will be equal to their U.S. dollar value on that date and,
     as a result, a U.S. Holder generally should not be required to recognize any foreign exchange
     gain or loss. If Australian dollars so received are not converted into U.S. dollars on the date of
     actual or constructive receipt, the U.S. Holder will have a basis in the Australian dollars equal to
     their U.S. dollar value on the date of receipt. Any gain or loss on a subsequent conversion or
     other disposition of the Australian dollars generally will be treated as ordinary income or loss to
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     such U.S. Holder and generally such gain or loss will be income or loss from sources within the
     U.S. for U.S. foreign tax credit limitation purposes.
     Subject to the passive foreign investment company rules, certain distributions treated as
     dividends that are received by non-corporate U.S. Holders from a “qualified foreign corporation”
     generally qualify for a 20% reduced maximum tax rate so long as certain holding period and other
     requirements are met. A non-U.S. corporation (other than a corporation that is treated as a
     passive foreign investment company for the taxable year in which the dividend is paid or the
     preceding taxable year) generally will be considered to be a qualified foreign corporation (i) if it is
     eligible for the benefits of a comprehensive tax treaty with the U.S. which the Secretary of
     Treasury of the U.S. determines is satisfactory for purposes of this provision and which includes
     an exchange of information program, or (ii) with respect to any dividend it pays on stock which is
     readily tradable on an established securities market in the U.S. We expect Quintis Holdco to be
     considered a qualified foreign corporation with respect to its shares because we believe it is
     eligible for the benefits under the Double Taxation Convention between Australia and the U.S.
     Accordingly,
     dividends paid by Quintis Holdco should generally be eligible for the reduced income tax rate.
     However, the determination of whether a dividend qualifies for the preferential tax rates must be
     made at the time the dividend is paid. U.S. Holders should consult their own tax advisers.
     The additional 3.8% “net investment income tax” (“NIIT”) (described below) may apply to
     dividends received by certain U.S. Holders who meet certain modified adjusted gross income
     thresholds.
     Dividends received by a U.S. Holder with respect to ordinary shares will be treated as foreign
     source income, which may be relevant in calculating the holder’s foreign tax credit limitation. The
     limitation on foreign taxes eligible for credit is calculated separately with respect to specific
     classes of income. For these purposes, dividends will be categorized as “passive” or “general”
     income depending on a U.S. Holder’s circumstance.
     Subject to certain complex limitations, a U.S. Holder generally will be entitled, at its option, to
     claim either a credit against its U.S. federal income tax liability or a deduction in computing its
     U.S. federal taxable income in respect of any Australian taxes withheld by Quintis Holdco. If a
     U.S. Holder elects to claim a deduction, rather than a foreign tax credit, for Australian taxes
     withheld for a particular taxable year, the election will apply to all foreign taxes paid or accrued by
     or on behalf of the U.S. Holder in the particular taxable year.
     The availability of the foreign tax credit and the application of the limitations on its availability are
     fact-specific. You are urged to consult your own tax adviser as to the consequences of Australian
     withholding taxes and the availability of a foreign tax credit or deduction.
              Sale, Exchange, or Other Taxable Disposition of Shares in Quintis Holdco
     Subject to the passive foreign investment company rules, discussed below, a U.S. Holder
     generally will, for U.S. federal income tax purposes, recognize capital gain or loss on a sale,
     exchange or other disposition of shares in Quintis Holdco equal to the difference between the
     amount realized on the disposition and the U.S. Holder’s tax basis in the shares. This gain or loss
     recognized on a sale, exchange or other disposition of shares in Quintis Holdco generally will be
     long-term capital gain or loss
     if the U.S. Holder has held the shares for more than one year. Generally, for U.S. Holders who
     are individuals (as well as certain trusts and estates), long-term capital gains are subject to U.S.
     federal income tax at preferential rates. For foreign tax credit limitation purposes, gain or loss
     recognized upon a disposition generally will be treated as from sources within the U.S. The

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     deductibility of capital losses is subject to limitations for U.S. federal income tax purposes. You
     should consult your own tax adviser regarding the availability of a foreign tax credit or deduction
     in respect of any Australian tax imposed on a sale or other disposition of shares in Quintis
     Holdco.
              Passive Foreign Investment Company Considerations
     The Code provides special, generally adverse, rules regarding certain distributions received by
     U.S. Holders with respect to, and sales, exchanges and other dispositions, including pledges, of
     shares of
     stock of, a passive foreign investment company, or “PFIC”. A foreign corporation will be treated
     as a PFIC for any taxable year if at least 75% of its gross income for the taxable year is passive
     income or at least 50% of its gross assets during the taxable year, based on a quarterly average
     and generally by value, produce or are held for the production of passive income. Passive income
     for this purpose generally includes, among other things, dividends, interest, rents, royalties, gains
     from commodities and securities transactions and gains from assets that produce passive
     income. In determining whether a foreign corporation is a PFIC, a pro-rata portion of the income
     and assets of each corporation in which it owns, directly or indirectly, at least a 25% interest (by
     value) is taken into account.
     Although it is unlikely that Quintis Holdco is or will be considered a PFIC, the determination of
     whether or not Quintis Holdco is a PFIC is a factual determination that must be determined
     annually at the close of each taxable year. Thus, PFIC status is a fact-intensive determination
     made on an annual basis, and no assurance can be given that Quintis Holdco is not or will not
     become a PFIC. Quintis Holdco's U.S. counsel expresses no opinion with respect to its PFIC
     status in any prior taxable year or the current taxable year ending December 31, 2018 and also
     expresses no opinion with respect to Quintis Holdco's predictions regarding its PFIC status in the
     future.
     If Quintis Holdco is a PFIC for any taxable year during which a U.S. Holder holds ordinary shares,
     any “excess distribution” that the holder receives and any gain realized from a sale or other
     disposition (including a pledge) of such ordinary shares will be subject to special tax rules, unless
     the holder makes a mark-to-market election or qualified electing fund election, as discussed
     below. Any distribution in a taxable year that is greater than 125% of the average annual
     distribution received by a U.S. Holder during the shorter of the three preceding taxable years or
     such holder’s holding period for the ordinary shares will be treated as an excess distribution.
     Under these special tax rules:
     •        the excess distribution or gain will be allocated ratably over the U.S. Holder’s holding
              period for the ordinary shares;
     •        the amount allocated to the current taxable year, and any taxable year prior to the first
              taxable year in which we were a PFIC, will be treated as ordinary income; and
     •        the amount allocated to each other year will be subject to income tax at the highest rate
              in effect for that year and the interest charge generally applicable to underpayments of
              tax will be imposed on the resulting tax attributable to each such year;
     The tax liability for amounts allocated to years prior to the year of disposition or excess
     distribution cannot be offset by any net operating loss, and gains (but not losses) realized on the
     transfer of the ordinary shares cannot be treated as capital gains, even if the ordinary shares are
     held as capital assets. In addition, individual shareholders will be denied a “step up” in the tax
     basis of any shares in a PFIC at death.


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     If Quintis Holdco is a PFIC for any taxable year during which any of its non-U.S. subsidiaries is
     also a PFIC, a U.S. Holder of ordinary shares during such year would be treated as owning a
     proportionate amount (by value) of the shares of the lower-tier PFIC for purposes of the
     application of these rules to such subsidiary. You should consult your tax advisers regarding the
     tax consequences if the PFIC rules apply to any of Quintis Holdco's subsidiaries.
     If a U.S. Holder owns ordinary shares during any year in which Quintis Holdco is a PFIC, the U.S.
     Holder generally will be required to file an IRS Form 8621 (Information Return by a Shareholder
     of a Passive Foreign Investment Company or Qualified Electing Fund) with respect to Quintis
     Holdco, generally with the U.S. Holder’s federal income tax return for that year. U.S. Holders
     should consult their tax advisers regarding whether Quintis Holdco is a PFIC and the potential
     application of the PFIC rules.
     A U.S. Holder may avoid some of the adverse tax consequences of owning shares in a PFIC by
     making a “qualified electing fund” election. However, the availability of this election with respect to
     Quintis Holdco's ordinary shares requires that Quintis Holdco provide information to shareholders
     making the election. If Quintis Holdco is or becomes a PFIC, Quintis Holdco may not be able to
     provide U.S. Holders with the information necessary to make or maintain a qualified electing fund
     election. U.S. holders will, therefore, not be able to make a “qualified electing fund” election with
     respect to their ordinary shares.
     Alternatively, a U.S. Holder owning "marketable stock" in a PFIC may make a mark-to-market
     election to elect out of the tax treatment discussed above. If a valid mark-to-market election for
     the ordinary shares is made, the electing U.S. Holder will include in income each year an amount
     equal to the excess, if any, of the fair market value of the ordinary shares as of the close of the
     holder’s taxable year over the adjusted basis in such ordinary shares. The U.S. Holder is allowed
     a deduction for the excess, if any, of the adjusted basis of the ordinary shares over their fair
     market value as of the close of the holder’s taxable year. Deductions are allowable, however, only
     to the extent of any net mark-to-market gains on the ordinary shares included in the U.S. Holder’s
     income for prior taxable years. Amounts included in the U.S. Holder’s income under a mark-to-
     market election, as well as gain on the actual sale or other disposition of the ordinary shares, are
     treated as ordinary income. Ordinary loss treatment also applies to the deductible portion of any
     mark-to-market loss on the ordinary shares, as well as to any loss realized on the actual sale or
     disposition of the ordinary shares, to the extent the amount of such loss does not exceed the net
     mark-to-market gains previously included for such ordinary shares. The tax basis in the ordinary
     shares will be adjusted to reflect any such income or loss amounts. A mark-to-market election will
     be effective for the taxable year for which the election is made and all subsequent taxable years
     unless the ordinary shares are no longer regularly traded on an applicable exchange or the IRS
     consents to the revocation of the election.
     As noted above, a mark-to-market election is available only for “marketable stock”. For this
     purpose, “marketable stock” is stock which is regularly traded on (i) a national securities
     exchange that is registered with the U.S. Securities and Exchange Commission, (ii) NASDAQ, or
     (iii) an exchange or market that has certain rules described in Treasury regulations sufficient to
     ensure that the market price represents a legitimate and sound fair market value. There is
     currently no guidance as to whether any particular non-U.S. exchange satisfies these rules. U.S.
     Holders are urged to contact their own tax advisers regarding the determination of whether
     Quintis Holdco is a PFIC (including whether the mark-to-market election is available) and the tax
     consequences of such status.
     In addition to the above, notwithstanding any election that is made with respect to ordinary
     shares, dividends received from Quintis Holdco will not constitute qualified dividend income if


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     Quintis Holdco is a PFIC (or is treated as a PFIC with respect to a U.S. holder) either in the
     taxable year of the distribution or in a preceding taxable year.
     Net Investment Income Tax and Certain Reporting Obligations
     Certain U.S. Holders that are individuals, estates or trusts will be subject to the additional 3.8%
     NIIT on, among other things, certain interest income and net gains from the disposition of
     property, such as the First Lien Notes and/or Second Lien Notes, Original Notes, and shares in
     Quintis Holdco, less certain deductions. U.S. Holders that are individuals, estates or trusts should
     consult their tax advisers regarding the effect, if any, of this NIIT on their ownership and
     disposition of the First Lien Notes and/or Second Lien Notes, Original Notes, and shares in
     Quintis Holdco.
     Individuals who are U.S. Holders, and who hold “specified foreign financial assets” (as defined in
     section 6038D of the Code), including debt or ordinary shares of a non-U.S. corporation that are
     held for investment and not held in an account maintained by a U.S. “financial institution” (as
     defined in section 6038D of the Code), whose aggregate value exceeds US$50,000 during the
     tax year, may be required to attach to their tax returns for the year certain specified information.
     An individual who fails to timely furnish the required information may be subject to a penalty.
     Additionally, in the event a U.S. Holder does not file the required information, the statute of
     limitations may not close before such information is filed. Under certain circumstances, an entity
     may be treated as an individual for purposes of the foregoing rules.
     Information Reporting and Backup Withholding
     Information reporting requirements generally apply in connection with payments on the Original
     Notes and First Lien Notes and/or Second Lien Notes to, and proceeds from a sale or other
     disposition of Original Notes and First Lien Notes and/or Second Lien Notes by, non-corporate
     U.S. Holders. A U.S. Holder will be subject to backup withholding tax (currently at a 24% rate) on
     such payments and proceeds if the U.S. Holder fails to provide its correct taxpayer identification
     number to the paying agent in the manner required under U.S. federal income tax law, fails to
     comply with applicable backup withholding tax rules or does not otherwise establish an exemption
     from backup withholding. Any amounts withheld under the backup withholding rules will entitle
     that U.S. Holder to a credit against that U.S. Holder’s U.S. federal income tax liability and may
     entitle that U.S. Holder to a refund, provided that the required information is timely and properly
     furnished to the IRS.
     U.S. Holders should consult their tax advisors regarding the application of backup withholding in
     their particular situation, the availability of an exemption from backup withholding and the
     procedure for obtaining such an exemption, if available.
     The above summary is not intended to constitute a complete analysis of all tax
     consequences relating to the exchange of the Original Notes for First Lien Notes and/or
     Second Lien Notes or shares in Quintis Holdco.
     Scheme Creditors should consult their own tax advisers concerning the tax consequences
     of exchanging the Original Notes for First Lien Notes and/or Second Lien Notes or shares
     in Quintis Holdco in light of their particular circumstances, including the application of the
     U.S. federal income tax considerations discussed above, as well as the application of
     state, local, foreign or other laws.




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10        Proforma Balance Sheet
The balance sheet below shows a comparison of the balance sheet for the Quintis Group as at 31 August
2018 prior to and following implementation of the Scheme. The purpose of this balance sheet is to
demonstrate how the financial position of the Quintis Group will be affected by the Scheme.

Quintis Group - Proforma balance sheet

                                                           Pre-recap    Post-recap
A$'000                                                     31-Aug-18    31-Aug-18
Current assets
Cash and cash equivalents                                     14,611       131,517
Trade and other receivables                                     5,062        5,062
Inventories                                                   31,465        31,465
Biological assets                                                   -             -
Other financial assets                                          3,557        3,557
Total current assets                                          54,695      171,601
Non-current assets
Trade and other receivables                                   56,086        56,086
Other financial assets                                        11,832        11,832
Property plant and equipment                                 126,927       126,927
Biological assets                                            553,437       553,437
Intangible assets and goodwill                               115,957       115,957
Contingent assets                                             25,000              -
Total non-current assets                                     889,239      864,239
Total assets                                                 943,934     1,035,840
Current liabilities
Trade and other payables                                      (8,477)       (6,730)
Provisions                                                    (2,635)       (1,893)
Unearned income                                              (16,384)     (16,384)
Total current liabilities                                    (27,497)     (25,007)
Non-current liabilities
Provisions                                                   (22,131)     (22,131)
Financial liabilities - Other                               (124,305)    (124,305)
Financial liabilities - Senior secured notes (existing)     (373,333)             -
Financial liabilities - Interest on senior secured notes     (54,703)             -
Financial liabilities - Senior secured notes (1st lien)             -    (196,000)
Financial liabilities - Senior secured notes (2nd lien)             -    (246,667)
Deferred tax liabilities                                     (36,596)             -
Unearned income                                               (3,309)       (3,309)
Contingent liabilities                                      (125,429)             -
Total non-current liabilities                               (739,807)    (592,412)
Total liabilities                                           (767,304)    (617,419)
Net assets                                                   176,630      418,421

Source: Management accounts for Aug-18 and adjustments

Note: the biological assets valuation is based on the assumptions reflected in the FY17 audited financial
accounts. Quintis (Australia) and its auditors will review the assumptions at the time of preparing the
FY18 accounts.
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11     Additional Information

11.1   Material interests of current directors
       Except as disclosed below, as at the date of this Explanatory Statement, no director of a Scheme
       Company has any interest, whether as a director, member or creditor of the Scheme Company or
       otherwise, that is material in relation to the Scheme, and the Scheme has no effect on the
       interests of any director of a Scheme Company that is different to the effect on the like interests of
       other persons.
       None of the Scheme Companies currently has a director other than Mr Julius Matthys (who is a
       director of each of the Scheme Companies other than SPL). Mr Julius Matthys discloses the
       following interests:
       (a)     1.33 hectares in the following MIS projects:
               (i)       TFS 2003 - 0.33 hectares;
               (ii)      Premium 2004 - 1 hectare; and
       (b)     3,348,118 Quintis Limited shares.
       If the Scheme is implemented, the Scheme Companies will release each person who was at the
       Appointment Date a Director of a Scheme Company and who remains a Director of a Scheme
       Companies as at the Effective Date from any Claim except to the extent the relevant person has
       engaged in fraud or wilful misconduct or been reckless or grossly negligent (but no release shall
       be given in respect of any person who ceased to be a director of a Scheme Company prior to the
       Appointment Date).

11.2   Material interests of Scheme Administrators
       The Scheme Administrators will be entitled to remuneration for their services. The hourly rates
       which will apply for the Scheme Administrators' services are set out at Schedule 17 of the
       Scheme.

11.3   Expected dividend if Scheme was implemented as proposed
       The information in respect of each Scheme Company that is required by paragraph 8201(b) of
       Part 2 of Schedule 8 to the Corporations Regulations is set out in the Expert Report (see
       Schedule 2).

11.4   Expected dividend if Scheme Companies were wound up in 6 months
       The information in respect of each Scheme Company that is required by paragraph 8201(a) of
       Part 2 of Schedule 8 of the Corporations Regulations is set out in the Expert Report (see
       Schedule 2).

11.5   Names of all known creditors, guaranteed creditors and internal creditors to the
       Scheme and the details of debts owed to those creditors
       The information in respect of each Scheme Company that is required by paragraphs 8201(c), (d)
       and (e) of Part 2 of Schedule 8 of the Corporations Regulations is set out at Schedule 11.

11.6   Certified copies of financial statements
       ASIC has granted relief under Corporations Regulation 5.1.01(1) in respect of the obligation
       under paragraph 8203(b) of Part 2 of Schedule 8 of the Corporations Regulations, on condition
       that the Scheme Companies provide copies of the most recent financial statements lodged by the
       Scheme Companies with ASIC, together with a copy of every document required by law to be
       annexed to the financial statements.
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       Certified copies of those financial statements are set out at Schedule 8.

11.7   Report as to affairs of Scheme Companies - ASIC Form 507
       The report and information in respect of each Scheme Company required by ASIC Form 507 and
       paragraph 8203(a) of Part 2 to Schedule 8 of the Corporations Regulations are set out at
       Schedule 9.

11.8   No endorsement from the Court or ASIC
       The “Important Information” section of this Explanatory Statement contains a statement to the
       effect that the Court order made under section 411(1) of the Corporations Act is not an
       endorsement of, or any other expression of opinion on, the Scheme by the Court or ASIC.




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12   Glossary
     Capitalised terms used in this Explanatory Statement have the meanings set out below.
     Documents in the Schedules to this Explanatory Statement may have their own defined terms
     which may be different to those in this Glossary.
     Affiliate means, in relation to a person, any person which directly or indirectly Controls, is
     Controlled by, or is under common Control with, the first named person.
     AFSL means Australian Financial Services Licence.
     Amended Collateral Trust Deed means the document amending the Collateral Trust Deed in
     the form of Schedule 18 of the Scheme.
     Appointment Date means 20 January 2018.
     Arwon Finance means Arwon Finance Pty Ltd (Subject to Deed of Company Arrangement)
     (Receivers and Managers Appointed) (ACN 072 486 643).
     ASIC means the Australian Securities and Investments Commission.
     ASX means ASX Limited or the financial market operated by ASX Limited.
     BC investor means an investor in the Quintis Group Beyond Carbon (BC) product, as set out in
     section 8.5(a).
     BC Investor means a person who as at the date of the DOCA has an investment in one or more
     Quintis Group Beyond Carbon (BC) products and is party to one or more Investment
     Management Agreements with Quintis Limited (among others).
     Business Day means any day on which banks (as defined in the Banking Act 1959 (Cth)) are
     open for normal banking business in Sydney, excluding Saturdays and Sundays.
     Cash Payment means a cash payment in the amount that is equal to 30% of the face value of
     the Second Lien Notes and/or First Lien Notes (as applicable) to which a Scheme Creditor who
     has not provided the US Securities Representation to Quintis (Australia), Quintis Holdco and the
     New Guarantors by the Effective Date would otherwise have been entitled pursuant to the
     Scheme, had the US Securities Representation been made.
     Chairperson means Shaun Fraser of McGrathNicol (or, if he is unavailable, Jason Preston of
     McGrathNicol).
     Chapter 15 Recognition means an order (which has not been stayed or vacated) recognising
     and enforcing the Scheme within the territorial jurisdiction of the United States has been entered
     by a United States bankruptcy court of competent jurisdiction under chapter 15 of title 11 of the
     United States Code.
     Claim means any allegation, debt, cause of action, liability, claim, proceeding, suit or demand of
     any nature howsoever arising and whether present or future, fixed or unascertained, actual or
     contingent or otherwise at law, in equity, under statute or otherwise.
     Collateral Trust Deed means the deed titled "Collateral Trust Deed – TFS Corporation Collateral
     Trust" dated 21 June 2011 (as amended from time to time but excluding the amendments
     effected by the Amended Collateral Trust Deed).
     Completion Date means the date that is as soon as practicable after the Effective Date for
     implementation of the Scheme but must be no later than the date that is five Business Days after
     the Effective Date (or such other later date agreed in writing by the Scheme Companies and
     Majority Consent).

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     Control has the meaning given to it in the Corporations Act.
     Corporations Act means the Corporations Act 2001 (Cth).
     Corporations Regulations means the Corporations Regulations 2001 (Cth).
     Court means the Federal Court of Australia, the Supreme Court of New South Wales or such
     other court having competent jurisdiction to hear and determine matters under the Corporations
     Act.
     Deed Administrators means Richard Tucker, Scott Langdon and John Bumbak of KordaMentha
     in their capacity as deed administrators of the Scheme Companies.
     DOCA means the Deed of Company Arrangement dated 29 June 2018 between Richard Tucker,
     Scott Langdon and John Bumbak of KordaMentha as the Deed Administrators, the Receivers in
     their capacity as Deed Proponents and the Scheme Companies.
     Effective Date means the date on which the Scheme comes into effect pursuant to section
     411(10) of the Corporations Act, of the orders of the Court under section 411(4)(b) (and, if
     applicable, section 411(6)) of the Corporations Act (i.e. the date on which the Scheme becomes
     'Effective').
     Equity Noteholders means the Scheme Creditors who have entered into the Shareholders'
     Agreement by the Completion Date and provided the US Securities Representation to Quintis
     (Australia), Quintis Holdco and the New Guarantors by the Effective Date.
     Expert Report means the expert report prepared by KordaMentha set out in Schedule 2 of this
     Explanatory Statement, addressing certain matters required to be set out in the Explanatory
     Statement by Part 2, Schedule 8 pursuant of regulation 5.1.01 of the Corporations Regulations.
     Explanatory Statement means this document and its schedules.
     Finance Documents means:
     (a)      the Indenture;
     (b)      the Collateral Trust Deed;
     (c)      the Note Agreement and Guaranty;
     (d)      the Second Note Agreement and Guaranty;
     (e)      the Fixed and Floating Charge; and
     (f)      each Security.
     FIRB means Foreign Investment Review Board.
     First Lien Indenture means the document substantially in the form set out in Schedule 3 to this
     Explanatory Statement pursuant to which the First Lien Notes are to be issued.
     First Lien Notes means the first lien secured notes with a face value of US$156 million (or such
     other amount as agreed by Majority Consent) to be issued by Quintis (Australia) pursuant to the
     First Lien Indenture as contemplated by Step Seven in clause 6.3 of the Scheme.
     Fixed and Floating Charge means the fixed and floating charge dated 21 June 2011 between
     the Outgoing Collateral Trustee and the Scheme Companies (as amended from time to time).
     Governmental Agency means any government or representative of a government or any
     governmental, semi-governmental, administrative, fiscal, regulatory or judicial body, department,
     commission, authority, tribunal, agency, competition authority or entity and includes any minister
     (including, the Commonwealth Treasurer), ASIC, the Australian Competition and Consumer
     Commission, the Australian Taxation Office, ASX and any regulatory organisation established

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     under statute or any stock exchange.
     Guarantors means the Scheme Companies, excluding Quintis Limited and the Santalis
     Subsidiaries.
     Incoming Agent and Indenture Trustee means GLAS Trust Company LLC, in its capacities as
     Trustee, Registrar, Paying Agent and Transfer Agent, as those terms are defined in the First Lien
     Indenture and the Second Lien Indenture.
     Incoming Collateral Trustee means Global Loan Agency Services Australia Nominees Pty Ltd
     in its capacity as trustee of the Collateral Trust pursuant to the terms of the Amended Collateral
     Trust Deed.
     Indenture means the Amended and Restated Indenture dated 20 July 2017 among Quintis
     Limited and the Outgoing Agent and Indenture Trustee (among others) as supplemented by the
     Supplemental Indenture dated 20 September 2017, the Second Supplemental Indenture dated
     1 November 2017 and the Third Supplemental Indenture dated 29 May 2018.
     Instructing Scheme Creditor means each Scheme Creditor who is a signatory to the letter
     dated 21 January 2018 providing instructions to the Outgoing Collateral Trustee to appoint the
     Receivers to Quintis Limited and the other Scheme Companies.
     Intercompany Claim means any Claim which a Scheme Company has against any other
     Scheme Company as at the Effective Date, other than:
     (a)      any Claims against SPL in its capacity as responsible entity (which Claims shall remain
              on foot), and
     (b)      any loan provided by Quintis Limited to SPL (which shall be transferred to Quintis
              (Australia) pursuant to Step Five of the Scheme).
     KordaMentha means KordaMentha Pty Ltd ACN 100 169 391.
     Majority Consent means the written consent of the holders of not less than a 50% majority in
     aggregate principal amount of the Notes then outstanding under the Indenture (where 'Notes' has
     the meaning given in the Indenture).
     Minimum Subscription Amount means an aggregate subscription amount for the First Lien
     Notes of US$140.7 million or such other amount as agreed by Majority Consent, being an amount
     that is exclusive of the US$10 million of the remaining outstanding amount of the Original Notes
     which is applied in payment of the subscription price for First Lien Notes pursuant to Step Three
     of the Scheme.
     MIS investor means an investor in one or more Quintis Group's Managed Investment Schemes
     (MIS), as set out in section 8.5(c).
     New Finance Documents means:
     (a)      First Lien Indenture;
     (b)      Second Lien Indenture;
     (c)      Note Subscription and Purchase Agreement;
     (d)      Amended Collateral Trust Deed;
     (e)      US Pledge Agreement;
     (f)      US IP Security Agreement; and
     (g)      US Security Agreement.
     New Guarantors means the parties who are the 'Subsidiary Guarantors' as that term is defined

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     in the First Lien Indenture and the Second Lien Indenture.
     Note Agreement and Guaranty means the agreement titled 'Note Agreement and Guaranty'
     dated 13 November 2017 between, among others, Quintis Limited and certain Super Senior
     Noteholders pursuant to which the Tranche 1 Super Senior Notes were issued.
     Note Subscription and Purchase Agreement means the document substantially in the form set
     out in Schedule 6 to this Explanatory Statement.
     Original Notes means the 8.75% Senior Secured Notes due 2023 issued pursuant to the terms
     of the Indenture by Quintis Limited on or around 27 July 2016 with a face value of US$250
     million.
     Outgoing Agent and Indenture Trustee means the Bank of New York Mellon (ARBN 084 066
     419) of 225 Liberty Street, New York 10286, United States, in its capacities as Trustee, Registrar,
     Paying Agent and Transfer Agent, as those terms are defined in the Indenture.
     Outgoing Collateral Trustee means BTA Institutional Services Australia Limited (ABN 48 002
     916 396) in its capacity as trustee of the Collateral Trust pursuant to the terms of the Collateral
     Trust Deed.
     Participating Noteholders means the Scheme Creditors, or any Scheme Creditor Affiliates,
     who, by 8:00am on the Second Court Hearing, have entered into the Note Subscription and
     Purchase Agreement and, by the Effective Date, provided the US Securities Representation to
     Quintis (Australia), Quintis Holdco and the New Guarantors.
     Proxy Form means a proxy form set out in Schedule 10 to this Explanatory Statement.
     Quintis (Australia) means Quintis (Australia) Pty Ltd (ACN 626 970 821).
     Quintis Group means Quintis Limited and the Quintis Subsidiaries.
     Quintis Holdco means Quintis Holdco Pty Ltd (ACN 626 968 858).
     Quintis Limited means Quintis Ltd (Subject to Deed of Company Arrangement) (Receivers and
     Managers Appointed) (ACN 092 200 854).
     Quintis Subsidiaries means the Scheme Companies, excluding Quintis Limited, and each other
     wholly owned Subsidiary of Quintis Limited (including, for the avoidance of doubt, the Santalis
     Subsidiaries).
     Receivers means Jason Preston, Shaun Robert Fraser and Robert Conry Brauer of
     McGrathNicol in their capacity as joint and several receivers and managers of the Scheme
     Companies.
     Regulatory Approval means:
     (a)      any approval, consent, authorisation, registration, filing, lodgement, permit, franchise,
              agreement, notarisation, certificate, permission, licence, direction, declaration, authority,
              waiver, modification or exemption from, by or with a Governmental Agency; or
     (b)      in relation to anything that would be fully or partly prohibited or restricted by law if a
              Governmental Agency intervened or acted in any way within a specified period after
              lodgement, filing, registration or notification, the expiry of that period without intervention
              or action.
     Remaining Asset has the meaning given to it in clause 6.3(e)(iv) of the Scheme.
     Sale and Recapitalisation Process has the meaning given to it in section 5.2.
     Santalis Subsidiaries means Santalis Pharmaceuticals Inc and Santalis Healthcare Corporation.
     Scheme means the scheme of arrangement under Part 5.1 of the Corporations Act between the
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     Scheme Companies and its Scheme Creditors as set out in Schedule 1 to this Explanatory
     Statement, subject to any alterations or conditions made or required by the Court and agreed to
     by the parties to the scheme.
     Scheme Administrators means Richard Tucker, Scott Langdon and Jennifer Nettleton of
     KordaMentha, or any other persons who accept the appointment to the role of scheme
     administrators, subject to section 411(7) of the Corporations Act, provided, in each case, they
     have each executed the Scheme Administrators' Deed Poll in the form provided at Schedule 2 of
     the Scheme.
     Scheme Administrators' Deed Poll means a deed poll executed by each Scheme Administrator
     substantially in the form set out in Schedule 2 of the Scheme.
     Scheme Companies means all of the entities listed in Schedule 1 of the Scheme collectively and
     Scheme Company means any of them.
     Scheme Creditor means, as at the Effective Date, each holder of Original Notes.
     Scheme Creditor Affiliate means a fund or entity which is managed or advised by the same
     investment manager or investment adviser as the Scheme Creditor (or its Affiliates) or, if it is
     managed by a different investment manager or investment adviser, a fund or entity whose
     investment manager or investment adviser is an Affiliate of the investment manager or investment
     adviser of the Scheme Creditor (or its Affiliates).
     Scheme Meeting means the meeting of Scheme Creditors ordered by the Court to be convened
     under section 411(1) of the Corporations Act in relation to the Scheme, and includes any
     adjournment of that meeting.
     Scheme Meeting Notice means the notice of the Scheme Meeting substantially in the form set
     out in Schedule 7 to this Explanatory Statement.
     Scheme Resolutions means the resolutions to be put to the Scheme Creditors to approve the
     Scheme (such resolutions to be put to the Scheme Creditors at the Scheme Meeting and that, to
     be passed, must be approved by the requisite majority under section 411(4)(a)(i) of the
     Corporations Act).
     Second Court Hearing means the first day of hearing of an application made to the Court for
     orders pursuant to section 411(4)(b) of the Corporations Act approving the Scheme or, if the
     hearing of such application is adjourned for any reason, means the first day of the adjourned
     hearing.
     Second Court Hearing means hearing of an application made to the Court for orders pursuant to
     section 411(4)(b) of the Corporations Act approving the Scheme or, if the hearing of such
     application is adjourned for any reason, means the first day of the adjourned hearing.
     Second Lien Indenture means the document substantially in the form set out in Schedule 4 to
     this Explanatory Statement pursuant to which the Second Lien Notes are to be issued.
     Second Lien Notes means the second lien secured notes in the amount of US$185 million
     governed by, and issued by Quintis (Australia) pursuant to, the terms of the Second Lien
     Indenture, being the notes to be exchanged for the Original Notes pursuant to Step Three of the
     Scheme.
     Second Note Agreement and Guaranty means the agreement titled 'Second Note Agreement
     and Guaranty' dated 29 May 2018 between, among others, Quintis Limited and certain Super
     Senior Noteholders pursuant to which the Tranche 2 Super Senior Notes were issued.
     Secured Debt means all rights and obligations of all Scheme Creditors under the Finance
     Documents.
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     Security means each security document granted by a Guarantor in favour of the Outgoing
     Collateral Trustee under the Finance Documents.
     Shareholders' Agreement means the Shareholders' Agreement in relation to Quintis Holdco to
     be entered into by Quintis Holdco and the Equity Noteholders, a copy of which will be provided to
     Scheme Creditors by Quintis Holdco upon request.
     SIO investor means an investor in the Quintis Group Sophisticated Investment Offer product, as
     set out in section 8.5(b).
     SPL means Sandalwood Properties Ltd (Subject to Deed of Company Arrangement) (Receivers
     and Managers Appointed) (ACN 093 330 977).
     Step means any of Steps One to Nine set out in clause 6.3 of the Scheme and Steps means all
     of them.
     Subordination Terms means the terms of subordination set out in any deed of subordination
     between Quintis (Australia) and SPL.
     Sunset Date means 30 November 2018 or such other date agreed by the written consent of the
     Scheme Companies and the holders of not less than a 75% majority in aggregate principal
     amount of the Notes then outstanding under the Indenture (where 'Notes' has the meaning given
     in the Indenture).
     Super Senior Noteholder means a holder of Tranche 1 Super Senior Notes and/or a holder of
     Tranche 2 Super Senior Notes.
     Tax means any charge, tax, duty, levy, impost or withholding imposed by, or for the support of,
     any Government Agency, however and wherever collected or recovered and including, but not
     limited to, Fuel Tax Credits (as defined in the Fuel Tax Act 2006 (Cth)) and GST (as defined in
     the A New Tax System (Goods and Services Tax) Act 1999 (Cth)).
     Tax Refunds means the amount of any Tax, credited or attributed to the Scheme Companies for
     the period up to and including effectuation of the DOCA in accordance with its terms.
     Tranche 1 Super Senior Notes means the notes with a face value of US$15 million issued
     pursuant to the Note Agreement and Guaranty dated 13 November 2017.
     Tranche 2 Super Senior Notes means the notes with a face value of US$15 million issued
     pursuant to the Second Note Agreement and Guaranty dated 29 May 2018.
     US IP Security Agreement means, collectively:
     (a)      that certain security agreement entered into by and between each of the Santalis
              Subsidiaries and the Incoming Collateral Trustee for the benefit of the secured group, as
              defined therein, regarding the grant of a security interest over trademarks and related
              collateral of the grantors in favor of the Incoming Collateral Trustee; and
     (b)      that certain security agreement entered into by each of the Santalis Subsidiaries and the
              Incoming Collateral Trustee for the benefit of the secured group, as defined therein,
              regarding the grant of a security interest over patents and related collateral of the
              grantors in favor of the Incoming Collateral Trustee.
     US Pledge Agreement means that certain pledge agreement entered into by Quintis (Australia)
     and the Incoming Collateral Trustee for the benefit of the secured group, as defined therein,
     regarding the pledge of a security interest over its equity interest and related collateral in each of
     the Santalis Subsidiaries in favor of the Incoming Collateral Trustee.
     US Security Agreement means that certain security agreement entered into by each of the
     Santalis Subsidiaries and the Incoming Collateral Trustee for the benefit of the secured group, as
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     defined therein, regarding the grant of a security interest over all personal property and related
     collateral of the grantors in favor of the Incoming Collateral Trustee.
     US Securities Representation means the representation and certification set out in the Voting
     Proof of Debt Form and Proxy Form in Schedule 10 to this Explanatory Statement..
     Voting Proof of Debt Form means a proof of debt form in the form set out in Schedule 10 to this
     Explanatory Statement required to be lodged with the Chairperson by a Scheme Creditor for
     voting purposes for the Scheme Meeting for the Scheme Companies.




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